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                              Exhibit 27
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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                        IN THE UNITED STATES DISTRICT COURT FOR THE

                                  EASTERN DISTRICT OF VIRGINIA

                                            Alexandria Division


    IN THE MATTER OF SEARCHES                                     )
    INVOLYING 555 GROVE STREET,                           )       Misc. No.
    HERNDON, VIRGINIA. AND                                )
    RELATED LOCATIONS                                     )       UNDER SEAL


                        "(PROPOSED REDACTED) AFFIDAVIT IN SUPPORT OF
                       APPLICATION FOR SEARCH WARRANT (OCTOBER 2003)

            I, David Kane, a Senior Special Agent with the United States Customs Service ("USCS"),

    in Baltimore, Maryland, being duly sworn, depose and state:

    I.      Professional Experience of Affiant

            1. I have served as a Special Agent ("SA") with the USCS for approximately five years. I

    have received training and gained experience in interviewing and interrogation techniques, arrest

    procedures, search and seizure, search warrant application, computer crimes, terrorism, and

    various other crimes. I have been the ~e agent on complex money laundering investigations that

    involved the domestic and international transfers of money, layering processes, falsified records

    and front organizations. I have been the case agent on four cases that were terrorism-related and

    the affiant on six federal search warrants involving money laundering violations.

            2. Prior to joining the uses, I obtained a B.A. degree in Government and Politics and a

    Masters degree in International Transactions from George Mason University. I worked as a

    financial services agent with Prudential Preferred Financial Services, where I analyzed financial

    structures and executed financial transactions with complex, international financial instruments on

    a regular basis.




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    II.    The Investigation

           3. Since December 2001, I and other agents of the USCS, the Internal Revenue Service-

    Criminal Investigation ("IRS-Cr'), and the Federal Bureau of Investigation ("FBf'), have been

    investigating a group of individuals that are suspected of providing material support to terrorists,

    money laundering, and tax evasion through the use of a variety of related for-profit companies

    and ostensible charitable entities under their control, most of which are located at 555 Grove

    Street, Herndon, Virginia. For ease of reference, I will refer to the web of companies and

    charities controlled by these individuals as the "Safa Group." To a large extent, the present

    investigation has built on the findings of an investigation previously conducted with respect to

    these individuals between 1998 and 2000 by the USCS, the FBI, and the Immigration and

    Naturalization Service ("INS"), for suspicion of the same violations.

           4. I will show in this affidavit that probable cause exists to believe that these individuals

    have committed and conspired to commit the following offenses:

           a.      Transmit money internationally for the purpose of promoting offenses against
                   foreign nations involving murder or the destruction of property by means of
                   explosives, fire, kidnaping or extortion, in violation of 18 U.S.C. § 1956(a)(2)(A)
                   and (h);

           b.      Provide material support or resources to foreign terrorist organiz.ations, in
                   violation of 18 U.S.C. § 23398;

           c.      Provide material support or conceal or disguise the source or ownership of
                   material support intended for use in preparation for or in carrying out a terrorist
                   act, in violation of 18 U.S.C. § 2339A;

           d.      Defraud the United States by impeding, impairing, obstructing and defeating the
                   lawful government functions of the Internal Revenue Service of the Department of
                   the Treasury in the ascertainment, computation, assessment, and collection of
                   federal income taxes, in violation of 18 U.S.C. § 371, by availing themselves of
                   the advantages of e,cemption from federal income taxation while abusing the


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                   requirements for tax exempt status; using a web of related corporate entities to
                   move funds through a series of transactions designed to conceal the true nature,
                   source, disposition and taxability of revenues moved between these entities; and
                   misrepresenting the nature of the relationship between charities and for- profit
                   companies to avoid scrutiny of their financial transactions;

           e.      Engage in a scheme to file or cause the filing of materially false Forms 990 (Return
                   of Organization Exempt from Tax), concealing the relationships and financial
                   transactions between the related entities, in violation of26 U.S.C. § 7206(1) and
                   (2);

           f       Engage in a corrupt endeavor to impede and impair the due administration of the
                   internal revenue laws by, during an audit conducted by the IRS, misrepresenting
                   the status of the SAAR Foundation and the disposition ofits assets, and concealing
                   the relationships between SAAR and related entities, in violation of26 U.S.C.
                   §7212(a); and

          g.      File false individual income tax returns for the years 1997 and 1998, in violation of
                  26 U.S.C. §7206(1).

           5. Because the factual context of this case is so complicated, and the legal context may be

   one with which the Court is relatively unfamiliar, this is a long affidavit. For ease of reference, I

   have included a glossary of the individuals involved in this affidavit and attached it to this affidavit

   as Attachment E. I have tried to italicize the type for each individual and organization included in

   the glossary so that the Court may check the glossary for a short identification of the entities

   mentioned it reads the affidavit.

   ID.    Places to be Searched

          6. This application seeks search warrants for the following locations (as specifically

   described in Attachment "A" to this affidavit and incorporated herein), within which the facts set

   forth in this affidavit will show that there is probable cause to believe will be found the "Items To

   Be Seized During Execution of Search Warrants" (as specifically described in Attachment "B",

   attached to this affidavit and incorporated herein) relating to transfers of money between the


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    various entities and other individuals and organizations connected to terrorists, as well as

    evidence of tax evasion and tax fraud:

            a.      555 Grove Street, Office Suite Behind the Door
                    Labeled 110, 114, and 116, Herndon, Virginia

            The office suite behind the door marked as the door for Suites 110, 114, and 116 in the

    building at 555 Grove Street is the business premises of the SAAR Foundation, Safa Trust, Inc.,

    and dozens of other related entities in the Safa Group that are controlled by the individuals that

    are the subject of this investigation.

            b.      500 Grove Street, 2nd Floor, Herndon. Virginia

            The second floor of 500 Grove Street is the business premises of International Institute

    For Islamic Thought ("IIIT "), a Safa Group company controlled by the individuals that are the

    subject of this investigation.

            C.      750-A Miller Dr. SE Leesburg, Virginia

            750-A Miller Drive SE is the business premises of Heritage &lucation Trust, a Safa

    Group company controlled by the individuals that are the subject of this investigation.

           d.       The Administrative Offices ofMar.Jae Poultry
                    at 1020 Aviation Blvd.. Gainesville, Georgia

            1020 Aviation Blvd.; Gainesville, Georgia, is the business-premises of Mar-Jae Poultry,

    Inc., a Safa Group company controlled by the individuals that are the subject of this investigation.

    The Administration Building at Mar-Jae Poultry contains the business's financial records. 1



           1
              It is perhaps worthwhile to note here that, pursuant to the USA PATRIOT ACT,
    enacted in October 2001, Rule 41 of the Federal Rules of Criminal Procedure now authorizes
    warrants to be issued by a Federal magistrate judge in any district in which activities related to
    terrorism may have occurred, for property outside the district.

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           e.      The Residence of AI-Alwani at 1105 Safa Street, Herndon, Virginia

            1105 Safa Street in Herndon is the residence of Taha Jaber Al-Alwani, an officer and/or

    director of Safa Group companies including International Institute of Islamic Thought ("Il/T"),

    FIQH Council of North America ("FIQH'), Graduate School of Islamic & Social Sciences

    ("GS/SS") (formerly known as the School of Islamic and Social Sciences ("S/SS')) and Heritage

    &iucation Trust.

           f       The Residence of Barzinii at 11919 Safa Court, Herndon. Virginia

           119 I 9 Safa Court in Herndon is the residence of Jamal Barzinji, an officer and/or director

    of Safa Group companies, including Mar-Jae Poultry, Inc., Mena Investments, Inc., Reston

    Investments, Inc., and Safa Trust.

           g.      The Residence ofMirza at 11922 Safa Court. Herndon, Virginia

           11922 Safa Court in Herndon is the residence ofM Yacub Mirza, an officer and/or

    director of Safa Group companies including African Muslim Agency, GSISS, Grove Corporate

    Plaza, Mar-Jae Investments, Mar-Jae Poultry, Mena Investments, Reston Investments, SAAR

    Foundation, Safa Trust, Sterling Management Group, and York Foundation.

           h.      The Residence ofJaghlit at 9034 Swift Creek Road. Fairfax Station, Virginia

           9034 Swift Creek Road in Fairfax Station is the residence ofMohammad Jaghlit, an

    officer and/or director of Safa Group companies, including Heritage Education Trust and SAAR

    Foundation.




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           i.      The Residence of Totonii at 305 Marjorie Lane, Herndon, Virginia

           305 Marjorie Lane in Herndon is the residence of Ahmad Totonji, an officer and/or

    director of Safa Group companies, including IIIT and Safa Trust, Inc.

           j.     The Residence of Unus at 12607 Rock Ridge Road. Herndon, Virginia

           12607 Rock Ridge Road in Herndon is the residence of Iqbal Unus, an officer and/or

    director of Safa Group companies including Child Development Foundation, as well as the

    administrative and billing contact for web sites for //IT and FIQH Council of North America.

           k.     The Residence of M Omar Ashraf at 12541 Browns Feny Road Herndon, VA.

           12541 Browns Ferry Road in Herndon is the residence of Mohammad Omar Ashraf, an

    officer and/or director of Safa Group companies, including Grove Corporate Plaza, Mar-Jae

    Investments, and Sterling Charitable Gift Fund.

           I.     The Residence of Muhammad Ashraf at 12528 Rock Ridge Road Herndon, VA.

           12528 Rock Ridge Road in Herndon is the residence of Muhammad Ashraf, an officer

   and/or director of Safa Group companies including Sterling Investment Group, Sterling

   Charitable Gift Fund, and York Foundation.

                                  Executive Summary of This Affidavit

           7. I am investigating a criminal conspiracy to provide material support to terrorist

   organizations by a group of Middle Eastern nationals living in Northern Virginia. These

   individuals operate or have operated over I 00 different organizations, on which they commonly

   serve as corporate officers. These organizations include charitable organizations, educational and

   cultural organizations, for-profit businesses and investment firms. For the purpose of this




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    affidavit, this group of individuals and the organizations that they operate will be referred to as the

    "Safa Group."

            8. Many organizations in the Safa Group dissolve and are replaced by other

    organizations under the control of the same individuals. Most of these Sa/a Group organizations,

    which present themselves as Islamic educational and charitable organizations, are "paper"

    organizations that are registered at common addresses, but have no apparent physical presence on

    the premises. The majority of these organizations is or was located at 5S5 Grove Street,

    Herndon, Virginia.

           9. I have seen evidence of the transfer of large amounts of funds from the Sa/a Group

    organizations directly to terrorist-front organizations since the early l 990's. Some of this

    information was developed by the FBI, the USCS, and the INS, in previous investigations

    conducted of terrorist financing that focused on Sami Al-Arian, who fronted for the Palestinian -

    Islamic Jihad-Shikaki Faction ("PIJ"), an organization that has been fonnally designated by the

    President of the United States as a terrorist organization since 1995. This previous investigation,

    which resulted in search warrants being executed in Tampa, Florida, in I 995, showed that money

    was being provided directly to PIJ front organimions by individuals controlling the Safa Group.

           IO. In 1998, the FBI opened an-investigation of the Safa Group's terrorist financing

    connections as_ a result of the seizures made in the Al-Arian search warrants in Tampa in 1995.

    Investigators then noticed that the pattern of direct funding to the PIJ front organizations had

    changed since the mid-1990s. By the late 1990's, the finances of the Safa Group, including

    charities required by law to open their books to the public, exhibited a convoluted web of multiple

    transactions between related corporations and charities that made it virtually impossible for


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    federal investigators to ascertain where the money that finally left the web of the Safa Group

    ultimately went. Indeed, the current investigation has traced millions of dollars through layers of

    related companies and to charities in the Isle of Man- from which point the trail cannot

    practically be followed.

            I I. The FBI, USCS, and IRS agents involved in this investigation at various times since

    1998 suspect that, as a result of the 1995 searches in Tampa, the Safa Group engaged in the

    money laundering tactic of "layering" to hide from law enforcement authorities the trail of its

    support for terrorists. There appears to be no innocent explanation for the use oflayers and

    layers of transactions between Safa Group companies and charities other than to throw law

    enforcement authorities off the trail~ this inference is strengthened by the Safa Group's repeated

    failure to disclose on tax forms as required the connections between various members of the Safa

    Group. Accordingly, I and the other agents involved in this investigation believe that some of the

    moneys that move overseas are destined to the PIJ and other terrorist organizations; at the least,

    the money is being used for other than tax-exempt purposes in violation of the tax laws.

           12. I will show in this affidavit that evidence exists that individuals associated with the

    Safa Group are using the various affiliated charities and companies under their control to transfer

    money in convoluted transactions through a network of inter-related organizations designed to

    prevent the United States from tracking the ultimate recipients, in violation of the charter of the

    charitable organizations and the laws relating to the use of tax exempt status.

           13. Based on the past histories of the individuals involved with respect to their overt

    financial support for terrorist organizations, their repeated misrepresentations by omissions on tax

    forms of information concealing the interrelationships between the Safa Group companies and


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     charities under their control, and the lack of an innocent reason to conduct transactions in these

     convoluted manners, there is probable cause that the Safa Group companies and charities are

     being used to transfer money to terrorist front groups or some other illicit application. At the

     very least, however, this evidence constitutes probable cause that the individuals and entities

     involved have repeatedly made false tax filings and are conspiring to abuse the tax exempt status

     claimed by many of the related Safa Group charities.

             14. I will also show in this affidavit that records relevant to material support to terrorists,

     money laundering, and tax evasion likely have been generated or maintained by the Safa Group

     companies and charities, and by the individuals involved. Finally, I will show in this affidavit that

     these records will be found at the business premises of the Safa Group companies and charities,

     such as 555 Grove Street, in Herndon, and at the homes of some of the individuals involved.

     IV.    Overview of Terrorism and Terrorist-Financing Techniques

            15. Based upon my training and experience, and that of other agents from the USCS, the

     FBI, the IRS, and the INS, involved in this and related investigations, I know the following

     regarding terrorist financing techniques:

                    a.      Many terrorist organizations have a financial support structure in the
                            United States and in virtually every other developed country.

                    b.      Often, terrorists and their supporters who are motivated by religious
                            ideology, such as Islamic fundamentalist terrorists and their supporters,
                            adhere to their ideological creed and inclination to engage in and/or
                            support terrorist activities for life.

                    c.      Terrorist groups differ from other criminal networks because of the motive
                            behind their crimes. Unlike drug traffickers and organized crime groups
                            that primarily seek monetary gain, terrorist groups usually have non-
                            financial goals, including publicity, dissemination of ideology, political
                            legitimacy, and political influence. Terrorist fundraising is a means to these


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                    ends. While they do not seek financial gain as an end, international
                    terrorist groups need money to attract and retain adherents and to support
                    their presence and activities. Some foreign terrorist organizations need
                    funds for media campaigns, to buy political influence, and even to
                    undertake social projects such as hospitals, orphanages, schools, etc.,
                    largely with the aim of maintaining membership and attracting sympathetic
                    supporters. For some terrorist groups, the planning and execution of
                    violent attacks seems to comprise a small part of their total budget.

              d.    A substantial portion of the terrorist funding comes from contributors,
                    some of whom know the intended purpose of their contribution and some
                    of whom do not. With relatively small sums of money generated from
                    traditional illegal activities, terrorism financing contrasts with the finances
                    of a drug trafficking network, which earns virtually all of its profits from
                    illegal activities. When compared with a financial investigation of a drug
                    trafficker who has unexplained wealth and sham business dealings,
                    investigating the financial dealings of a terrorist organization is
                    considerably more difficult. Their members may live modestly. Their
                    funds may be derived from outwardly innocent contributors to apparently
                    legitimate humanitarian, social and political efforts. These funds are also
                    only diverted, in part, to terrorist activity.

              e.    Terrorist groups tap a range of sources for their financial support. Illicit
                    revenues derived from the proceeds of traditional criminal activities are
                    commingled with legitimate funds because radical organizations have been
                    able to draw on profits from commercial enterprises and on donations from
                    witting and unwitting sympathizers. Significant funding originates from the
                    U.S., Europe, and the Middle East. Some funding is provided by state
                    sponsors. A summary of the various sources of terrorist financing follows:

                    I.      Otherwise Legitimate Commercial Enterprises: Terrorist groups
                            earn profits from businesses they own and also secure donations
                            from sympathetic entrepreneurs. Some of the businesses set up to
                            provide profits to terrorists include: construction companies,
                            tanneries, banks, agricultural commodity growers and brokers,
                            trade businesses, bakeries, restaurants, bookstores, and other
                            proprietorships.

                    2.      Social and Religious Organizations: Since the early l 990s, terrorist
                            groups have relied increasingly on donations for financial support,
                            much of it from like-minded, non-governmental organizations (such
                            as charities) in the West and Persian Gulf states.



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                    3.      State Sponsors: Several rogue nations provide material assistance
                            or resources to terrorists and some provide financial support to
                            terrorists. Other, more moderate governments also have been a
                            source of financial support for some terrorist organizations.

              f    Tracking terrorist financial transactions is more difficult than following the
                   money trails of mainstream criminal groups because of the relatively small
                   amounts of funds required for terrorist actions, the broad range of
                   "legitimate" sources and uses of funds. While many organized crime
                   groups are adept at concealing their wealth and cash flows for long periods
                   of time, their involvement in the physical trade of illicit drugs, arms, and
                   other commodities often exposes the revenues and expenditures connected
                   to these illegal dealings. In contrast, terrorist actions generally are
                   comparatively inexpensive and their financing often is overshadowed by the
                   larger financial resources allocated for the group's political and social
                   activities, making it more difficult to uncover the illicit nexus. For
                   example, investigations into the terrorist attacks on the World Trade
                   Center and the Pentagon on September 11, 2001 have revealed that the
                   overall financing for the attacks totaled approximately $500,000.

              g.   Terrorist groups use a variety of means to move their funds, including

                    1.      Physical Transportation: Cash physically transported by trusted
                            operatives (couriers) is the most difficult to track because it usually
                            leaves no paper trail.

                   2.       Traditional Financial Institutions: The international nature of most
                            foreign terrorist groups forces them to rely on banks and other
                            financial institutions. Cells of extremists need local access to funds,
                            and organm.tions with substantial assets seek the safety and
                            productive management offered by banks, insurance companies, and
                            foundations, albeit in the names of trusted nominees, cover
                            companies, or religious fronts.

                   3.       Offshore Banks: As do traditional criminal enterprises, terrorist
                            organizations often utilize offshore banks to move their "licit" and
                            illicit funds. Terrorists know that it is difficult for U.S.
                            investigators to track these moneys, due to the financial secrecy and
                            lack of regulated oversight associated with offshore banking
                            centers. Traditional tax haven centers where offshore banking and
                            money laundering tend to thrive include the Isle of Man, the
                            Channel Islands, and Switzerland.



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                h.   Charitable Organizations: Terrorists often establish or utilize "chariu.
                     organizations" to move their illicit proceeds. Terrorists know that many
                     charities receive contributions in the form of cash, and that it is very
                     difficult for investigators to trace money moving through these
                     organizations. Most charitable organizations are assumed to be of an
                     altruistic and benevolent nature, so criminals often use them knowing that
                     charities are subjected to less government scrutiny.

               1.    Layering: Terrorist organizations, like traditional criminal organizations,
                     often "launder" their illicit proceeds by utilizing a complex sequence of
                     financial transactions. Sophisticated terrorist financiers try to make the
                     money trail left by their transactions as difficult to follow as possible by
                     "layering" their transactions; that is to say, by routing their money through
                     numerous paths and indirect channels before ultimately causing their money
                     to arrive at the desired location. These "layering" transactions often utilize
                     many different individuals and corporations and involve many different
                     bank accounts, false names, "front companies", and "phantom"
                     organizations. These layering processes are designed to both disguise the
                     true origin and end-destination of the funds and to render exceedingly
                     difficult and confusing any prospective investigation by law enforcement
                     authorities.

               j.    Foreign Bank Accounts: Terrorists will hide the existence of their personal
                     or their company's foreign bank accounts to obfuscate the trail of
                     international financial transactions and evade law enforcement.

               k.    Saudi Arabian nationals who are suspected of providing funds to terrorists
                     are subject to scrutiny by the Saudi Arabian authorities. Due to this
                     scrutiny, these individuals cannot provide money to terrorists via direct
                     transfers from their bank accounts in Saudi Arabia. Therefore, they find
                     alternate methods and routes to fund terrorists. Tilis often involves
                     utilizing their own or other overseas organizations to funnel money to
                     terrorists. These organizations are located in many different parts of the
                     world. The paths of these moneys are often very complex and involve
                     significant "layering."

               1.    Whether by their host governments or by the Israeli government,
                     individuals and organizations throughout the Islamic world often are barred
                     from sending money to individuals and organizations in Israel and/or the
                     West Bank.and Gaza. One way that supporters of terrorism in Israel
                     deliver money to terrorists in Israel and/or the West Bank and Gaza is by
                     first transporting the money to the United States and only later sending it
                     to Israel and/or the West Bank and Gaza from the United States.


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                           Accordingly, while terrorist financing money collected in the United States
                           is simply transported abroad, terrorist financing money collected abroad
                           may enter the United States either to facilitate its later transport to terrorist
                           organizations abroad or simply to fund terrorist activity in the United
                           States.

            16. Based upon my training and experience, and that of other agents from the USCS, the

    FBI, the IRS, and the INS, involved in this and related investigations, I know the following

    regarding the laws relating to terrorist financing:

                   a.      Funds involved in traditional money laundering transactions usually are the
                           proceeds of some prior-in-time, specified unlawful activity, as defined by
                           18 U.S.C. 1956(c)(7). With the exception of the funds generated by
                           traditional crimes for profit, funds used or intended to be used to finance
                           particular acts of terrorism or to be sent to a designated foreign terrorist
                           organization generally will not be related to a prior-in-time, specified
                           unlawful activity. Rather, such funds will acquire their criminal "taint"
                           from their involvement in a transaction intended to assist in or promote an
                           act of terrorism or to fund a designated foreign terrorist organization. As a
                           result, the money laundering charge that is most applicable to financiers of
                           terrorism is 18 U.S.C. § 1956(a)(2)(A), which prohibits the international
                           transfer of money to promote a "specified unlawful activity."

                   b.      Pursuant to 18 U.S.C. § 1956(c)(7)(B)(ii), "specified unlawful activities"
                           include offenses against the United States or a foreign nation involving
                           murder, kidnaping, robbery, extortion, or destruction of property by means
                           of explosive or fire, or other terrorism-related specified unlawful activities
                           enumerated under 18 U.S.C. § 1956(c)(7).

                   c.      Tide 18 U.S.C. § 2339A makes it a crime for persons within the U.S. to
                           provide or to conceal or disguise the nature, location, source, or ownership
                           of "material support or resources," knowing or intending that they are to
                           be used in preparation for or in carrying out a violation of any of the
                           predicate enumerated crimes, including those relating to terrorist acts
                           abroad against United States nationals, use of weapons of mass
                           destruction, international terrorist acts transcending national boundaries,
                           destruction of aircraft, kidnaping, extortion, and murder.

                   d.      Pursuant to 18 U.S.C. § 2339A(b), the term material support or resources
                           is defined to include, "currency or monetary instruments or financial
                           securities, financial services, training, expert advice or assistance,


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                           safehouses, false documentation or identification, communications
                           equipment, facilities, weapons, lethal substances, explosives, personnel,
                           transportation, and other physical assets, except medicine or religious
                           materials."

                  e.       On January 25, 1995, President Clinton signed Executive Order 12947,
                           Prohibiting Transactions With Terrorists Who Threaten To Disrupt The
                           Middle East Peace Process, declaring a national emergency to deal with the
                           threat to the national security posed by foreign terrorists disrupting the
                           Middle East peace process. This executive order prohibited any
                           transaction or dealing with persons designated in or pursuant to the order.
                           This order designated the Palestinian Islamic Jihad-Shiqaqi Faction
                           ("P/J") and Islamic Resistance Movement ("HAMAS' ) as Specially
                           Designated Terrorist organizations ("SDTs") which threaten to disrupt the
                           Middle East peace process.

                  f        Since October 8, 1997, pursuant to 18 U.S.C. § 2339B(a)(l), no
                           individual or entity may provide material support or resources to an
                           organization designated by the Secretary of State as a "Foreign Terrorist
                           Organization" ("FTO"), or attempt or conspire to do so. An organization
                           is designated as an FTO for up to two years if the Secretary of State, in
                           consultation with the Attorney General and the Secretary of the Treasury,
                           finds that it is foreign; engages in terrorist activity; and that the terrorist
                           activity threatens U.S. national security or the security of U.S. nationals.

                 g.        On October 8, 1997, the Secretary of State designated 30 Groups,
                           including HAMAS and PIJ as "FTOs. 11 See 62 F.R. 52650. On October 8,
                           1999, the Secretary re-designated most of the originally designated Groups
                           (including HAMAS and Pl.I) and added a new Group, Al Qaida. See 64
                           F.R. 55112. On October 5, 2001, HAMAS, PIJ, and Al Qaida were
                           redesignated as FTOs. See 66 F.R. S1088.

   V.     Laws Relating to Charitable Organizations

          17. Based on the training and experience of IRS-CI Special Agents Mary Balberchak,

   Paul Shanks, and Steven Smith, I understand the following regarding the laws relating to tax-

   exempt organizations:

                 a.        The Internal Revenue Code ("IRC") creates an exemption from federal
                           income taxation for certain organizations which comply with the provisions



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                    of26 U.S.C. § 50l(c)(3). § 50l(c)(3) provides an exemption from federal
                    income taxation for:

               b.   Corporations, and any community chest, fund, or foundation, organized
                    and operated exclusively for religious, charitable, scientific, . . . purposes,
                    no part of the net earnings of which inures to the benefit of any private
                    shareholder or individual, no substantial part of the activities of which is
                    carrying on propaganda, or otherwise attempting, to influence legislation .
                    . ., and which does not participate in, or intervene in (including the
                    publishing or distributing of statements), any political campaign on behalf
                    of (or in opposition to) any candidate for public office.

              c.    An organization obtains an exemption from federal income taxation under
                    § 50l(c)(3) by applying to the Internal Revenue Service ("IRS") for a letter
                    determining that it meets the requirements for exemption. The application
                    process is generally prospective in nature; thus, the IRS generally relies on
                    the representations made by the organization in the documents it submits as
                    to how the organization intends to operate in the future. An organization
                    receiving a favorable determination letter may generally continue to rely
                    upon the letter as long as there are no substantial changes in the
                    organization's character, purposes, or method of operations.

              d.    There are two general categories of§ 50l(c)(3) entities-private
                    foundations and public charities. Private foundations are generally
                    supported by investment income and not contributions. Organizations that
                    are public charities are set up to receive charitable contributions from the
                    public.

              e.    The most significant benefit of public charity status is that, pursuant to IRC
                    §§ 4940-45, private foundations are subject to an annual 2% tax on their
                    net investment income but public charities are not. In addition, there are
                    several restrictions and requirements on private foundations, including {l)
                    restrictions on self-dealing between private foundations and their
                    substantial contributors and other disqualified persons; (2) requirements
                    that the foundation annually distribute income for charitable purposes; (3)
                    limits on their holdings in private businesses; (4) provisions that
                    investments must not jeopardize the carrying out of exempt purposes; and
                    (5) provisions to assure that expenditures further exempt purposes.
                    Violations of these provisions give rise to taxes and penalties against the
                    private foundation and, in some cases, its managers, its substantial
                    contributors, and certain related persons.




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               f    § 50l{c)(3) organizations are presumed to be private foundations unless
                    they fall into one of the exceptions in the IRC. One such exception is for
                    publicly-supported organizations. An organization qualifies as publicly-
                    supported ifit passes the one-third support test, or, failing that, it may
                    qualify under the facts and circumstances test.

               g.   The one-third support test is satisfied if the organization normally receives
                    at least one-third of its support from governmental units, contributions
                    made directly or indirectly by the general public, or from a combination of
                    these sources. An organization normally meets the one-third support test
                    for the current tax year and the following year if for the four years
                    immediately before the current year, it met the one third test on an
                    aggregate basis.

               h.   The facts and circumstances test treats an entity as publicly-supported if it
                    normally receives IO percent of its support from governmental units or
                    contributions made directly or indirectly by the general public or from a
                    combination of these sources; and it meets the "attraction of public
                    support" requirement. An organization meets the attraction of public
                    support element if it maintains a continuous and bona fide program for
                    solicitation of funds from the general public, community or membership
                    Group or from other charities.

              1.    Under the Internal Revenue Regulations an organization "will be regarded
                    as "operated exclusively" for one or more exempt purposes only ifit
                    engages primarily in activities which accomplish the exempt purposes
                    specified in section§ 50l(c){3). An organization is not primarily engaged
                    in activities which accomplish an exempt purpose if more than an
                    insubstantial part of its activities is not in furtherance of an exempt
                    purpose." 26 CFR §1.50l(c)(3)-1. An organization which is organized and
                    operated for the primary purpose of carrying on an unrelated trade or
                    business is not exempt under§ 50l(c)(3).

              j.    An organization may meet the requirements of§ 501 (c)(3) although it
                    operates a trade or business as a substantial part of its activities, if the
                    operation of such trade or business is in furtherance of the organization's
                    exempt purpose or purposes and if the organization is not organized or
                    operated for the primary purpose of canying on an unrelated trade or
                    business. In determining the primary purpose, all the circumstances must
                    be considered, including the size and extent of the trade or business and the
                    size and extent of the activities which are in furtherance of one or more
                    exempt purposes. 26 CFR l.50l{c)(3)-l



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                   k.     Like for-profit entities, tax exempt entities are subject to audit. If upon
                          review the IRS determines that an organization is not operating
                          consistently with its tax exempt purpose, the IRS may revoke the tax
                          exemption, or impose excise taxes depending upon the nature, degree and
                          severity of the violation. Once an organization loses tax-exempt status, its
                          total revenues are subject to federal income taxation, based upon its
                          business form.

           18. Based on the training and experience of IRS-Cl Special Agents Balberchak, Shanks,

    and Smith, I understand the following regarding reporting requirements for tax-exempt charities:

                  a       IRC §§ 6033 and 6043(b) require exempt organizations to file returns, if
                          their annual receipts are in excess of$25,000 and they do not fall into a
                          category otherwise exempt from the filing requirement. Form 990 (Return
                          of Organization Exempt from Income Tax) is used by tax-exempt
                          organizations to provide the IRS with the information required by Section
                          6033. Form 990s depict information about contributions received, grants
                          and allocations made, assets and liabilities, organizational relationships, and
                          other financial and organizational information. This form requires an
                          organization to document, that, in actual operations, it adhered to the
                          standards and procedures it said that it would use when its application for
                          tax exempt status was approved.

                  b       The IRS relies upon Form 990 to gather information to administer the
                          applicable provisions of the IR.C. In addition, an organization's completed
                          Form 990 ( except for the schedule of contributors) is available for public
                          inspection as required by Section 6104 of the IRC. Form 990 returns are
                          signed under penalty of perjury. Willful failure to provide information that
                          is required to be disclosed on a Form 990 is subject to prosecution under
                          26 U.S.C. 7203. Wtllfully filing a fraudulent Fonn 990 is subject to
                          prosecution under 26 U.S.C. 7206(1).

                  c.      The IRS has an examination program designed to determine if tax-exempt
                          organizations are complying with the tax laws. The Form 990 is used in
                          the process of defining and detennining the scope of an audit of a tax-
                          exempt organization. A "Yes" response to a question on the Form 990
                          may not necessarily lead to an audit of the entity; however, if the entity is
                          selected for audit, the responses on the form discussed hereafter would be
                          reviewed and considered in pre-audit planning to decide what issues or
                          aspects of the organization's operations warrant detailed scrutiny. If an
                          organization fails to furnish accurate information regarding its relationships



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                    to other organizations, then the Revenue Agent may miss an issue for
                    examination which he should otherwise be investigating.

              d.    One statutory requirement for the operation of a tax-exempt entity is that
                    no part of its earnings inure to the benefit of its shareholders or any
                    individual. Various parts of the Form 990 elicit information designed to
                    determine whether the organization has engaged in transactions which raise
                    issues of potential personal inurement or private benefits. Thus, in Part VI
                    of the Form 990, Question 80(a) requires the reporting entity to list any
                    organization to which it is related and whether the related entity is exempt
                    or non exempt. The information disclosed in this question is utilized to
                    determine whether the entity is operated for an exempt purpose and
                    whether the earnings of the entity are being used for personal or private
                    gain.

              e.    Similarly, Schedule A to the Form 990, Part III, Question 2 requires the
                    disclosure of certain transactions (such as loans, sales or exchanges of
                    property or transfer of assets) between the reporting organization and
                    certain insiders or with a taxable entity with which those insiders are
                    affiliated. If such transactions occurred, the entity is required to attach a
                    detailed statement explaining the transactions. This question is directed at
                    issues of self-dealing, in which the transaction may have been motivated by
                    private gain.

              f.    Part I, Form 990, line l(d) requires the exempt organization to report its
                    total contributions and attach a schedule of all contributors who gave, in
                    the aggregate more than $5,000 during the year.

              g.    Part II, Form 990, line 2.2 requires the exempt organization to list its grants
                    and allocations identifying the donee's name, address and the amount given
                    and the purpose of the donation.

              h.    A § 50 l (cX3) organization can make grants to foreign charities, even if the
                    foreign organizations are not recognized as charities under IR.C
                    § 501(c)(3), if the§ 501(c)(3) organization maintains control and
                    discretion over the use of its funds and maintains adequate records.
                    Control and discretion means that the domestic§ S0l(cXJ) organization
                    can make an independent decision as to whether it will provide funds to a
                    foreign organization. The domestic§ 501(cX3) organization is deemed to
                    have control and discretion ifit:




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                    1.      makes a pre-grant inquiry concerning the use of its grant so as to
                            obtain reasonable assurance that the grant will be used for
                            charitable purposes~ and

                    2.      obtains reports on the use ofits funds.

               1.   If the domestic§ 50l(c)(3) organization does not have control and
                    discretion over the use of its funds, then contributions to the domestic
                    § 50l(c)(3) would not be deductible by the donor. Further, the
                    organization may be determined to be not operating for an exempt purpose.
                    If it were determined not to be operating for an exempt purpose, its tax-
                    exempt status could be revoked.

              j.    All charitable entities are subject to the requirement that the purpose of the
                    charity not be illegal or contrary to public policy. lliegal acts which make
                    up a substantial part of an organization's activities disqualify it from
                    exemption. The relative amount required to be considered substantial will
                    vary according to the character and non-exempt quality of the activity.
                    Thus, a great many violations of a local pollution regulations would be
                    required, whereas very little planned violence or terrorism would be
                    enough to preclude exemption. For an organization to lose its tax-exempt
                    status, the illegal activity must be undertaken on behalf of the organization,
                    i.e., they must be actions taken by officials of the organization, their agents
                    or actions ratified by the organization. In instances where tax-exempt
                    status is revoked, contributions to the organization would not be deductible
                    under Section 170 of the IRC.

              k.    It is not unusual for tax cheaters to try to receive their income and hold
                    their assets in bogus 50 I (c)(3) organizations. Some may attempt to make
                    otherwise non-deductible contributions to non-exempt recipients appear
                    deductible by initially routing their contnl>utions through an organization
                    claiming tax-exempt status, when the ultimate disposition of the
                    contribution is still a non-exempt entity. Individuals who set up such
                    organizations or claim such status to fraudulently evade income or excise
                    taxes may be prosecuted for tax evasion, as can those who set up
                    ostensibly exempt organizations for the purpose of making their
                    contributions to non-exempt entities appear deductible by first being routed
                    through ostensibly exempt organizations.




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     VI.    Sources of Information

            19. All information contained in this affidavit is based upon my review of documents

     related to this investigation, and information furnished to me by other Special Agents of the

     USCS, INS, IRS, and FBI. Because this affidavit is submitted for the limited purpose of

    establishing probable cause in support of the application for a search warrant, it does not set forth

    each and every fact that I, or others, have learned during the course of this investigation.

    VII.    Overview of Terrorists and Terrorist Organizations

                    A.     The Terrorists

            20. I will show in this affidavit that various individuals associated with the Safa Group are

    providing material or financial support to international terrorists and terrorist organizations

    through terrorist front organizations. The terrorist groups and terrorists that are receiving this

    support through individuals associated with the Safa Group are briefly described below.

            21. HAMAS: HAMAS is an acronym for the arabic term for the Islamic Resistance

    Movement, an international terrorist organization founded in 1987 and dedicated to the

    elimination of the State oflsrael. A "Specially Designated Terrorist" ("SDT'') organization since

    1995, and a designated Foreign Terrorist Organiz.ation ("FfO") since 1997, HAMAS espouses an

    extremist Islamic fundamentalist ideology, and is dedicated to the establishment of an Islamic

    Palestinian State that encompasses Israel, the West Bank and Gaza. HAMAS's primary tenets are

    opposition to compromise with Israel over creation of a Palestinian State and replacement of the

    Palestinian Authority as the sole representative of the Palestinian people. To these ends, HAMAS

    pursues a combined program of violence and terror on the one hand, and educational, charitable,

    and social functions on the other. The principal purpose of its anned attacks is to intimidate and


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    coerce the Government of Israel and its civilian population. Its benevolent programs are used to

    enhance its image and earn goodwill in the Palestinian community.

            22. The use of suicide bombers has become a HAMAS trademark. Between October I,

    2000 and September IO, 2001, HAMAS claimed responsibility for at least 20 bombings (including

    a suicide bombing at an Israeli disco on June I. 2001, that resulted in the deaths of 21 youths).

    two shootings, one kidnapping, and one mortar attack, that cumulatively resulted in at least 77

    deaths (including three Americans) injuries to at least 547 others, including four Americans.

            23. On August 13, 2001, USA Today ran an article describing how HAMAS-run schools

    serve its ends:

                      In HAMAS-run kindergartens. signs on the walls read: "The children of the
                      kindergarten are the shaheeds [holy martyrs] of tomorrow. 11 The classroom
                      signs at Al-Najah University in the West Bank and at Gaza's Islamic
                      University say, 11 Israel has nuclear bombs, we have human bombs. 11 At an
                      Islamic school in Gaza City run by HAMAS, I I-year-old Palestinian student
                      Ahmed state, 11 I will make by body a bomb that will blast the flesh of
                      Zionists, the sons of pigs and monkeys . . . . I will tear their bodies into
                      little pieces and cause them more pain than they will ever know." 11 Allah
                      Akbar," his classmates shout in response: "God is great." "May the virgins
                      give you pleasure," his teacher yells, referring to one of the rewards
                      awaiting martyrs in paradise.

            24. Palestine Islamic Jihad-Shikaki Faction ("Pll'}, also known as the Islamic Jihad of

    Palestine: PIJ, a SOT since 1995, and a FfO since 1997, was.founded in the early 1980s by Fathi

    Shikaki. Another terrorist organization dedicated to the elimination of the State of Israel, PIJ is

    responsible for many suicide bomb attacks in Israel that have resulted in the death of both U.S.

    and Israeli nati9nals. One of these attacks includes the Gaza Strip bus bombing in April 1995, in

    which U.S. citizen Alyssa Flatow was killed. The Shura Council is the decision-making body of

    the PIJ and is composed of the highest level PIJ officials.


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           25. Mousa Abu Marzook has been the political and operational leader of HAMAS from

    the time of its establishment in 1987. Marzook is a native of Gaza who lived in the United States

    - -in Northern Virginia in specific - - until 1993; he was arrested trying to reenter the United

    States in July 1995, and undeiwent proceedings for extradition to Israel. In In the Matter of the

    Extradition of Abu Marzook v. Christopher, 924 F.Supp. 565 (S.D.N.Y. 1996), the district court

    found that Marzook directed HAMAS 's terrorist activities.

           26. Sheik Abdel Aziz Odeh is the spiritual leader and a co-founder of P/J.

           27. Sheik Omar Abdel Rahman, also known as the "Blind Sheik," is considered the

    spiritual leader of the radical Islamic terrorists who bombed the World Trade Center in February,

    1993. Rahman was convicted of seditious conspiracy based on a plot to blow up New York City

    tunnels and the United Nations in October 1995, for which he received a life sentence in prison.

           28. Ramadan Abdullah Shallah is the current leader of the PIJ and resides in Damascus,

    Syria. An SDT, Shallah replaced PIJ founder Fathi Shikaki as the leader of the PIJ, after

    Shikaki's assassination in Malta in 1995. Prior to taking this position, Shallah had resided in

    Tampa, Florida and was employed as an adjunct professor at the University of South Florida

    while working as a U.S. representative of the PIJ with Sanii Al-Arian and Basheer Naji. In

    executing search warrants in Tampa in 1995, federal agents seized a video of a speech made by

    Sha/Lah at an Islamic Committee for Palestine ("/CP') conference in December 1992 organized

    by Al-Arian, in which Shallah said that Jihad is a holy war aimed at killing every enemy of Islam,

    including (among others) the New World Order symbolized by the United States. Sha/Lah stated

    that Muslims should not be defensive or apologize against charges of terrorism, because Jihad

    required them to terrorize, devastate, humiliate, and degrade their enemies.


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            B. The Terrorist Financiers and Front Groups (Outside of the Safa Group)

            29. Terrorist organizations such as HAMAS and PIJ have worked in the United States

    through front Groups and individuals. They include Sami Al-Arian, Basheer Naji, the Islamic

    Committee for Palestine ("I(,""'P "), the World Islamic Studies Enterprise ("WISE"), and the Holy

    Land Foundation for Relief and Development ("HLF').

           30. Sami Al-Arian is a Palestinian national employed until earlier this year as a professor

    at the University of South Florida in Tampa. Al-Arian incorporated PIJ front organizations

    known as ICP and WISE in Florida, in 1988 and 1991, respectively. Based in large part on

    documents seized from his home and offices pursuant to federal search warrants in 1995, I believe

    that Al-Arian has been a leader of PIJ, its representative in the United States, and responsible for

    raising funds for Jihad, or "holy war." I will describe much more about Al-Arian later in the

    affidavit when I recount the historical background of this investigation.

           31. Basheer Naji was an active directing member of PlJ front organizations ICP and

    WISE in Tampa, Florida, and later International Institute For Islamic Thought ("Il/T") of the

    Safa Group, until he was deported by the INS in 1996. According to the May 31, 1995, edition

    of Al-Hayal an Arabic newspaper printed in London, fierce differences erupted within the P/J

    between founder Fathi Shikaki and elected members of the Shura Council, leading to resignations

    of members of the Shura Council including Taysir Al-Khatib and Basheer Naji. Yet, the

    November 6, 1995, edition of the Jordanian newspaper AI-Urdun, regarding the selection of

    Shallah as the new leader of PIJ, noted that several other leading PIJ members, including Naji,

    had not been selected. Thus, it appears that after Shallah replaced Shikaki as head of the PJJ

    after the latter's assassination in October 1995, Naji reentered the organization's leadership.


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            32. Al-Arian sponsored Naji into the United States in 1992 and 1995, on the grounds that

    Naji was to be the Director of Research for WISE in Tampa, Florida. In July 1996, Naji was

    removed from the United States pursuant to a deportation order based on allegations that

    included that although he was admitted as a worker for WISE, in October 1994 he was employed

    at IIIT, a Safa Group charity in Herndon, Virginia.

           33. Mazen al-Najar is a brother-in-law of Sami Al-Arian who worked as a professor at

    the University of South Florida while running the day-to-day operations of WISE Al-Najar was

    arrested and ordered deported on visa violations and immigration fraud charges after a hearing in

    July 1996, in which INS SA William West testified that Al-Najar was a "mid-level operative" in

    ICP and WISE, both of which were characterized by SA West as PIJ front groups. Al-Najar was

    released in December 2000, however, for the government's refusal to provide Al-Najar with

    classified information underlying its case that the government claimed warranted his continued

    detention; that order was reversed and Al-Najar is again in custody. Al Najjar v. Ashcroft. 257

    F.3d 1262 (ll th Cir. 2001).

           34. Khalil Shikaki, the brother of P/Jleader Fathi Shikaki, was involved in the day-to-

    day operations of ICP and WISE in the early to mid-1990s, along with Al-Arian, al-Najar, and

    Shal/ah.

           35. Holy Land Foundation for Reliefand Development ("HLF"): On December 4,

    2001, President Bush designated HLF an FTO on findings that it was a HAMAS front. HLF was

    determined to provide financial support for families of HAMAS suicide bombers, as well as the

    Palestinians who adhere to the HAMAS movement. By providing annuities to families of suicide




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    bombers, HLF encouraged the flow of suicide volunteers to HAMAS and buttressed its terrorist

    infrastructure.

            36. HLF, a charity in Richardson Texas, was started in large part with $210,000 from

    HAMAS leader Marzook as a support structure for the terrorist group after it was banned in

    Israel. HLFs stated mission was to pursue "charitable-relief for refugees and the indigent needy,

    fund raising furthering the corporation's exempt purposes, and to sponsor charitable activities

    benefiting and to make contributions or distributions to other 50l(c)(3) organizations[.]"

    Between 1998 and 2000, HLF'raised over $24,000,000.

           37. I have read the FBI Memorandum to the Treasury Department's Office of Foreign

    Assets Control, dated November 5, 2001, that contributed to the basis of HLFs FTO designation

    OFAC The memo disclosed that, in a meeting in a Marriott hotel in Philadelphia that the FBI

    covertly recorded, five HAMAS leaders met with the three top executives of HLF, and decided

    that most or almost all of the funds collected by HLF in the future would be directed to HAMAS.

           38. In a meeting the next year in Oxford, Mississippi, also recorded by the FBL HAMAS

    representatives explained to the representatives of the a/-Aqsa Educational Fund- - another

    fund-raising organiz.ation acting as a HAMAS front (and a member of the Safa Group) - - that al-

    A.qsa should curtail its fundraising activities because Marzook had designated HLF as the primary

    fund-raising entity for HAMAS. Marzook may have so designated HLF because of family

    connections; according to FBI SA Robert Miranda, who has been investigating the connection

    between HA.MAS and HLF: Marzook is married to the cousin of HLF head Ghassan Elashi, and

    two other close relatives of HA.MAS leaders worked for HLF.




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            39. ICP I WISE: The Islamic Concern Project, also known as the Islamic Committee for

    Palestine ("ICP "), and the World Islamic Studies Enterprise ("WISE") were incorporated by A/-

    Arian in Florida as educational organizations in 1989 and 1991, respectively, but actually se1Ved

    as front organizations to raise funds for P/J operations. Al-Arian was assisted in the day-to-day

    operations of ICP and WISE by Naji, al-Najar, Khalil Shikaki, and Shallah. Then the Director of

    Research for WISE, Shallah is now the current leader of P/J, living in Syria, as he has been since

    the assassination of PJJ founder Fathi Shikaki in 1995. JCP and WISE have been inactive since

    execution of the Tampa search warrants in 1995.

    VIII.   The Tampa Investigation

            40. In May 1995, INS SA William West, in conjunction with USCS SA John Canfield and

    FBI SA Barry Carmody, began a criminal investigation of ICP and WISE after published

    newspaper articles stated these organizations were fronts used to raise funds in support of PIJ and

    HAMAS.

            41. After Fathi Shikaki, the leader of PIJ, was assassinated in Malta in 1995, the agents

    investigating ICP and WISE saw news accounts that reported that, before replacing Shikaki as the

    leader of PIJ, Shal/ah had left his position as a professor at the University of Southern Florida-

    the same institution that employed Al-Arian.

            42. INS records revealed 1993 and 1994 entry records for Sha//ah as a temporary

    specialized worker who would be based at the WISE address in Tampa, Florida. INS records .

    further revealed that Al-Arian had filed three different visa petitions on behalf of Shal/ah and in so

    doing had identified himself as the Chairman of the Board of WISE.




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            43. As a result of discovering the immigration records relating to Al-Arian and Shallah, a

     further search was made of the INS visa petition records reflecting Al-Arian as the petitioner.

     This search identified two visa petitions filed with INS by Al-Arian on behalf of Basheer Naji,

     who was of interest to the investigators because, on the basis of news reports, they believed him

     to be another leader of PIJ. These petitions reflected Al-Arian as the Chainnan of WISE, with

    Naji to be the "director of research." A check of INS entry records for Naji revealed four entries,

    on two of which he listed his destination address as 5207 East 12th Avenue, Tampa, Florida, the

    residence of Al-Arian, as well as the listed address,of ICP on its articles of incorporation.

            44. In light of Al-Arian's ties to PIJ terrorists Shal/ah and Naji, federal agents executed

    search warrants on November 20, 1995, at the residence of Al-Arian, his office at the University

    of South Florida, and the co-located offices of WISE and ICP, all in Tampa.

            45. Found in the search on Al-Arian's home computer was a 40-page document entitled

    "The Manifesto of the Islamic Jihad in Palestine.,, The Manifesto said that movement was led by

    the Secretary General Fathi Shikaki, on a "Shura" (consultative) basis, and was based on the

    "rejection of any peaceful solution for the Palestinian cause, and the affirmation of the fthad

    solution and the martyrdom style as the only choice for h"beration." The document stated that the

    United Nations "is a supercilious tool to pass the plans of the Great Satan America, which makes

    the wrong right and the right wrong." Because Al-Arian's computer contained both what appear

    to be a draft of the PIJManifesto and a final version of the P/JManifesto, I believe that Al-Arian

    drafted the PIJManifesto.

            46. Also uncovered was a fonn letter in Al-Arian's computer inviting recipients to a

    general conference for the "Movement." Included in the letter were items of the conference


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    agenda including: Reviewing the activities of the Secretary General and the Command Committe. .

    of the Movement; endorsing the Manifesto; and electing the General Shura (consultative) Council.

    The letter also stated that the Manifesto draft was enclosed. While the letter did not name the

    "Movement", the letter was located in the same computer folder as the draft of the Manifesto of

    the Islamic Jihad Movement in Palestine. The terminology used in the letter regarding the

    Manifesto, the General Conference, the Secretary General, and the Shura Council was the same as

    that used in the Islamic Jihad Movement's literature. Thus, I conclude from these documents that

    Al-Arian was organizing the P/J from his home in Tampa.

           47. Also found in the search of Al-Arian's residence were statements from several bank

    accounts, including one that he shared with Mohammed Taysir EI-Khatib, a member of the PIJ

    Shura Council. The bank statement reflected that, on May 29, 1992, El-Khatib wire transferred

    $102,000 from Beirut, Lebanon, into the account he shared with Al-Arian in Tampa, Florida. I

    conclude from this that Al-Arian handled money for PIJ leaders overseas.

           48. The search also uncovered a letter from Al-Arian to an Islamic Fundamentalist elected

    to the Kuwaiti Parliament seeking funds for the families of PIJ martyrs, on the stated grounds that

    the movement •carries out selective operations that all the Arab armies together couldn't do." Al-

    Arian told the Kuwaiti that "[r]elations with the brothers who are part ofHAMAS is very good,

    and progressing well. There are serious attempts at establishing permanent coordination and unity

    of action." Enclosing his address and phone number, Al-Arian called upon the Kuwaiti "to

    strongly support the Jihad effort in Palestine in order for such operations to continue." I conclude

    from this that Al-Arian engaged in international fund-raising for PIJ from his home in Tampa; it

    also confirms that it is not inconsistent for a PIJ supporter to also support HAMAS.


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           49. Also located at the search of Al-Arian's residence was a document, hand written in

    Arabic, called the Charter of the Center of the Studies, the Intelligence and the Infonnation. This

    document, hereinafter called "the Charter," set forth a comprehensive plan to establish a hostile

    intelligence organization in the United States and elsewhere. It stated that:

                   Our presence in North America gives us a unique opportunity to
                   monitor, explore and follow up . . . . We are in the center which
                   leads the conspiracy against our Islamic world . . . . Therefore,
                   we, here can monitor and watch the American policies and the
                   activities of those questionable organizations . . . . Therefore, we
                   have the capability to establish a Center for Studies, Intelligence
                   and Information.

           50. The Charter provided for a "Division of Security and Military Affairs," whose

    functions were to

                   prepare training programs for the brothers. These programs include
                   physical training, surveillance training . . . programs for military
                   training benefitting from the available opportunities that exist in this
                   country . . . . To make technical studies with the objective of
                   availing spying and military tools and devices to the Group in
                   America and the East and about the spying methods and equipment
                   in these countries.

           51. The Charter provided for an Organization/Law Studies Section whose job it would be

    to study the legal aspect of establishing charitable organizations in America.

           52. The Charter provided for the establishment of an Intelligence and Monitoring

    Apparatus, part of which would be responsible to "to watch the individuals who oppose the

    Movement and the Islamic actions. To watch them, monitor them and to make files on them.

    ." Members of the Group should be able to "infiltrate the sensitive intelligence agencies or the

    embassies in order to collect infonnation and build close relationships with the people in charge in




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    these establishments." They should also use every opportunity to "collect information from those

    relatives and mends who work in sensitive positions in the government, et cetera . . . ."

           53. The Charter further provided for the establishment of a "Branch of Information and

    Security and Military Studies"

                  to perform special studies such as purchasing and retaining arms and
                  training on these arms. The situation of the camps and the training
                  locations to be studied. To study the matters of exporting arms in special
                  ways in relation to the source of these arms and the implications of
                  exporting it. Also, to follow up on the scientific development relating to
                  spying operations, the intelligence agencies and its tools.

           54. Also seized during the search was a videocassette of the First Annual Conference of

   ICP organized by Al-Arian and held on December 22-26, 1988, in St. Louis. At that conference,

   Al-Arian told the audience that "Islam means Jihad, resistance, fight, and martyrdom. . . . "A/-

   Arian repeated slogans including "Jihad is our way. Victory to Islam. Death to Israel.

   Revolution until victory."

           55. Another item obtained in the search was a videocassette of the Fourth Annual

   conference of the ICP held on December 27-30, 1991 in Chicago, also organized by A.I-Arian. At

   that conference, PIJ spiritual leader Sheikh Abdel Aziz Odeh told the audience that "Muslims

   should not fear accusation of terrorism or extremism. There are no other choices for Muslims."

           56. Another videotape seized during this search contains activities recorded at the Islamic

   Center of Cleveland on April 7, 1991. Fawaz Abu-Damra, the Imam at the Islamic Mosque in

   Cleveland, introduced Al-Arian as the guest for the evening. As Al-Arian came forward, Damra

   told the audience that Al-Arian "heads the ICP - and as small excerpt about the ICP - it is the




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     active arm of the Islamic Jihad Movement in Palestine in North America. We call it the ICP here

     for security reasons."

            57. That same videotape depicted Damra then asking that all video and audio recording

     devices be turned off for security reasons and the tape goes blank. The tape was turned off and

     on several times. It later depicted Al-Arian stating that "we must continue with the Resistance

         let's damn America, let's damn Israel, let's damn their allies until death."

            58. The tape further depicted Damra telling the audience as Al-Arian ended his speech that

    anyone who donates money to the Intifadah and the Islamic Jihad is like that warrior who is

    waging holy war on behalf of Allah. He asked for money for Islamic Jihad, whose martyr "Nidal

    Zaloom went out with a dagger and stabbed four Jews in Jerusalem."

            59. Damra repeatedly stated that the money would go to the Islamic Jihad. Damra told

    the audience that anyone who wanted to write a check should make it out to the ICP. During this

    time, the video depicts the crowd coming to the podium area and laying money at Damra's feet.

    As Damra was requesting money for the Islamic fthad, it was announced that $6,785 had been

    contributed so far. Damra announced that there would be a permanent ICP fund in Cleveland for

    anyone who wanted to donate to the Islamic fthad .

           . 60. An undated document was seized containing a speech given by Al-Arian as president

    of /CP in which he describes a struggle between Islam and the West and stated that "we are in a

    battle of life and death, in a battle of fate and future against the Western Hegemony and tyranny

    wanting to control the capabilities of the nations in order to enslave steal and control them."

    Further on he stated "What is needed is the dismantling of the cultural system of the West."




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            61. Investigators who seized Al-Arian's home computer found in it files for three wills for

     three individuals who were planning to die as martyrs on Jihad. ln the first, dated 2/19/92, Nizar

     Mahmoud wrote "the Jihad for Palestine is a Jihad for Allah, it is an obligation for you wherever

     you are, because there is no one more loved by Allah than the martyr." ln the second, Adel Daher

     wrote about his desire to be a martyr and quoted the Koran regarding Allah's reward for those

     who fight and are slain in his cause. In the third, Khaled Muhammad Hassan stated:

                   If we cannot destroy today this house, the Jew's State, we can ignite the
                   fire in its regions, and if we ignite it every where no one will be able to
                   extinguish it. We should charge the atmosphere of enmity and create a
                   flammable Jihad climate that needs a match stick only.

    The location of these wills on Al-Arian's Macintosh home computer illustrates the close

    connection between Al-Arian and P/J suicide bombers.

            62. I know from the Tampa investigation that Sheik Rahman (the "Blind Sheik") visited

    Al-Arian at his residence in Tampa and spoke at his mosque, as did Sheik Odeh.

            63. In sum, there is probable cause to believe that, until 1995, Al-Arian used ICP and

     WISE as the American front for PIJ, and that until December 2001, HLF acted as the primary

    American front for HAMAS. There is probable cause to believe that money sent to Al-Arian was

    really money going to PIJ, and that money sent to HLF was really money going to HAMAS.

            64. Further, there is probable cause to believe that those who knew Al-Arian, Sha/lah, a/-

    Najar, Khalil Shikaki, or Naji from their conferences or writings and sent money to ICP or WISE

    - - or directly to Al-Arian himself - - knew that they were sending it to support suicide bombings

    and terrorism conducted by PIJ Similarly, there is probable cause to believe that those

    contributors to HLF who knew the leaders of HAMAS or HLF - -and at least some of those who



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    did not - - contributed their money to support suicide bombings and terrorism conducted by

    HAMAS.

           65. Finally, there is probable cause to believe that many of those who sent money to A/-

    Arian, WISE, and ICP for PIJ, as well as some of those who sent money to HLF, conspired to

    provide material support to terrorists, and to engage in international transfers of money to

    promote offenses against a foreign nation involving murder, kidnaping, robbery, extortion, and the

    destruction of property by means of explosive or fire, in violation of 18 U.S.C. §§ 1956(aX2) and

    (h) and 2339A and 2339B.

    IX.    The Safa Group and Associated Individuals

           66. In the next sections of this affidavit, I will show the probable cause to believe that the

    individuals controlling the Safa Group sent money to HLF and Al-Arian to support suicide

    bombings conducted by HAMAS and PIJ. First I will establish that the individuals controlling the

    share a common ideology with HAMAS and PIJ and know exactly what HAMAS and PIJ do

    with the monies they receive. Then I will establish that these individuals have continued to send

    money to HLF and Al-Arian for HAMAS and P/J, through ever more concealed methods.

           A       The Ideology

           67. I have found information indicative of a conspiracy between Safa Group individuals

    and Sarni Al-Arian to support and fund terrorists and terrorist groups including HAMAS and PIJ.

    A most striking example is a letter seized during the 1995 search warrants, from a central figure in

    the Safa Group, Al-Alwani at I/IT (both of which will be further identified below) to Al-Arian at

    WISE, and dated November 19, 1991. In that letter, Al-Alwani referred to the payment of monies

    from 1/lTto PIJ, and wrote that he and his colleagues, and their organizations, considered


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    themselves to be indistinguishable from Al-Arian, Shallah (now the head of PIJ) and other

    founders and members of P/J. In specific, Al-Alwani stated in his letter to Al-Arian:

                   Honorable brother, I think we do not need to affinn that we
                   consider you as a Group, you and brother Mazen [al-Najar] and
                   brother Khalil [Shikaki, brother of PIJ founder Fathi Shikaki] and
                   brother Bashir [Naji] and Brother Ramadan [Sha/lah, present
                   head of PIJJ and Sheikh Abdel Aziz [Odeh, a founder and spiritual
                   leader of the PIJ], a part of us and an extension ofus, and us part
                   of you and extension of you also, we never experienced any doubts
                   about that since we knew you and we will continue like that.

           68. Al-Alwani continued:

                  And the matter of the financial support was never the basis of our
                  relationship, for our relation added to the brotherhood of faith and Islam is
                  an ideological and cultural concordance with the same objectives and all of
                  your institutions are considered by us as ours, and they receive all the
                  attention, and I explained to you the circumstances the institutions of your
                  brother go through, and despite which we can truthfully say that we gave
                  your institutions or our institutions that you manage more attention than
                  institutions we manage by ourselves, because you are in an important
                  positions without a doubt, and you deserve from us and our likes all
                  cooperation, God willing ....

           69. Al-Alwani stated that he was speaking not only for himself: but also for other members

    of the Safa Group:

                  And I would like to affirm these feelings to you directly on my
                  behalf and on the behalf of all my brothers, Dr. Abdel Hamid
                  [Abusulayman], Dr. Jamal [Barzinji ], Dr. Ahmad [Totonji ], Dr.
                  Hisham [Al-Talib] . . . .

           10. Al-Alwani noted that it didn't matter to the Safa Group how Al-Arian characterized

    the $45,000 Al-Arian received from the Safa Group, as part of its total contribution of$50,000 (I

    have added the bold type}:

                  And I would like to affirm these feelings to you directly on my behalf and
                  on the behalf of all my brothers, Dr. Abdel Hamid, Dr. Jamal, Dr.


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                    Ahmad, Dr. Hisham, and at the same time, affirm to you that when we
                    make a commitment to you, or we try to offer, we do it for you as a
                    Group, regardless of the side or the facade you use the donation
                    for .... " What is left is to remind you that what is mentioned in your letter is
                    that what you already received is forty thousands, and what we have in the
                    records for you is forty-five thousands, and I will inquire about the matter
                    with the brothers accountants so I will send you what will complete the
                    amount of fifty thousands, God willing .

            B.      The Individuals

            71. The below-listed individuals are the founding and facilitating members of the Safa

     Group, an interwoven set of organizations that were established in the U.S. with the assistance of

     other Saudi Arabian and other Middle Eastern nationals. Based on the evidence in this affidavit, I

     know that they are ardent supporters of P/J and HAMAS. They have repeatedly voiced their

     ideological support. I have seen repeated instances of their financial support, and believe that

     they have acted to conceal many other instances of their financial support.

            72. Ahdulhamid Ahusulayman incorporated IIIT in Vrrginia with Taha Jaber Al-Alwani in

     1982. In the letter from Al-Alwani to Al-Arian seized in the 1995 searches in Tampa, quoted

     above, Al-Alwani affirmed that PIJ and the Safa Group shared a common ideology. Al-Alwani

     expressly mentioned Abusulayman as having the same sentiments as the entire Safa Group.

            13. Taha Jaber Al-Alwani incorporated l//Twith Abusulayman in 1982, and was the

     president ofll/T from about 1986 through 1997. AI-Alwani wrote the letter to Al-Arian

     expressing solidarity as quoted above. In another seized document, Al-Alwani refers to $50,000

     in financing that he and the Safa Group provided to WISE IICP.

            74. Various documents and videotapes obtained in the Tampa searches show that Al-

     Alwani, the President of //IT, attended and spoke at ICP conferences with Al-Arian, Shat/ah,



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    Sheik Odeh (spiritual leader and co-founder of P/J) and Sheik Rahman (the "Blind Sheik"

    convicted of conspiracy to blow up New York tunnels and the United Nations in New York in

    October 1995). Inasmuch as /CP conferences were, in essence, PIJ conferences, I know that AI-

    Alwani has long been a supporter of PIJ.

            75. In October 1999, a confidential asset of the FBI, who has provided reliable

    information in the past, furnished the Washington Field Office of the FBI a copy of a fatwa

    (declaration) signed by Al-Alwani at some point between December 1988 and November 1989,

    proclaiming

                    the truth by the powers invested in us by Allah, that Jihad is the only way
                    to liberate Palestine; that no person or authority may settle the Jews on the
                    land of Palestine or cede to them any part thereof, or recognize any right
                    therein for them.

           76. In early 2000, Al-Alwani spoke with FBI Special Agents Ammerman and Wyman. Al-

    Alwani admitted to attending several /CP meetings with Al-Arian, as well as being acquainted

    with Naji and Shallah. AI-Alwani stated that he maintained regular contact with Al-Arian, and

    that Al-Arian typically contacts him when Al-Arian visits the Washington, D.C. area several

    times a year.

           11. Hisham Al-Talib is a director or officer of several Safa Group organizations, including

    Safa Trust, Inc. and I/IT. Al-Talib was referenced in AI-Alwani' s 1991 letter expressing

    solidarity with Al-Arian.

           78. M Omar Ashraf is a director or officer of seven Safa Group organizations, including

    Grove Corporate Plaza, Mar-Jae Investments, and Sterling Charitable Gift Fund




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           79. Muhammed Ashraf is a director or officer of over 20 Safa Group organizatio1

    incorporated with the address of 555 Grove Street, Herndon, Virginia, including Sterling

    Investment Group, Sterling Charitable Gift Fund, and York Foundation.

           80. Jamal Barzinji has been the officer or director of numerous Safa Group

    organizations, including Mar-Jae Poultry, Reston Investments, and Safa Trust. Barzinji was

    referenced in AI-Alwani' s 1991 letter expressing solidarity with Al-Arian. l believe that Barzinji

    is not only closely associated with PIJ (as evidenced by ties to Al-Arian, including documents

    seized in Tampa in 1995 reflecting direct correspondence between Barzinji and Al-Arian), but

    also with HAMAS. REDACTED XJa:XX>oooocx:,ocxx:XJ!:xx,oooocx:xxxD01:,oooooicxx:,ocxxxx




           81. Mohammed Jaghlit has been an active supporter of Al-Arian and PIJ, both

    ideologically and financially. Two documents seized in Tampa in 1995 were letters sent by

    Jaghlit to Al-Arian in 1994, referencing enclosed checks from SAAR Foundation for $10,000 and

    $5,000. In both of these letters, Jaghlit instructed Al-Arian not to disclose the contribution

    publicly or to the media.

           82. Moreover, Jaghlit also has been an active supporter of HAMAS. As noted above,

    the Safa Group charity al-Aqsa &iucational Fund acted as an American front for HAMAS until

    the 1994 meeting in Oxford, Mississippi, described above, during which HAMAS representatives

    explained to al-Aqsa representatives that Marzook had designated HLF as HAMAS 's primary

    fund-raising entity. I have seen the IRS Forms 1023, Application for Recognition of Exemption,

    and the 990-FZ, filed by theAI-Aqsa Educational Fund, Inc., for 1990 and 1996, respectively.


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     Each of the two IRS forms reflects that the president of Al-Aqsa is Mohammad El-Gajhleet of

     555 Grove Street in Herndon, Virginia. I believe that "Mohammad EI-Gajhleet" is an alternative

     spelling for Mohammad Jaghlit, and the two names refer to the same individual.

            83. M Yaqub Mirza is a corporate officer or director of numerous Safa Group

     organizations located at 555 Grove Street in Herndon, including Safa Trust, Inc., SAAR

     Foundation, Inc., Reston Investments, Inc., Mar-Jae Investments, and African Muslim Agency.

    Mirza is the predominant signatory on Safa Group checks.

            84. Cherif Sedky was a director of the SAAR Foundation and now is a director of at least

     two Safa Group companies.

            85. Ahmad Totonji is a corporate officer of several Safa Group organizations, including

     Safa Trust, Inc., and was referenced in Al-Alwani's 1991 letter expressing solidarity with A/-

    Arian. Totonji is also referenced in another seized letter from Al-Arian to Al-Alwani. In this

     letter, Al-Arian solicited more funding and referred to a meeting he had with Totonji where

     Totonji promised him another $20,000. As recently as November 1, 2001, Totonji signed a check

    for $10,000 to Al-Arian through Al-Arian's organization known as the Tampa Bay Coalition for

    Justice and Peace, drafted on the account of Safa Group charity I/IT.

            86. Iqbal Unus is a director of the Child Development Foundation, a Safa Group

    organization, along with Abusu/ayman and Al-Talib, an advisor on the Sterling Charitable Gift

    Fund and Sterling Management Group organizations, and the administrative and billing contact

    for web sites for ll/T and FJQH Council ofNorth America.




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                   C.      The Funding

            87. Discovered in the Tampa searches in 1995 were letters indicating that in 1991 and

    1992, I/IT contributed at least $50,000 to PIJ front-group WISE. Moreover, another document

    seized during these warrants was a 1991 letter from Sha/lah - now the leader of P/J - to an

    administrator of the University of South Florida, with a copy to Naji, stating that II/Twas the

    largest contributor to WISE.

           88. Additional documents seized in Tampa in 1995 include two that Jaghlit sent to A/-

    Arian in 1994, referencing checks enclosed by with the letters from Safa Group charity the SAAR

    Foundation for $10,000 and $5,000, respectively. In both of these letters, Jaghlit instructed A/-

    Arian not to disclose the contribution publicly or to the media. I conclude from Jaghlit' s

    instructions that Jaghlit knew very well that the SAAR money was going to PIJ to support

    terrorism.

           89. On February 2, 1995, Mirza signed a check for $15,000 to WISE on a Safa bank

    account, the deposit slip for which was found in Al-Arian's home during execution of the 1995

    search warrants.

           90. As recently as November l, 2001, Totonji wrote a check for $10,000 to Al-Arian

    through Al-Arian's Tampa Bay Coalition for Justice and Peace, drafted on II/rs account at First

    Union Bank in Herndon.

           91. IRS Form 990 for Safa Trust, Inc. for tax year 1996 indicated that Safa maintained

    $162,000 as "a library trust" for HAMAS -front HLF. In 1997, HLF received three Safa Trust

    checks in the amounts of$75,000, $87,500, and $162,500, all signed by Mirza.




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     X.     Evidence of Layering Indicative of Money Laundering,
            Tax Evasion, and Material Suimort to Terrorists

            A. Overview

            92. The investigation has focused on the organizations associated with the Safa Group

     through corporate records, tax filings, financial transactions, interviews with confidential

    infonnants, and visual surveillance. I have detennined that the individuals associated with the

    Safa Group use or have used over I 00 organizations, which are interrelated through corporate

    officers and holding company - subsidiary relationships, to facilitate the funding of terrorist

    operations. Many of these organizations are listed in Attachment C. A list of most of the

    individuals acting as officers of Safa Group organizations referencing the organizations with

    which they are associated is included as Attachment D; both Attachments C and D are

    incorporated by reference here.

            93. This array of organizations includes for-profit businesses, purported educational

    institutions, and charities. Many of the organizations have identical or overlapping directorates or

    management. Many of the organizations of the Safa Group are phantom entities with no physical

    presence, as evidenced by the multiple addresses for the organi7.8.tions provided on official

    documents and the lack of signs announcing the various organizations at what is represented to be

    their business address. The relationships and operations of these organizations are convoluted not

    only by the repeating pattern of corporate officers and directors but also the large number of

    entities involved.

            94. While I don't now know for sure why the labyrinth of organizations and charities that

    comprise the Safa Group was constructed, there does not appear to be any innocent explanation.



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      In the course of the investigation, I have considered why this labyrinth was constructed. Possible

      explanations include

             a.     To conceal support for terrorism;

             b.     To conceal support for otherwise non-exempt organizations (for example, to
                    conceal support to foreign charities over which domestic charities do not maintain
                    control, or even to political parties);

             c.     To shelter income derived from what actually are personal investments; and

             d.     To shelter income derived what actually was someone else's personal investments
                    for which individuals in the United States were trustees (for example, to shelter
                    income on the investments of a member of the A/ Rajhi family);

             e.     To shelter income from personal investments in the course of sheltering income for
                    someone else (some combination of"c" and "d" above); and

             f      To avoid excise taxes that would otherwise be due and payable on private
                    foundations.

     Based on the past history of the individuals involved, I believe that the most likely reason is to

     conceal support for terrorism.

             95. Although the Safa Group consists of over I 00 interwoven organizations, the

     investigation has focused on approximately 20 core organiz.ations, and their associated corporate

     officers and directors. The table below illustrates the overlapping directorates by listing the Safa

     Group members on which this investigation has focused and their principal officers, dir~ors and

     trustees:




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                                  Abusulavrnan AI-Alwanl AI-RaJhl Al-Talib Ashraf, M. Omar Ashraf, Muh. Barzinji Jaghlit Mirza Sedkv Totonji Unus
\frfcan Musllm Aaencv                                                X                                                   X
\mana Llmfted                                                                     X                                      X      X
\radl Inc.                                                  X        X                          X                        X      X

3roveCom.                                                            X                                     X             X
3rove COmorate Plaza                                                              X                                      X

3SISS                                  X           X
ierttaae Education Trust                           X                                                       X    -   X    X
iFC. Feed Mill                                                                                  X                        X

-fumana Charitable Trust                                                          X                                      X      X
 IIT                                   X           X                 X                                     X                           X      X

~ar..Jac Investments, Inc                                            X            X             X          X             X
~ar..Jac PoultrY Inc.                                                X            X                        X             X
~ens COmoratlon                                                      X                                     X             X
-Aena Investments, Inc.                                              X                                     X             X
~eston Investments Inc                                               X                                     X        X    X
SAAR Foundation                                                      X                                     X        X    X      X
3AAR Foundation, Canada                                              X                                     X             X
SAAR lntematlonal                                                    X                                     X             X
Safa Trust. Inc.                                   X                 X                                     X        X    X             X
3terftria Charitable Gift Fund.                                                                  X                       X
sterrlna Investment Grouo                                                         X              X                       X
sterflno Manaaement Grouo                                                         X              X                       X
fort Foundation                        X                                                         X                       X
fork International                                                                                                       X




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                    B.      Analysis of the Safa Charities

            96. IRS tax files and corporation documents disclose that 555 Grove Street, 500 Grove

     Street, and associated addressed in Herndon are the corporate offices of record for over I00

     active and defunct corporations, partnerships and tax exempt charitable organizations that are

     woven together by common officers and directors. According to the Virginia Secretary of State,

     approximately 40 active corporations claim their offices to be located at 555 Grove Street, alone.

            97. IRS Special Agents Mary Balberchak, Paul Shanks and Steven Smith reviewed Forms

     990 (Return of Organization Exempt From Income Tax) and additional tax-related infonnation

     for seven tax-exempt Safa Group organizations. Many of the conspirators are officers in one or

     more of those charitable organizations. All seven of the charitable organizations (hereinafter, the

     "Safa Charities") are located in or near Herndon, Virginia, and five are co-located at the same

     555 Grove Street address. The Safa Charities are:

            African Muslim Agency          Heritage &Jucation Trust       IIIT
            SAAR Foundation                Safa Trust                     Sterling Charitable Gift Fund
            York Foundation

            98. The IRS Special Agents also reviewed individual tax returns of certain officers of the

     same tax-exempt organizations as well as corporate returns of for profit businesses that are wholly

    owned by a Safa Charity and/or controlled by the same officers, directors and trustees that

     control the charities. In 2000 the IRS conducted a limited examination on one of those charities.

     The IRS Special Agents reviewed the audit file and consulted with the two IRS Revenue Agents

     that conducted the examination on that entity. Other documents were also reviewed, including

     corporation documents for the same entities and other related companies, certain real estate

     settlement documents and bank records.


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             99. Analysis of the above returns and available supporting documentation disclosed a

     series of transactions between related companies that, when examined in their entirety, evidences

     a conspiracy between Mirza, Abusulayman, Al-Alwani, Barzinji, Al-Talib, M Omar Ashraf,

     Muhammad Ashraf, Jaghlit, Sedky, Ahmad Totonji, and others, known and unknown, to route

     money through hidden paths to terrorists, and to defraud the United States by impeding,

     impairing, obstructing and defeating the lawful government functions of the IRS- in the

     ascertainment, computation, assessment, and collection of federal income taxes. What follows is

     a summaI)' of allegations, evidence of which will be detailed in this affidavit.

             100. The conspirators have moved or authorized the movement of funds through a series

    of transactions involving the Safa Group, which includes the Safa Charities, and also for-profit

    corporations owned by or related to them. The evidence to date demonstrates that multiple

     millions of dollars have been moved between the Safa Charities, between the for-profit members

    of the Safa Group and the Safa Charities, and between the Safa Charities and foreign entities

    represented to be charitable in nature. The financial transactions involve contributions to the Safa

    Charities from for-profit corporations of the Safa Group, loans to for-profit corporations in the

    Safa Group, contnoutions, loans, and grants between the Safa Charities and the movement of

    funds from the Safa Charities into offshore trusts and other foreign entities.

            101. Although, based on their representations to the IRS, each of the Safa Charities is

    treated as a public charity under federal tax laws, their gross revenues derive from sources which

    make the basis for their meeting the public support test unclear. Of the contributions to the Safa

    Charities for 1996-2000, the vast majority, over 71.8% percent, comes from other members of

    the Safa Group or from their principals. Of that support which does not emanate from the Safa


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     Group or its principals another 12.2% is reportedly derived from the unidentified contributors

     labeled "overseas general public." 13.2%, is comprised of funds from other overseas entities

     including benefactors in Kuwait, Saudi Arabia, and Malaysia.

            I 02. Similarly, the pattern of grants and allocations made does not demonstrate the Safa

     Charities are operating for an exempt purpose. The grants and allocations made by the Safa

    Charities generally go to other members of the Safa Charities, or in some instances, other

    charities within the Safa Group. For the years in question 84.4% went to these entities. Another

     14.3% was reportedly given to recipients which, contrary to law, the Safa Charities did not

    identify on the relevant Forms 990.

            I 03. In addition, of the $54 million in grants and allocations reported for 1996-2000, $26

    million (or 49%) was transferred to entities in the Isle of Man, $20 million (or 37%) remained

    within the Safa Charities. Of the balance approximately $7.7 (or 14.3%) went to unidentified

    donees. Accordingly, I believe that the Safa Charities are used to shuttle monies between them,

    blur the trail, and hinder the ability of investigators to ascertain the ultimate disposition of those

    monies. This investigation has followed the complex trail and detennined, as stated above, that,

    of the funds whose recipients can be identified, virtually the only monies disbursed by the Safa

    Charities are monies that were disbursed either to other Safa Charities, or transferred to the

    name of off shore entities in tax havens.

            104. By exercising common control, the Safa Charities ensure the tax benefits of their

    movement of funds between tax-exempt and for-profit entities, without ever having to surrender

    control of the funds. Although substantial funds are moved between various entities, the

    conspirators have maintained control over their disposition even after the funds are transferred


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     through the use of interlocking directorates and common officers, the common physical location

     of members of the Safa Group at 555 Grove Street, and the centralization of control over

     monetary transfers among the Safa Group in the persons of Mirza and Safa Group employee

     Beverly Hassan.

               105. For example, Mirza has signatory authority over 27 different bank accounts

     associated with 15 different organizations of the Safa Group, including five of the Safa Charities.

     Al-Talib has signatory authority over 21 different bank accounts associated with nine members of

     the Safa Group, including two Safa Charities. Barzinji has signatory authority over 18 different

     bank accounts associated with nine members of the Safa Group, including three Safa Charities.

            106. In addition, although Hassan is shown as an employee of Mar-Jae Investments, Inc.

     between 1996 and 2000 and also of Sterling Management Group at 555 Grove Street, she

     conducts financial transactions for many of the Safa Group members. In the 90-day period

     between October and December 2001, Hassan authorized 16 transactions on behalf of seven

     different organizations: Safa Trust, York Foundation, Sterling Charitable Gift Fund, Sterling

     Management Group, Mar-Jae Investments, Reston Investments, Inc., and African Muslim

     Agency.

            107. A further example is found in a letter obtained by IRS auditors in 2000 in connection

     with an audit of SAAR Foundation. The letter, dated December 3, 1997, from Humana

     Charitable Trust, P. 0. Box 1297, Herndon, Virginia, was addressed to Mirza of the SAAR

     Foundation. The letter explained that Humana was an Isle of Man trust, stated Humana 's

     purpose, and requested Mirza, on behalf of SAAR to become a "major sponsor" of Humana. The

     letter was signed "Amana Limited Trustee" and bore what appears to be the signature ofMirza.


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     In other words, Mirza, on behalf of Amana Limited, the trustee for Humana, sent a letter to

     Mirza, Director of SAAR, soliciting major donations from SAAR to Humana in the Isle of Man.

             108. Further, except for 11/T, the Safa Charities do not report active fundraising

     programs. Of the seven entities examined, only / l/T and Safa Trust report expenditures indicating

     significant fundraising. York, AMA, Heritage and Sterling Charitable Gift Fund report no

     expenses for fundraising. SAAR reports $806 in fundraising for over five years. Further, although

     Vrrginia law requires any charity soliciting for public funds in the state of Virginia to be registered

     with the Virginia Office of Consumer Affairs, Vernon Paige of the Virginia State Office of

     Consumer Affairs advised Special Agent Balberchak on January 30, 2002 that none of the Safa

     Charities are registered in Virginia.

             109. The vast majority of the funds leaving the circle of the Safa Charities is distributed to

     two Isle of Man entities (purportedly charitable trusts): Humana Charitable Trust, which is

     controlled by Mirza, Sedky and M Omar Ashraf, and York International, for which the Mirza is

     a trustee.   Between 1996 and 2000, approximately $26 million was moved from the Safa

     Charities to Humana and York. The disposition of funds from these entities is unknown.




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            110. The movement of funds into entities in the Isle of Man, a known tax haven, makes it

    difficult to verify whether these funds were used for terrorist financing or some other non-exempt

    purpose. The table below summarizes the funds which moved to the Isle of Man:

               Entity                 Amount                Recipient                 Location
     African Muslim Agency        $    445,000     York International Trust       Isle of Man
     SAAR Foundation              $21,128,978      Humana Charitable Trust        Isle of Man
     Safa Trust                   $ 4,462,147      York International Trust       Isle of Man
     York Foundation              $    400,000     York International Trust       Isle of Man

           111. When the IRS attempted through an audit to verify the ultimate disposition of the

    funds sent to the Isle of Man entities, their efforts were stymied by Mirza and Qureshi. The

    auditors never learned of the $5.3 million moved to York International because relationships

    between SAAR, African Muslim Agency, Safa Trust and York Foundation, were concealed from

    them. As for the funds moved to Humana, the auditors learned that, although required by law to

    monitor whether its grants to overseas charities were being used for charitable purposes, SAAR

    had no such records at its U.S. offices. Ultimately, SAAR produced checks amounting to

    $168,667, or 0.8%, of the $21. l million that SAAR represented had moved from SAAR to

    Humana.

           112. The Fonn 990 tax returns for the Safa Charities concealed relationships that existed

    between certain charities and concealed certain financial transactions between the charities and the

    for-profit members of the Safa Group. The direct impact of this non-disclosure is the

    concealment of transactions which may be taxable, partially taxable, or subject to excise taxes or

    similar penalties imposed for violation of limitations on how exempt organizations conduct their



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    business. In addition, the disclosure of such relationships could lead to an inquiry as to whether

    the entity was being operated for an exempt purpose and ultimately revocation of tax exempt

    status.

              113. On the basis of the foregoing, I have probable cause to believe that the Safa

    Charities are being operated to hide the distribution of monies to PIJ and HAMAS, and, I have

    probable cause to believe that they are being operated for the primary purpose of conducting a

    business unrelated to their exempt purposes, i.e., investing and managing the substantial funds

    accumulated by the Safa Charities.

              114. The money movements between the Safa Charities create the false impression they

    are publicly supported and operating for an exempt purpose, when, by and large, the funds never

    leave the control of the Safa Charities and their offshore related entities. Thus, the principals of

    the Safa Charities are manipulating the tax exempt status of the Safa Charities as part of a

    conspiracy to impede and impair the Internal Revenue Service in the determination and collection

    of federal tax, and to do so, are misrepresenting the nature of the operations of the Safa Charities

    to IRS officials and the public.

              115. It is important to remember that many of the organizations in the Safa Group as

    listed in Attachment Care for-profit-businesses. One, Mar-Jae Poultry, Inc., is a large poultry

    processor located at 1020 Aviation Boulevard, Gainesville, Georgia, whose principal officers are

    Barzinji, Al-Talib, M Omar Ashraf and Mirza. The bank signature cards for Mar-Jae Poultry,

    Inc. show that Barzinji, Al-Talib, Mirza and M Omar Ashraf have signatory authority over the

    bank accounts. Additionally, UCC-1 filings show that Humana was a creditor of Mar-Jae Poultry

    after July 2000.


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         116. First Union and IRS records reflect that Mar-Jae Poultry transferred millions ...

 dollars to Safa Group businesses and charities between 1997 and 2000. IRS filings and corporate

 bank records show that Mar-Jae Poultry is owned by Mar-Jae Holdings, Inc., which is a

 majority-owned subsidiary of Safa Trust, Inc. Mar-Jae Poultry was purchased by the Safa Group

 in 1985.

         117. Based on my examination of financial documents, correspondence, and interviews

 with confidential witnesses, I believe that the first members of Safa Group were established in the

 early l 980's. I believe that one source of funds flowing through the Safa Group is from the

 wealthy Al-Rajhi family in Saudi Arabia. The SAAR Foundation, a Safa Charity, was named

 after Sulaiman Abdul Aziz Al-Rajhi (SAAR ), head of a wealthy Saudi family. Abdullah Sulaiman

  Al-Rajhi, a relative of Sulaiman Abdul Aziz, is one of the directors of the Safa Group

 corporation, Aradi, Inc., located at 555 Grove Street, Herndon, Virginia.

         118. I have found that members of the Safa Group moved large amounts of funds into the

 United States to support their organizational infrastructure. Some of these occurred in the late

 l 970's and l 980's. As documented by a USCS Currency and Monetary Instrument Report, Safa

 Group member Ibrahim Hassaballa brought $3,388,000 in cash into the United States from

 Saudi Arabia in I 980. These funds allowed the individuals to both start and acquire businesses

 and organizations in the United States.

         119. SAAR Foundation first applied for recognition of exempt status in 1983. At that

 time it listed its governing body as consisting of nine members, including Totonji, Barzinji, A/-

 Talib, and Abusulayman. Presently, Barzinji, Totonji, and Al-Talib comprise the three directors




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     above, it is impossible to determine from domestic bank records the ultimate location of money

     received by SAAR, for SAAR was itself but a way-station for money being routed around the

     world by the Safa Group; before SAAR was officially dissolved in 2000 (long before receiving the

     $250,000 from Mar-Jae by way of Sterling), it made virtually all of its disbursements to

     "charities" located in the Isle of Man.

             123. As an example of layering involved a charitable contribution and loan, Safa

     contn"buted $8.6 million to Heritage according to the Safa Trust 990. In that same year Heritage

    loaned $5.5 million to Mar-Jae Holdings, Safa 's majority owned subsidiary. In the following

     year, Heritage transferred $4.1 million to Safa, reporting that this was a return of the 1996

    contribution.

            124. There is no reason Safa could not have made the loan directly to Mar-Jae Holdings,

    its subsidiary. I believe that the route the funds traveled, from Safa to Heritage to Mar-Jae, with

    a portion being returned to Safa, was designed to disguise the true nature of the transaction and

    the ultimate disposition of these funds.

            125. All of these financial activities listed above are indicative of money laundering. The

    layering and pass through activities that occur are designed to disguise the origin and ultimate

    destination of the moneys. I suspect that moneys ultimately are transferred directly to terrorist

    organizations from the Safa Group entities on the Isle of Man, or that funds are otherwise

    expended for purposes which do not further the Safa Charities' exempt purpose(s). Due to bank

    secrecy laws in such tax havens, it is very difficult for investigators to have access to bank account

    information. I expect evidence related to these money laundering, terrorist support activities and

    tax fraud to be found at the subject addresses ofthis affidavit.


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            C.      Particulars

            126. Based on the work of the IRS-CI Special Agents, I will now turn to the particulars

     of the Safa Charities:

                    l. African Muslim Agency

            127. IRS records show the African Muslim Agency is a tax-exempt organization located

    at 555 Grove Street, Herndon, Virginia, with a reported purpose to "help other charitable

    organiz.ations." According to its Fonn 990 filed in May 2001, two of its three officers were A/-

     Talib and Mirza.

            128. 91.3% of African Muslim Agency's contributions between 1996-2000 were derived

    from Safa Group related entities2 and/or individuals; at least 4. I% came from unidentified

    contributors. For the same period, 42.2% of African Muslim Agency's grants and allocations

    were made to Safa Group related entities and 53% were made to unidentified donees. No

    contributions, grants or allocations were identified on the 1996 Form 990. The 1997 return

    showed $100,000 in contributions and $144,000 in grants and allocations, but no identified

    contributors or donees. The 1998 return showed contributions received of $1,110,000 - - 99%

    of which came from Mar.Jae Poultry, Inc., a Safa Group company for which Mirza, Altaib,

    Barzinji andM. Omar Ashraf are officers - - and grants/allocations disbursed ofSI,065,000

    of which 90% went to Safa Group companies IIIT and York International. The 1999 Form 990

    showed $1,125,000 contributions from one contributor -Mar-Jae Poultry, Inc.


            2c'Related entities and/or individuals" as used herein refers to either other Safa Charities,
    officer(s), director(s), or trustee(s) of one of the Safa Charities, or for-profit or tax-exempt
    organiz.ations for which one or more officer(s}, director(s), or trustee(s) of the seven charities are
    also officer(s), director(s), or trustee(s) within the Safa Group. This is not the same definition
    applied to the various questions on Fonn 990.

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                     2.        The Heritage Education Trust, Inc.

             129. IRS records show that The Heritage &lucation Trust, Inc. is a tax-exempt

      organization located at 750-A Miller Drive, SE, Leesburg, Virginia, with a purpose to "assist

      educational institutions." According to its Form 990 filed on October 16, 2001, its officers are

      Al-Alwani and Jaghlit.

             130. 58.9% of Heritage's contributions between I 996 and 2000 were derived from Safa

      Group related entities and/or individuals; 41.1 % came from overseas. For the same period, 75%

      of its grants and allocations were made to Sa/a Group related entities; 24. 9% were made to

      unidentified donees. Its 1996 Fonn 990 reflects that it received $8,600,000 from Safa Trust and

     another $4.400,500 from overseas, but made a grant only to SISS - - a Safa Group entity - - in the

     amount of$800,000. In 1997, it received $1,600,000 from overseas and made grants and

     allocations of over $5,000,000, split between SISS and Safa Trust, Inc. It received no

     contributions of significance between 1998 and 2000 except for $23,500 from Jaghlit, but during

     that time granted $1,903,000 to SISS and another $2,802,939 to unidentified donees.

                     3.        International Institute of Islamic Thought ("IIIT ")

             131. IRS records show that II/Tis a tax-exempt organiD.tion located at 500 Grove Street

     in Herndon, Varginia with a purpose of"research and education for religion oflslam." According

     to its Form 990 filed in November 2001, its officers consisted of Abusulayman, Al-Talib,

     Barzinji, and Totonji.

             132. As noted above, correspondence seized pursuant to the search warrants in 1995,

      reflected direct communications between the IIIT officers and Al-Arian in which the former

     expressed solidarity with the latter. Discovered in the searches were letters indicating that in 1991


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and 1992 /IIT contributed at least $50,000 to PIJ front-group WISE. Moreover, another

document seized during these warrants was a 1991 letter from present PIJ leader Shal/ah to an

administrator of the University of Southern Florida (with a copy to Naji) stating that IlITwas the

largest contributor to WISE.

       133. In January 2000, Jaghlit told FBI agents that Naji started working at IIIT around

April 1994. According to Jaghlit, Naji was "on loan" from WISE until 1996 at which time IIIT

decided to sponsor Naji in his immigration and naturalization proceedings. Jaghlit told the FBI

that IllT paid WISE an unspecified amount of money in return for allowing Naji to work at /IIT.

I believe that Jaghlit told the FBI that IIIT paid WISE for allowing Naji to work at I/IT in order

to conceal the fact that IIIT transferred money to WISE precisely because WISE was a front

receiving money for PIJ.

       134. In June 1998, redacted nnnnnnnnnn at IIITs physical address and its

post office box in Herndon revealed the receipt of mail from the El-Shifa Pharmaceutical

Industries Company, in Khartoum, Sudan. That company's facility, believed to be producing

ingredients used in chemical weapons, was the target of an August 20, 1998 American cruise

missile attack that retaliated for the bombing of American embassies in Kenya and Tanz.ania.

       135. Redacted xxxxxxxxxxxx revealed that between October and November 1998, l/IT

received one parcel through the U.S. mail from Al-Arian in Tampa, and another mailed from

Lebanon to B.M. Naji at I/IT. This confirms to me that the connections between the Safa Group

and both Al-Arian, and Naji remained close even after WISE and ICP shut down operations.

       136. 97.9% of all contributions to IIIT between 1997and 2000 were derived from Safa

Group related entities and/or individuals; another 1.5% came from overseas entities. Over the


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    2000, Mirza told auditors that he had set up Humana Charitable Trust in the Isle of Man to

    receive transferred assets from SAAR, due to publicity tying SAAR to terrorist organizations.

            140. SAAR's 2000 return shows that it dissolved on December 20, 2000. The return

    shows that it made a grant/allocation consisting of$2,650,000 of Mar-Jae Investments, Inc. stock

    to Sterling Charitable Gift Fund ("Sterling"), another Safa Charity.

                    5.         Safa Trust, Inc.

            141. IRS records show Safa Trust, Inc. is a tax-exempt organization located at 555 Grove

    Street with a purpose to "[p]romote religious. educational & cultural projects." Its Form 990

    return filed November 6, 2001 listed Barzinji, Mirza, Totonji, and Al-Talib as its officers,

    directors, and trustees.

            142. 53.7% of Safa Trust's contributions between 1996 and 2000 were derived from Safa

    Group related entities and/or individuals; 39.6% came from overseas entities. For the same

    period, 84% of Safa Trust's grants and allocations were made to Safa Group related entities;

    15.3% was made to unidentified donees. In 1996, Safa received $2,935,695, all from unidentified

    entities overseas, and made grants or allocations of$4,955,900, over 990/o of which went to

    Heritage &lucation Trust, and //IT. In 1997, it received $6,594,988 contnoutions, over 990/o of

    which came from overseas or related individuals and entities, and provided grants and allocations

    of over $3,800,000 - over 990/o of which went to related Safa Group entities. In 1998, it

    received about $95,000 - - mostly from Mirza - - and disbursed $764,793, over 990/o of which

    went to IIIT and York International. In 1999, Safa received about $1,759,025 in contributions

    ($1,128,125 of which came from Mirza), and made cash grants and allocations of$2,108,756 to

    unidentified donees. In 2000, Safa received only minor contributions but distributed $2,072,681


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    in grants and allocations, 97% of which went to IIIT, the York Foundation (in Herndon), and

     York International in the Isle of Man.

                    6.        Sterling Charitable Gift Fund

            143. IRS records show Sterling Charitable Gift Fund ("Sterling") is a tax-exempt

    organization located at 555 Grove Street with a purpose "to support charitable organizations

    which conduct, promote and administer charitable, religious and educational programs and

    activities described in 50l(c)(3)." The 2000 Form 990, filed in May 2001, lists Mirza, M Omar

    Ashraf, and Muhammad Ashraf as Sterling's officers, directors, and trustees.

            144. Sterling Charitable Gift Fund began operation in 2000. There were only two

    transactions recorded for that year. First, Mirza, M Omar Ashraf and Muhammad Ashraf

    collectively contribut~ Sterling. Second, Sterling received I 000 shares of Mar-Jae

    Investments, Inc.      oclc, valued at $2,650,000, fro    'AAR (as noted above, this was virtually all

    of SAAR 's remaining assets). According to the IRS Form 990, Sterling made no grants or

    allocations in 2000.

                   7.         York Foundation

            145. IRS records show York Foundation is a tax-exempt organiz.ation located at 555

    Grove Street with a·purpose of "education, research, charity." The Fonn 990 return filed on

    May 20, 2001 lists Abusulayman, Mirza, and Muhammad Ashraf as its officers, directors, and

    trustees.

            146. 96.4% of York's contributions during 1999 and 2000 were derived from Safa Group

    related entities and/or individuals. During the same period, 72.4% of its grants and allocations

    were made to Safa Group related entities and 21.8% were made to unidentified donees. fork's


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  Form 990 for 1999 reflects contributions ofSl,432,500, 93% of which were received from

  related Safa Group individuals and entities. York illegally failed to identify any of its donees for

  the year. In 2000, at least 97% of the $4,967,762 it received came from related Safa Group

  individuals and entities; it made cash grants and contributions of $392,000 to 11/Tand $400,000



    --
  to York International in the Isle of Man.

  XI.    False Statements on the Forms 990

         A.       General

          147. In the course of their review of the Forms 990 for the Safa Charities, the agents

  assigned to this investigation have discussed and reviewed certain entities on these returns with

  tax law specialists from IRS's Tax-Exempt and Government Entities, Exempt Organization

  Division. These specialists confirmed, based on evidence presented to them by the investigating

  agents, that infomation as to relationships to the reporting entity required by Form 990, Part VI,

  Question 80(a) and Form 990, Schedule A, Part ID, Question 2 should have been disclosed by the

  tax exempt entity. The succeeding paragraphs describe the information sought by those questions

  and the evidence which demonstrates the answers provided were false.

         B.      False Statements Regarding Relationships to Other Organizations

         148. Part VI. Line 80a, Fonn 990, asks," Is the organization related (other than by

  association with a statewide or nationwide organization) through common membership, governing

  bodies, trustees, officers, etc. to any other exempt or nonexempt organization?" If answered

  ''yes". the name of the organization is required to be identified. The instructions for Fonn 990

  indicate that a "yes" answer to Line 80a is required if most (more than 50%) of the organization's

  governing body, officers, directors, trustees, or membership are also officers, directors, trustees,


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             156. A review of the Fonns 990 show that sometime prior to 1996, the SAAR

     Foundation, Inc. made a $15,000,000 loan to Mar-Jae Investments, Inc., a taxable entity. On its

     1997 Form 990, SAAR listed Mar-Jae Investments as a 100% subsidiary with assets of

     $11,500,000. This loan was carried as a loan receivable on SAAR's Fonns 990 for 1996 through

     1998. Although the loan was not made during the years 1996 through 1998, SAAR continued to

     extend credit to Mar-Jae Investments during these years as a balance was still due. No interest

     rate is shown. On each of SAAR' s returns for 1996-98, however, the answer to Question 2(b),

     Part III, Schedule A (hereafter ..Q2b") is ..no".

             15 7. These are false statements because Virginia State corporate records reflect that

     Mirza was a registered agent, director, president, and treasurer of Mar-Jae Investments from

     1997-2000. SAAR's 1996-2000 Forms 990 demonstrate that Mirza was the President, CEO, and

     Trustee of SAAR during those years. On its 2000 return, SAAR reported that its interest in Mar-

     Jae Investments had been contributed to Sterling Charitable Gift Fund but Mirza, who signed the

     Forms 990 for SAAR and for Sterling, concealed that he was on both ends of this transaction.

            158. SAAR's 1996 and 1997 Forms 990 also reflect a $109,890 demand loan made by

     SAAR to Mar-Jae Poultry. Again. the answer to Q2b is "no". This is a false statement because,

     according to State of Georgia corporation records, Mirza is an officer ofMar-Jae Poultry, Inc.

                    2.      Safa Trust

            159. Safa Trust, Inc.• s 1999 and 2000 Form 990 returns show that Safa Trust made a

     loan of$900,000 to Reston Investments, Inc., a taxable entity, during 1999, the balance of which

     had increased to $1,364,972 by the end of the year 2000. In addition, Safa Trust's 1998 Form

     990 shows that it had a note payable (liability) to Reston Investments, Inc. in the amount of


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     $352,857. Barzinji, Mirza, and Al-Talib were all officers of both Safa Trust and of Reston

     Investments, Inc. in 1998-2000, according to Safa's Forms 990 and Virginia State corporation

     records. Yet, the Safa Trust Fonn 990s for I 998, 1999, and 2000, signed by Mirza, falsely show

     the answer "no" to Q2b.

            160. In addition, Safa Trust's Fonns 990 reflect that it had also made a $263,000 working

     capital loan to Grove Corporate, Inc. in 1997 and a $500,000 loan to Mar-Jae Poultry sometime

     prior to 1996, the balance of which carried into 1996. Mirza was an officer of both of these

     taxable entities. Barzinji and Al-Talib were also officers of Grove Corporate, Inc. Yet, on

     Safa's returns for 1996 and 1997, the answer to Q2b is falsely stated as "no".

            E.      False Statements Relating to Question 2a (Sale, exchange, or leasing of property)
                    and 2e (Transfer of any part of income or assets) Part ID Schedule A

                    1.     African Muslim Agency

            161. 1998 and 1999 Forms 990 for the African Muslim Agency report that Mar-Jae

     Poultry, a taxable entity, donated $1,100,000 cash to the African Muslim Agency in 1998 and

     $1,125,000 cash to the African Muslim Agency in 1999. Georgia State corporation records

     reflect that Mirza and Al-Talib were both officers ofMar-Jac Poultry. African Muslim Agency's

     Form 990 shows both individuals were also officers of the African Muslim Agency. Yet, African

     Muslim Agency's Forms 990 for 1998 and 1999 both answer "no" for question 2e. These are

     false statements since Mar-Jae Poultry transferred assets to African Muslim Agency while Mirza

     and Al-Talib were officers of both entities.




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                    2.      SAAR Foundation

             162. SAAR's 1999 Fonn 990 reflects that it invested $2,703,760 in corporate bonds of

     Mar-Jae Investments, a taxable entity. Mirza was the President, CEO, and a trustee of SAAR and

     the President, Treasurer, and a director of Mar-Jae Investments. SAAR' s 1999 return reflects the

     answer "no" to Questions 2a and 2e. These are false statements since Mar-Jae Investments sold

     corporate bonds to SAAR and SAAR transferred assets (i.e., funds) to Mar-Jae Investments to

     purchase the bonds.

                    3.      Safa Trust

            163. Safa Trust's Fonns 990 reflect that during 1997, Safa invested $2,000,000 in the

     corporate stock of Grove Corporate, Inc. According to Maryland State Personal Property

     Returns, Barzinji, Mirza, and Al-Talib were all officers of Grove Corporate, Inc. and of Mena

     Corporation, both taxable entities. According to Safa' s 1997 return, all three were also officers

     of Safa Trust. Yet, Safa Trust's 1997 return reflects the answer "no" to Questions 2a and 2e.

     These are false statements since Grove Corporate, Inc. sold corporate stock to Safa and Safa

     transferred assets (i.e. funds) to Grove Corporate to purchase the stock.

                    4. •    York Foundation

            164. York Foundation's 2000 Form 990 shows that Mar.Jae Poultry, a taxable entity,

     donated 100% ownership ofHFC Feed Mill, LLC, valued at $4,402,000, to York Foundation.

     York's 1999 Form 990 shows that Mar-Jae Poultry donated $175,000 cash to York in 1999.

     Georgia State corporation records reflect that Mirza was an officer of Mar-Jae Poultry . York's

     Forms 990 identifies Mirza as an officer of York. On York's Fonns 990 for 1999 and 2000,

     however, question 2e was answered "no". These are false statements since Mar.Jae Poultry


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     transferred assets to York Foundation while Mirza was an officer of both Mar-Jae Poultry and

     York.

             F.     False Statements Relating to Contributions Received
                    and Grants Made by Tax Exempt Organizations

                    I. African Muslim Agency and IIIT

             165. The African Muslim Agency's 1998 Form 990 reflects that it made a $600,000 cash

     donation to IIIT. On its 1998 Form 990, however, IIIT only reported that it received a $370,000

     contribution from African Muslim Agency. One or both of these returns are false statements.

     The African Muslim Agency's 1997 Form 990 does not report making any donations to ///Tin

     1997. However, II/Ts Form 990 for 1997 shows that African Muslim Agency contributed

     $265,000 to IIIT in 1997. One of these is a false statement.

             166. JI/Ts 1997 and 1998 returns appear to have been signed by Al-Talib. African

    Muslim Agency's 1997 and 1998 returns were signed by Mirza.

                    2. Safa Trust

             167. Between January 17, 1997, and July 1997, checks totalling $325,000 were drawn on

    the Safa Trust, Inc. bank account at First Union Bank and made payable to HLF - - the HAMAS

    front group. This amount is not reflected on Safa Trust's 1997 Fonn 990 as a contribution. I

    believe that Safa did not mention this contribution on its return to make it less likely that law

    enforcement authorities would track money from Safa to HLF.

                    3. Safa Trust and Heritage &Jucation Trust

             168. On its 1996 Form 990, Safa Trust reported that it made grants and allocations of

    $3,602,009 to Heritage Education Trust. On Heritage's 1996 Form 990, Heritage reported that



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 it received $8,600,000 in contributions from Safa Trust. One of these returns is a false statement.

 Safa's 1996 return was signed by Mirza. Heritage's 1996 return was also signed by Mirza, who

 was Heritage's Secretary, Treasurer, and Director in 1996.

                4. Safa Trust and ll/T

         169. On its Form 990 for 1997, 1//T reported that it received contributions of $522,007

 from Safa Trust in 1997, but on its own Form 990, Safa Trust reported that it donated $585,649

 to IIIT the same year. On its Form 990 for 1998, ll/T reported that it received contributions of

 $240,000 from Safa Trust, but Safa Trust reported that it only donated $159,178 to ll/Tthe same

 year. At least one of these returns is.false. Mirza signed Safa's Forms 990 for 1997 and 1998.

 Al-Talib appears to have signed 1//TForms 990 for 1997 and 1998.

                5. Heritage &lucation Trust and SJSS

        170. Heritage &lucation Trust's 1996 Form 990 reflects that Heritage gave a

 grant/allocation of$800,000 in that year to its affiliate, S/SS. In its 1996 Form 990, SISS

 reported that it received only $450,000 in total contributions (contributors not shown) the same

 year, a difference of$350,000. One of these returns is false.   ,

                6. SAAR and Sgfa

        171. A check written by Mirza from the account of SAAR Foundation to All Dulles Area

 Muslim Society ("ADAMS'), in the amount of $250,000, was deposited into a Safa Trust account

 on December 15, 1997. On SAFA's 1997 Form 990, however, this amount is not reflected as a

 contribution received from either ADAMS or SAAR Moreover, Safa 's 1997 Form 990 does not

 reflect any other transactional relationship with ADAMS or SAAR (i.e., a loan receivable or loan

 payable) that would explain the transaction. Furthermore, SAAR's Form 990 for 1997 does not


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            174. The investigation has obtained the audit file from Revenue Agent Gilmartin. The file

    contained correspondence, work papers and some cancelled checks. As a result of his review of

    the file and interview of the examining agents, investigators learned the following:

            175. The revenue agents were told that SAAR was created for people overseas to pay

    scholarships for Muslims in the United States.

            176. Mirza told the examining agents that he had founded Humana Charitable Trust in

    the Isle of Man ("Humana'') and was transferring SAAR's assets to it as a result of negative

    newspaper publicity that associated SAAR and Sa/a Trust with terrorist groups. Gilmartin and

    Bieloski stated that Mirza and/or Qureshi led them to believe that Mirza intended to move these

    two charities out of the country.

           177. In order to verify that SAAR's grants/allocations were being used for an exempt

    purpose, the examiners requested a list of donee-beneficiaries that had received grants from SAAR

    and/or Humana for the years 1997 and 1998. They contacted those donees located in the United

    States, who denied having any knowledge of Humana or SAAR. Mirza advised the examiners

    that Humana' s funds were distributed to Al Rajhi Charities in Saudi Arabia and then to the

    beneficiaries through Al-Rajhi. Qureshi sent a letter stating that Mirza had traveled to Saudi

    Arabia and obtained copies of wire transfers and checks aggregating $168,667 that went from A/-

    Rajhi to U.S. beneficiaries. The auditors obtained confirmation from recipients that they received

    grants from Al-Rajhi Charities, but never received documentation that Humana funds were ever

    disbursed to Al-Rajhi.




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             B.      Misstatements/Misrepresentations During the Audit

             178. I have spoken with IRS agents who have reviewed the file associated with the audit.

     In light of their knowledge of the investigation and facts set forth elsewhere in this affidavit, there

     is probable cause that Mirza and Qureshi obstructed or attempted to obstruct the successful

     completion of the audit by providing false and/or misleading information to the auditors. In

     particular, when the auditors made inquiries into entities related to SAAR they were met by false

     denials of such relationships.

             179. At the outset of the audit, the agents asked for an "organizational chart of all

     subordinate or related entities." At the opening meeting on April 6, 2000, Mirza and Qureshi

     stated the universe of related entities is substantially smaller than the agents had anticipated. They

     subsequently received a chart which showed that the only active members were SAAR

    Foundation, Inc., and it wholly owned subsidiary Mar-Jae Investments, Inc. In light of the

     evidence set forth in this affidavit, this representation is patently false.

             180. The auditors were told that SAAR was winding down its operations and that all of its

    assets had been transferred overseas to Humana Charitable Trust. In the course of the audit they

    were provided a resolution of the Board of Directors of SAAR, directing that all assets be

    transferred to Humana and that SAAR be dissolved. In fact, $2,650,000 of SAAR assets were

    transferred to a domestic tax exempt organization, Sterling Charitable Gift Fund, an organization

     whose identity an~ existence were concealed from the auditors. According to IRS records,

    Sterling Charitable Fund was established in March 2000, 11 months before the SAAR audit was

    concluded. The transfer of the $2,650,000 occurred on December 20, 2000, the date of SAAR's

     purported dissolution. By the formation of Sterling Charitable Gift Fund and the transfer of


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     SAAR assets to it, SAAR became Sterling. In other words SAAR simply changed its name to

     Sterling.

             181. In addition, SAAR still had an active bank account with First Union Bank until

     October 2001. The address on the account was 555 Grove Street, Herndon, Virginia. SAAR's

     2000 Form 990 shows that it transferred the majority of its assets, consisting primarily of stock in

     Mar-Jae Investments, to Sterling Charitable Gift Fund. According to Sterling's Form 990 for

     2000, Sterling's address is the same as SAAR's-555 Grove Street in Herndon. Mirza is listed

     on Sterling's 2000 return as the President of Sterling. Furthermore, according to First Union

     statements, Sterling transferred $250,000 to "SAAR Foundation, Int'l Institute oflslamic

     Thought (I/IT), 555 Grove Street, Herndon, VA 22070" during November 2001. The money

     was deposited into an account in the name of I/IT at P. 0. Box 669, Herndon, VA 20170.

     However, the transfer of money in November 200 l indicates that SAAR operated as alter ego or

     nominee of I/IT even though, according to IRS records, it was dissolved as a 50 l (c)(3) charity in

     December 2000.

            182. During an April 6, 2000 meeting attended by Mirza and Qureshi, the auditors were

     told that there was no overlap of officers or trustees between SAAR and Safa Trust, Inc. In

    addition they were told that Mirza's company, Sterling Investments, provided management-and

     accounting services for Safa Trust, creating the impression that the only relationship between

     Sterling and Safa was an ann's length business relationship. Further, they were told that Safa

     Trust had its offices in Herndon, but at a location different from SAAR' s. In fact, in an interview

     for Regardie's Magazine published in October 1988, Mirza admitted that Safa Trust was an entity

     related to SAAR. Moreover, from 1996-2000, Mirza, the President/CEO/frustee of SAAR at 555


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     Grove Street, was listed on Safa's Forms 990 as a Vice President of Safa Trust and its registered

     agent for service of process at 555 Grove Street. In addition Safa's bank statements for October-

     December 2001 went to the same address as SAAR' s.

            183. At the same April 6, 2000 meeting the auditors were told of the existence of York

     Foundation, a new entity represented to be independent from the SAAR Foundation. In fact,

     Mirza, the President and Treasurer of York Foundation, is also the President/CEO and Trustee of

     SAAR Foundation, which was located at the same address as York Foundation.

            C.     Additional Information Concerning AI-Raihi Charity

            184. IRS-CI Special Agents have reviewed the copies of 14 checks provided during the

     audit as substantiation that SAAR had made grants/allocations to beneficiaries through Humana

     Charitable Trust and AI-Rahji Charity. They found that the checks were drawn on a Chase

     Manhattan Bank Account in New York. The account is in the name of AI-Rahji Banking &

     Investment Corp, Riyadh, Saudi Arabia. Eleven of the checks indicate on the face that the

     amount of the check came, not fromAI-Rahji Charity, but from an individual named Abdul

     Rahman Al-Rajhi. The other three checks do not identify from whom the amounts came. The

     eleven checks, totaling $104,000, show that someone, not Al-Rajhi Charity, remitted the stated

     amount to the account holder, Al-Rajhi Banking & Investment Corp., which in turn drew checks

     on a New York bank account in the stated amounts to the payees. Nothing on any of the 14

     checks identifies the funds as having been issued from Al-Rajhi Charity, much less from Humana.

            185. The remitter, Abdul Raham Al-Rajhi, is identified on a website as the Vice Chairman

     & Executive Manager of Al-Rahji Commerical Foreign Exchange. Correspondence with the AI-

     Rahji Charity purportedly related to the donations does not indicate that Abdul Rahman Al-Rahji


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    is with Al-Rajhi Charity. A web search did not locate a web address for Al-Rajhi Charity. The

    only evidence that Abdul Rahman Al-Rajhi is connected with an Al-Rajhi Charity Office comes

    from a statement prepared by Mirza in the course of the audit, dated December 29, 2000, which

    asserts Abdul Rahman Al-Rajhi is a manager of Al-Rajhi Charity.

            186. Al-Rajhi Banking & Investment Corp.'s website indicates that Abdullah Sulaiman

    Al-Rajhi is the General Manager of Al-Rajhi Banking & Investment Corp. Virginia corporation

    infonnation indicates he is also the President of Aradi, Inc., located at the same address as SAAR,

    555 Grove Street. Other officers listed for Aradi, Inc. are Al-Talib and Sedky. Thus, while the

    Safa Group cannot be said to have fonnal control over Al-Rajhi Banking & Investment Corp., the

    Safa Group had access to a bank and banking officials through Abdullah Sulaiman Al-Rajhi for

    purposes of producing checks purportedly paid for SAAR' s charitable purposes.

    XIII.   Additional Layering in Connection with SAAR Foundation's Dissolution

            187. Mirza stated in the audit that SAAR had been founded as a charitable organization in

    the United States to earn a better yield on funds collected in Saudi Arabia for charitable purposes.

    This was done because the members of the AI-Rahji family believed that, by investing in the

    United States, they could earn a higher yield on the funds collected prior to the ~e they were

    disbursed for charitable purposes.

            188. After what he described alternatively as adverse publicity in papers about

    connections to terrorism, or the media becoming too probing in 1995 -1996 (which appears to

    refer to the press reporting SAAR giving money to PIJ through IIIT ), Mirza stated that Humana

    was fonned in the Isle of Man in November 1997. He then explained that rather than establishing

    its own disbursement office (to determine who would receive grants), Humana decided it would


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    use the Al-Rajhi Charity office in Saudi Arabia. As a result of this restructuring, SAAR placed its

    considerable asset pool beyond the immediate reach of United States law enforcement and added

    at least two additional layers (Humana and Al-Rajhi) to any grant purportedly made for

    charitable purposes. With respect to disbursements to United States-based donees, this path

    requires all disbursements to be moved from SAAR, overseas, through a minimum of two financial

    institutions, before being returned to the ultimate beneficiary in the United States.

            189. There is no innocent reason which accounts for these additional financial transactions

    connected with these disbursements. SAAR performed a role as the money managers for this huge

    asset pool. Even if SAAR was incapable of determining who was entitled to the grants, the names

    of the recipients could have been relayed to SAAR - - and the disbursement by SAAR could have

    been made directly to those recipients - - without first forwarding the funds through the additional

    financial institutions.

    XIV.    Evidence of Personal Inurement

            190. In this section I will detail the supporting evidence uncovered in the financial

    investigation which has established probable cause to believe that Safa Group individuals have

    obtained personal inurement as a result of their control over the businesses and charities described

    above. As. a result, principals of the Safa Group have also committed tax fraud in connection with

    their individual income tax returns.

            191. One of the primary reasons the Form 990 requires disclosure of transactions between

    related entities and individuals is because of the prospect of personal inurement, i.e., individuals

    profiting personally from a§ 501(c)(3) entity. The evidence reviewed to date demonstrates

    several examples of personal inurement.


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            Paragraphs 192 through 213 REDACTED

            E.     Failure to Disclose Foreign Bank Accounts

            192. A business account application signature card from I st American Bank shows that

    SAAR International, with an address of 555 Grove Street in Herndon opened a bank account at

    1st American Bank on 09/19/89. Mirza, Al-Talib, and Barzinji all had signatory authority. The

    bank statement reflects the use of the same taxpayer EIN number as the one used by SAAR

    Foundation, Inc. The use of the same taxpayer EIN number demonstrates that Mirza represented

    to the bank that SAAR Foundation, Inc. and SAAR International were the same entity.

            193. A business account application signature card from I st American Bank shows that

    SAAR Foundation Canada, Inc., Grove Street in Herndon, opened a bank account at 1st

    American Bank on 02/22/90. Mirza, Al-Talib, and Barzinji all had signatory authority.

           194. A review of SAAR bank records for account# 2000071284015 at First Union

    revealed seven debit memos for transfers cumulatively totaling over $200,000 to either "SAAR

    Foundation Canada" or "SAAR Foundation" at Canadian Imperial Bank of Commerce. While I

    have not yet obtained foreign bank accounts, this evidence gives me reasonable cause to believe

    that they are signatories on a foreign bank account in the name of SAAR Foundation Canada

    and/or SAAR Foundation at the Canadian Imperial Bank of Commerce.

           195. The accounts of SAAR Foundation and SAAR Foundation Canada at First Union in

    Virginia include Mirza, Barzinji, Al-Talib, and/or Jaghlit as the signatories on those accounts.

    Thus, I have probable cause to believe that Mirza, Barzinji, Jaghlit and Al-Talib have signatory

    authority over accounts at Canadian Imperial Bank and thus have filed materially false tax returns

    for the year 1996 in that they failed to disclose on Schedule B of their personal tax returns that

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    they had signatory authority over a bank account in a foreign country. A review of the relevant

    returns demonstrates that each individual answered "No" to the question related to foreign bank

    accounts.

            196. Further, a document dated 12/15/97 and entitled, "Consent to Action Taken in Lieu

    of an Organizational Meeting of Amana Limited' that investigators obtained from BB&T Bank,

    shows that the directors of Amana (Sedky and Mirza) resolved that Amana, an Isle of Man

    corporation (and the Trustee for Humana, an Isle of Man trust) designated Commerce Bank of

    Maryland (later taken over by BB&T) and Bank Leu as depositories for the funds of Amana

    Limited and Humana. Moreover, First Union records for SAAR contain debit memos for three

    international fund transfers on October 15, 1998, totaling $2,000,000, to Credit Suisse/ Bank

    Leu for the benefit of Humana. Thus, I have probable cause to believe that Mirza had signature

    or other authority over any accounts in the name of Humana Charitable Trust, including Bank

    Leu, a foreign bank account and, accordingly, filed a materially false tax return for 1998 in that he

    failed to disclose on his retum's Schedule B that he had signatory authority over a bank account

    in a foreign country.

           197. Moreover, Mirza had control over the overseas bank accounts for the Isle of Man

    entities Humana and York International Trust.

           198. On October 16, 1998,Mar-JacHoldings,Jnc. wrote a check to Yorklnternational

    Trust in the amount of $54,327.83. The notation on the check evidenced a loan made to Mar-Jae

    Holdings, Inc. by York International Trust. The check was endorsed, "Pay to Sterling Investment

    Group," and signed by Mirza, trustee for "York Int."




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            199. A review of Mirza's 1998 individual income tax return shows that Mirza failed to

    identify signature or other authority over a foreign bank account. On the basis of the foregoing

    evidence, I have probable cause to believe this is a materially false statement.

    XV.     Conclusions Regarding Offenses Committed

            200. On the basis of the facts set forth in the foregoing affidavit, I have probable cause to

    believe that:

            a.      At all times relevant to this affidavit, Al-Arian, WISE, ICP, and HLF were fund
                    raising fronts for HAMAS and PIJ.

            b.      Al-Alwani, Barzinji, Jaghlit, Mirza, and others in the Safa Group maintained a
                    financial and ideological relationship with persons and entities (WISE, ICP, HLF,
                    Al-Arian, Naji, and Ramadan Sha/lah ) with known affiliations to the designated
                    terrorist Groups PIJ and HAMAS.

            c.      Al-Alwani, Barzinji, Jaghlit, Mirza, and others in the Safa Group maintained their
                    financial relationships with WISE, JCP, HLF, Al-Arian, Naji, and Shallah through
                    various members of the Safa Group particularly including IIIT.

           d.       Before search warrants were executed in 1995, the financial support provided to
                    terrorist front-groups provided by the organizers of the Safa Group was
                    sometimes relatively open and sometimes hidden.

           e.       After the search warrants were executed in 1995, the members of the Safa Group
                    continued to ideologically support HAMAS and PIJbut generally did not provide
                    overt financial support to those organizations.

           f.       After the search warrants were executed in 1995, the members of the Safa Group
                    stopped providing open support to HAMAS and PIJ Instead, they concentrated
                    on routing financial support to those same organizations by layering financial
                    transactions through charities and businesses within the Safa Group to conceal and
                    disguise the fact that they were continuing to send money from the United States
                    to the Middle East to fund international terrorism, in violation of 18 U.S.C.
                    § 1956(a)(2), 18 U.S.C. § 2339A, and 18 U.S.C. § 2339B.

           20 I. On the basis of the facts set forth in the foregoing affidavit, even if the Safa Group is

    not sending money to HAMAS and PIJ, l have probable cause to believe that Abusulayman, AI-


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    Alwani, Barzinji, Al-Talib, M. Omar Ashraf, Muhammad Ashraf, Jaghlit, Sedky, Ahmad Totonji,

     and others, have engaged in a conspiracy to defraud the United States by impeding, impairing,

    obstructing and defeating the lawful government functions of the Internal Revenue Service of the

    Department of the Treasury in the ascertainment, computation, assessment, and collection of

    federal income taxes, in violation of 18 U.S.C. §371, by -

            a.     Using the Safa Charities to take advantage of exemptions from federal income
                   taxation while abusing the requirements for tax exempt status;

            b.     Using a web of corporate entities, both exempt and non-exempt, over which they
                   exercised actual or effective control to move funds between entities, through a
                   series of transactions designed to conceal the true nature, source, disposition and
                   tax.ability of revenues moved between these entities; and

            c.     Misrepresenting the nature of the relationship between the Safa Charities and for-
                   profit members of the Safa Group to avoid scrutiny of their financial transactions.

            202. Further, I have probable cause to believe that Mirza, Abusu/ayman, Al-Alwani,

    Barzinji, Al-Talib, M Omar Ashraf, Muhammad Ashraf, Jaghlit, Sedky, Ahmad Totonji, and

    others engaged in a scheme to file or cause the filing of materially false Forms 990 concealing the

    relationships between the Safa Charities, certain for-profit companies and the financial

    transactions between these related entities, all in violation of26 U.S.C. § 7206(1) and (2).

           203. Further, I have probable cause to believe that Mirza and Qureshi engaged in a

    corrupt endeavor to impede and impair the due administration of the internal revenue laws in

    violation of26 U.S.C. § 7212(a) during the SAAR audit by:

           a.      affirmatively misrepresenting the status of SAAR Foundation and the disposition of
                   its assets;

           b.      concealing from the auditors the identity of Sterling Charitable Gift Fund, which
                   was organized in March 2000, utilized the same address as SAAR and received
                   SAAR' s major asset~


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            c.     concealing the fact that SAAR maintained an active bank account until at least
                   October 200 l;

            d.     affinnatively misrepresenting that there was no overlapping of officers between
                   SAAR Foundation and Safa Trust, Inc., when Mirza was an officer of both SAAR
                   and Safa;

           e.      affirmatively misrepresenting the relationship between Al-Rahji Charities and
                   SAAR, by omitting that Abdul Rahman Al-Rahji is an officer of Aradi, Inc.,
                   located at the same address as SAAR; and

           f.      concealing the relationship between York Foundation and SAAR.

           204. Finally, I have probable cause to believe thatAI-Alwani, M Omar Ashraf,

    Muhammad Ashraf, Mirza, Jaghlit, Barzinji, Totonji, and Al-Talib each have willfully filed false

    individual income tax returns for the years 1997 and 1998 in violation of26 U.S.C. § 7206(1) by

    over-reporting deductions, under-reporting income, and/or failing to report signatory authority

    over foreign bank accounts.

    XVI.   Records Created and Maintained by the Targets

           205. There is probable cause to believe that the items listed in Attachment B will be found

    at the locations to be searched, and represent contraband, instrumentalities, fruits, and evidence of

    the commission of aiminal violations against the United States. In the following paragraphs, I

    will set forth my basis to support that the items set forth in Attachment B will be located on the

    premises for which this application seeks search warrants.

           A.      Records Required to be Maintained by Safa Charities

           206. Part IV, line 91 of the IRS Form 990 requires tax-exempt entities filing Forms 990

    to identify their custodians of records as well as the physical locations where the records are

    maintained. While the instructions to Form 990 do not directly address what records are



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     referenced by this line, the IRC and Regulations set forth comprehensive record-keeping

     requirements which the entity admits exist when it answers line 91.

            207. 26 U.S.C. § 6001 generally requires the keeping of records. It states:

            Every person liable for any tax imposed by this title, or for the collection thereof,
            shall keep such records, render such statements, make such returns, and comply
            with such rules and regulations as the Secretary may from time to time prescribe.

            208. The regulations under Section 6001 require that:

            [A]ny person required to file a return of information with respect to income, shall
            keep such permanent books of account or records, including inventories, as are
            sufficient to establish the amount of gross income, deductions, credits, or other
            matters required to be shown by such person in any return of such tax or
            information. 26 C.F.R. § 1.6001-2(a).

            209. With respect to exempt organizations the regulations state:

                   [E)very organization exempt from tax under section 50l(a) shall keep such
                   permanent books of account or records, including inventories, as are
                   sufficient to show specifically the items of gross income, receipts and
                   disbursements. Such organizations shall also keep such books and records
                   as are required to substantiate the information required by section 6033.
                   See section 6033 and§§ 1.6033-1 through l.6033-3. 26 CFR
                   § 1.6001-l(c).

            210. Section 1.6033-2 of the regulations requires that "every organization exempt from

    taxation under section 501(a) shall file an annual information return specifically setting forth its

    items of gross income, gross receipts and disbursements, and such other information as may be

    prescribed in the instructions issued with respect to the return."

            211. The references in 26 C.F.R. §§1.6001-2(a) & 1.6003-2 to "any information on the

    return" or "prescribed in the instructions" describe the duty of the entity to maintain specific

    records, which relates to the admission as to the custodian and location of records. The statement

    on the Form 990 can be construed to be an admission that the full panoply of records to support


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     any entry on the return, or required by the instructions, is at the physical location identified on the

     return.

               212. Based on my examination of the IRS Fonns 990 and conversations with the IRS-CI

     agents involved in this case, I know that records to support entries on the IRS Forms 990 are

     required by law to be maintained by the Safa Charities at the locations identified by those

     charities in their most recent IRS Form 990s. These records include all records regarding officers,

     directors, employees, grants received, expenses, employee salaries, distributions, investments,

    contributions received, grants and allocations made, assets, loans, liabilities, and other financial

    and organizational relationships.

               B.     Records of Money Laundering. Tax Evasion. and Support for Terrorists

               213. In my experience, and as shown in this affidavit, providing support to terrorists

    through layered transactions, and/or tax evasion accomplished through misuse of charitable status,

    results in the production and maintenance of records. Records relating to the acquisition and

    disposition of the money transferred to overseas money laundering havens, as well as to terrorists,

    are produced and likely to be maintained in residential and business locations used by the

    conspirators of these crimes. Accordingly, records relating to transfers of money to, from, and

    between companies and charities in the Safa Group are likely to be maintained in the business and

    residential locations used by the individuals controlling the Safa Group.

               214. Based upon my experience and training in investigations involving the transfer of

    funds offshore to evade taxes or hinder law enforcement's ability to trace their ultimate

    disposition, I know that individuals accomplishing such transfers often maintain some fonn of

    records. They tend to maintain records either at their business or residence reflect their interest in


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     the offshore accounts under their control, as well as how much money they transferred to ultimate

     destinations from those offshore accounts. Accordingly, regardless of whether the individuals

     connected with the Safa Group engaged in material support to terrorists or merely tax evasion,

     there is probable cause that they maintain records relevant to the offenses described in this

     affidavit in their business premises or in their homes.

            215. In the course of this investigation, I have seen various spellings of the names of

     many of the individuals controlling the Safa Group, as well as various spellings of the names of

     terrorists and terrorist-front groups. For example, I have seen Barzinji also as "albarzinji;" Al-

     Talib as "Altalib;" Jaghlit as "EI-Gajhleet;" Najar as ''Naajar," "Najjar," and "al-Najar;" Shikald

     as "Shiqaqi;" and Mohammad spelled in various ways such as "Mohamed," "Muhamed," and

    "Muhammed." Based on my training and experience, I know that many Arabic names are not

    consistently translated into English, at least in part because the Arabic language does not have

    letters equivalent to our vowels. Accordingly, the records that I seek to seize include those

     referencing aliases, fictitious, and nominee names of individuals otherwise relevant to this

    investigation.

            C.       Computer Files

            216. Based on my training and experience, I know that businesses ordinarily maintain

     records relating to their financial activities. Some or all of these records typically are maintained

    at the location where the businesses conducts their operations. Additionally, businesses today

     routinely utilize computers to generate correspondence, maintain financial records, and

    electronically communicate with other businesses and persons. I am further aware that the use of

    computer networks is increasingly common, even in modest-sized companies.


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            217. Data generated on individual computers in a network can be stored on the hard

    drive of individual computers and/or on the computer network's server. In addition, individual

    users of this network can save data outside the computer network on electronic storage media,

    i!1cluding diskettes, and other electronic and optical storage mediums.

           218. I know that the Safa Group utilizes computers to maintain books and records. On

    its Form 990 for 1999 filed with the IRS in May 2000, SAAR Foundation listed fully depreciated

    computers/printers with an original basis of$14,959. Although SAAR may have dissolved in

    December 2000, it transferred its assets to Sterling Charitable Gift Fund Moreover, First Union

    records reflect a $3,533.02 check dated September 30, 1997, on the account of Safa Trust, Inc.,

    payable to Micron Electronics, a computer equipment manufacturer.

           219. On its IRS Form 990 for the year 2000, filed in January 2001, I/IT showed that it

    was depreciating almost $50,000 of computer equipment and software. On its Form 990 for the

    year 2000, filed in October 2001, Heritage &Jucation Trust, Inc., represented that was

    depreciating a computer.

           220. On its 1997 Form 1120, U.S. Corporation Income Tax Return, filed in September

    1998, Mar-Jae Investments, Inc. showed that it was depreciating various assets, including

    computer hardware and software with a basis of over $75,000. In January 2000, Mar-Jae

    Investments employee Beverly Hassan told FBI agents that Mar-Jae Investments and Reston

    Investments provided management, accounting, payroll, and administrative services for the SAAR

    affiliated companies operating in the Northern Virginia area.

           221. I learned from USCS SA Augustus Acquino that the USCS has conducted an

    investigation to determine the locations of web sites and email addresses used by members of the


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     Safa Group. SA Acquino told me that /1/T maintains several web pages both in English and

     Arabic that appear to be mirror images located on the same Internet setvice. One web page is

     located at web address www.iiit.org:; the other is identified only by the IP address of

     209.35.161.210. Both ofthese web addresses reside on the computer network ofthe Internet

     Setvice Provider ("ISP") Interland of Atlanta, GA. Investigation by USCS indicates that both

     pages provide links to the email address of iiit@iiit.org to contact the organization. The Internet

     domain registration information lists the domain of iiit.org as registered to IIIT in Herndon,

     Virginia, with an administrative and billing contact listed as Iqbal Unus, at //IT, in Herndon, with

     the email address of iqbalunus@iiit.org.

            222. SA Acquino told me that the web site located at web address www.iiit.org has a

     direct link from the main home web page to the Child Development Foundation ("CDF"),

     another Safa Group organization. This link is the only external link displayed on the main web

     page. Account subscriber records obtained from Interland identify Iqbal Unus and I/IT as the

     subscriber of the CDF and the I/IT sites; in fact both accounts appear on the same subscriber

     record. Moreover, a commercial data base check for CDFlisted Unus as the email contact at

     iqbalunus@hotmail.com. Hotmail records reflect that this account is subscribed.by Iqbal Unus.

            223. SA Acquino told me that USCS investigation revealed that the Sterling

     Management Group ("SMG') maintains a web site located at the web address/Uniform Resource

     Locator (URL) of www.sterlingmgmt.com. The web site, hosted on the network of Ardent

     Communications, an ISP in McLean, Virginia, provides an address of555 Grove Street, Suite

     116, in Herndon, and an email address of smg@sterlingmgmt.com. In addition to providing

     information about various SMG investment projects, the web site offers extensive information


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    about the donation of funds to the Sterling Charitable Gift Fund. Subscriber information

    obtained from Ardent Communications for the account relating to the SMG web page indicates

    that the account is in the name of Omar Ashraf of Sterling Management Group of 555 Grove

    Street in Herndon, with a contact email address of admin@sterlingmgmt.com.

            224. SA Acquino told me that an online query of Mar-Jae Investments, Inc. revealed that

    the administrative and billing contact for Mar-Jae is Omar Ashraf, at 555 Grove Street in

    Herndon, with an email contact of marjac@erols.com. SA Acquino told me that investigation

    revealed that this email account is hosted by RCN Communications, in Fairfax, Virginia, and is

    subscribed to by M Omar Ashraf, Mar-Jae Investments, 555 Grove Street, in Herndon.

           225. SA Acquino told me investigation of Amana Mutual Funds Trust revealed that it

    maintains that a web page at web address/URL ofwww.amanafunds.com, hosted on the

    computers or network of Advanced Telcom Group, a Santa Rosa, CA Internet service provider.

    TheAmana web page offers an email address of AMANA@SATURNACOM as a contact point.

           226. SA Acquino further told me that FIQH maintains a web page located at web

    address/URL www.fiqhcouncil.org. Internet domain registration information identifies Iqbal

    Unus as the billing and administrative contact for this domain, with an email contact address of

    iqbalunus@aol.com. According to records received from AOL, the email account

    igbalunus@aol.com is subscribed to by Iqbal Unus at 12607 Rock Ridge Road in Herndon.

           227. SA Acquino further told me the All Dulles Area Muslim Society ("ADAMS"),

    maintains an Internet presence in the form of a world wide web page located at web address

    www.adamscenter.org which provides information about the organization, its activities, the

    identities of the officers of the organization, and actively solicits charity contributions. The web


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    sited identifies Totonji as the chairman of the Board of Trustees, with an email contact listed as

    totonji@iiit.org.   Omar Ashraf is listed as the registered agent, with a contact email address at

    omar@sterlingmgmt.org.

            228. The host of the ADAMS web site as CI Host of Bedford, Texas. Account records

    obtained from CI Host identified the administrator of the ADAMS web page as Muhammad

    Rahman. Account records indicate that Rahman communicates with CI host via email using the

    email address ofmrahrnan@meisoft.com. Rahman's name and email address are also listed as the

    administrative, billing and technical contact on the adams.org domain information. Account

    records further indicate that Rahman is the person that administers the web site and also maintains

    the database relating to the contributions raised by ADAMS.

           229. SA Acquino told me that a commercial database check for Iqbal Unus located his

    resume, including ADAMS and Amana as organizations with which he was associated. The

    resume lists two email addresses for Unus, iunus@iiftihar.org and igbalunus@aol.com.

           230. Based the facts previously set forth, I have probable cause to believe that the

    computers in their business premises and homes, as well as their email accounts and web sites are

    among the locations in which the targets of this investigation maintain the files and records

    described in Attachment B.

            23 1. Each computer file is the equivalent of a hard copy file, but possibly containing many

    pages ofinformation. By analogy to hard copy data, it will be necessary for seizing agents to

    look at least at the first "page" of each file in order to determine whether the contents of the file is

    seizable under the warrant language. In order to identify whether the records relate to the illegal

    activity, agents would have to, either: (a) remain on the premises for an extended period in order


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     to view each file contents to determine whether they are relevant and seizable, and then print hard

     copies of the identified file records, or alternatively, (b) seize the computer and its internal hard-

     drive, and related equipment, to permit examination of the contents of the hard-drive files at an

     off-site location to separate out the magnetically stored documents within the scope of the

     warrant. The records in the hard-drive are, at this point, inseparable, in the sense that no single

     record can be seized in this present form without first performing operations on the information

    with the computer equipment. Therefore, authority is requested to remove the computer from

    the premises, given that this is the less intrusive of the two alternatives cited above.

            232. The removal of the computers and related equipment is also necessary to determine

    whether any security devices have been installed which might either prevent copying of the

    records, or cause their destruction within the system. The requirements of additional time and

    facilities to achieve this objective constitute additional reasons for removal of the equipment.

            233. The software programs used in connection with the data stored in the hard disk or on

    diskettes must also be examined by the investigating agents in order to determine that they are in

    fact standard, commercially-available software, so that we may obtain identical programs if

    necessary for the examination, copying and possible introduction into evidence at any trial which

    may ensue, of the data files which contain records authorized to be seized. For the same reason,

    the system operating manuals and all documentation relating to the hardware or software must be

    examined by the investigating agents in connection with the examination of the system. Removal

    of the equipment from the premises during the examination is necessary because computer-based

    evidence is quickly and easily destroyed.




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                 234. For the reasons stated above, it is proposed that, upon approval of the warrant, the

          computer equipment, its related program documentation and peripheral equipment which is

          known to be compatible and necessary for the proper functioning of the system, be removed to

          the safekeeping of the investigating agencies for proper examination, and copies be made of the
;;
          relevant records. Chain of custody will be maintained by the seizing agent, a trained computer

          specialist and the investigating agent charged with the duty of determining whether a particular

          record is within the scope of the warrant. Copies of such materials as necessary for the ongoing

         course of business will be made on request of the entities from whom they were seized.

          XVII. Locations of Records

                 23 5. There is probable cause to believe that evidence of the crimes described in this

         affidavit will be found in the following locations:

                 A Business Premises

                         1.     555 Grove Street

                 236. There is reasonable cause to believe that the books and records, as required under

         IRC 6001 and the regulations promulgated thereunder and as described below, for the Safa

         Group Companies and Charities are presently located in the office suite behind the door marked

         as the door for Suites 110, 114, and 116 in the building at 555 Grove Street. This beliefis

         founded on the following facts.

                 237. I visited 555 Grove Street and observed the office suite behind the door marked as

         the door for Suites 110, 114, and 116 to be one common suite. I entered the office from the

         office building's hallway through the one door jointly listing Mar-Jae Investments, Inc., Reston

         Management, Inc., and Sterling Management Group, Inc. at Suites 110, 114 and 116,

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     respectively, and found the interior office space to be a common area with a common receptionist

     desk. I saw various offices inside the common area, but there was no differentiation between the

     companies, nor numbers on the various office doors~ instead, there were only names of individuals

     on placards at the offices within the suite.

              238. According to the most recent IRS Forms 990 filed by the Safa Charities, the records

     of the African Muslim Agency, SAAR Foundation, Safa Trost, Sterling Charitable Gift Fund, and

     York Foundation are all located at 555 Grove Street, Herndon, Vrrginia, under the care ofMirza.

     The address for African Muslim Agency as shown on the front of the 1997 IRS Form 990 is 555

     Grove Street, Suite I I 0. The address for the Sterling Charitable Gift Fund, as shown on the

     front of the 2000 IRS Form 990 is 555 Grove Street, Suite 116.

              239. First Union National Bank records reflect that statements for bank accounts in the

     names of the following Safa Group entities are being mailed to 555 Grove Street, Herndon, VA

     22070:

     Safa Company                        Date of Statement Seen
    African Muslim Agency                   1/31/01
    Reston Investments, Inc.                12/31/01
    Mar.Jae Investments                     12/31/01
    SAAR Foundation, Inc.                   9/28/01
    Sterling Charitable Gift Fund           12/31/01
    Safa Trust, Inc.                         12/31/01
    Sterling Management Group, Inc.          12/31/01

              240. IRS Exempt Organization Specialists Michael Bieloski and Eugene Gilmartin recently

     advised IRS-CI special agents that, in June 2000, they personally met with Mirza and the SAAR

     return preparer at 555 Grove Street in the course of conducting an audit of SAAR Foundation,




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    and, in a conference room at that location, received from them various records - including

    computer records - and observed a computer in the office.

                   2.      500 Grove Street

            241. According to the IRS Form 990 filed by /I/Ton November 20, 2001, the records of

    II/Tare maintained at 500 Grove Street, 2nd Fl., in Herndon, Virginia, in the care of Beverly

    Hassan. I/IT is on file with the Virginia Secretary of State as an active corporation domiciled at

    500 Grove Street, Suite 114, Herndon, Virginia. In January 2002, an IRS special agent made a

    pretext telephone call to the publicly listed number for the IIIT. A woman answered the telephone

    with the words "I/IT" and advised the agent that the company had recently moved to the second

    floor of 500 Grove Street.

                   3.      750-A Miller Drive SE, Leesburg, Virginia

           242. The location 750-A Miller Drive SE, Leesburg, Virginia is the office of Heritage

    Education Trust, FIQH, and GSISS. Heritage filed a Form 990 on October 16, 2001 which

    represents that its corporate records are located at 750-A Miller Drive SE, Leesburg, Virginia.

    According to Virginia Secretary of State Corporation Commission records, the Heritage

    Education Trust, Inc., Heritage Holdings, Inc., SISS, and FIQH are located at 750-A Miller

    Drive SE, Leesburg, Virginia.

           243. In January 2002, government agents followed a gray 1999 Chrysler Concord bearing

    Virginia registration, ZHT 5636, from the residence of Al-Alwani at I 105 Safa Street in Herndon,

    to 750-A Miller Drive in Leesburg. Virginia Department of Motor Vehicles ("DMV") records

    reflect the vehicle is registered to SISS at 750-A Miller Drive, Leesburg, Virginia.




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           244. IRS Information Returns for the year 2000 reflect that Jaghlit Family Trust No. I

    and Jaghlit Family Trust No. 2 both reflect the address of750-A Miller Drive, SE, Leesburg, VA

    20175. As noted above, the records of Jaghlit Family Trust No. 1 are relevant to any

    determination of personal income tax evasion by Jaghlit.

                   4.      The Administration Offices of Mar-Jae Poultry
                           at 1020 Aviation Boulevard, Gainesville, GA

           245. Mar-Jae Poultry is headquartered at 1020 Aviation Boulevard, Gainesville, Georgia.

    On February 13, 2002, INS SA Beamish spoke with Mar-Jae Poultry personnel manager Don

    Bull under the pretext of learning where immigration records were maintained. Bull told SA

    Beamish that the company's corporate and financial records were maintained in the administrative

    offices in a one-story building with a sign on it reading "Administrative Offices."

           B.      Residences

           246. Based on my experience as a criminal investigator, individuals typically keep personal

    financial records in their residence. The records include bank records, investment records,

    records of purchases, records of expenditures, loan documentation, IRS information returns (e.g,

    W-2s, 1099s, 1098s, etc.) as well as other financial documents. Individuals also typically keep

    retained copies of their tax returns in their residence along with supporting schedules and

    documentation.

           247. Through my participation on this investigation, I am aware of the addresses where

    paper and electronic records are kept concerning the money laundering and terrorist support

    activities of the conspirators and the organizations that they use. These records are stored at

    business and charity locations, as well as residences. Based upon my training and experience, I



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    know that individuals commonly keep, store, and maintain records of organizations in which they

    are members or officers at their residence as well as their offices. Individuals involved in

    "layering" schemes, especially when these schemes include organizations with little or no physical

    presence, will commonly use their residence as a base of operations, from which they conduct

    their daily illegal activities.

            248. I have spoken with INS Senior SA William West, who as explained above executed

    search warrants in November 1995 at the residence of Al-Arian, and the office locations of ICP

    and WISE. SA West related to me that upon executing the search warrants, he found that the

    documents relating to Al-Arian's terrorist affiliations, which had been seized at Al-Arian's

    residence, were roughly equal in number and importance to the criminal case as the documents

    seized at the business locations. Furthermore, SA West told me that he seized more documents at

    the residence relating to foreign terrorist connections. It is SA West's opinion that the residences

    of terrorists and their supporters are just as likely to contain records of contacts with tercorists,

    operative documents, and other related material in their homes as in their businesses.

            249. In this matter, the history of the Safa Charities and the past investigations ofit and

    the entities in Tampa, Florida, increase the probability that important evidence will be stored off

    the business premises. The Safa Charities' activities first came under scrutiny in the aftennath of

    the search warrants executed at the offices of WISF/ICP and the residence of Al Arian in 1995.

    Thereafter, Mirza complained that the press was getting too probing in 1995-96. Mirza also

    related that one reason for moving assets of SAAR off shore was because of adverse publicity in

    1997 and 1998 linking SAAR and Safa to terrorism. Eventually, in January of 2000, AI-Alwani,

    Jaghlit, and Hassan, were interviewed by the FBI in connection with a criminal investigation.


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      This was followed closely by an IRS audit of SAAR and scrutiny of the final destination of the

      funds headed off shore. The principals of the Safa Group have every reason to believe that they

      are the subject of growing government scrutiny. ln view of these circumstances, it is my

      experience that organizational records are even more likely to have been removed from office

      addresses and maintained at residences.

                    5.      The Residence of Mirza at 11922 Safa Court Herndon. VA

             250. I know that the single-family dwelling at 11922 Safa Court, Herndon, Virginia, is the

      residence of Mirza. On April 5, 2001, Mirza signed his 2000 tax return, which listed his personal

     address as I 1922 Safa Court, Herndon, Virginia. The Forms W-2 from Mar-Jae Investments,

     Inc. and Mar-Jae Poultry, Inc. which were attached to his 2000 tax return also list that as his

     address. In January 2002, Fairfax County property records reflected that Mirza was the owner of

     11922 Safa Court, and Virginia Power identified him as the subscriber for electricity at this

     address. In addition, Virginia Power records show that Mirza listed his employer as Mar-Jae

     Investments Inc. Finally, Mirza is a registered officer or agent of three businesses registered with

     the Vrrginia Secretary of State located at this same address.

            251. On February 4, 2002, a mail cover was obtained on the residence ofMirza at 11922

     Safa Court to ascertain the senders of mail received at that address. In February 2002 various

     documents were found indicating that Mirza receives business mail at his house, including

     correspondence for Mar-Jae Poultry, Inc. (for which Mirza is an officer); Amana (the Isle of Man

     corporation that set up Humana); and Amtrax Limited (a company that likely is related to Amtrax

     Holding, Inc., an overseas company that, according to Safa Trust's Form 990, contributed

     $250,000 to Safa Trust in 1997).


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                 6.      The Residence of Jaghlit at 9034 Swift Creek Road. Fairfax Station. VA

         252. I know that the single-family residence at 9034 Swift Creek Road, Fairfax, Virginia is

  the residence of Mohammad Jaghlit. According to a January 2002 Virginia DMVs records

  check, Mohammad Ali Jaghlit was issued a Virginia driver's license with a listed address of 9034

  Swift Creek Road, Fairfax Station, Virginia. In January 2002, government agents observed a

  white Volvo with Virginia plates YNU8077 parked in the driveway of the residence near the

  garage entrance. According to Virginia DMV records, the vehicle's registered owners are Noor

  and Mohammad Ali Jaghlit of9034 Swift Creek Road, Fairfax, Virginia.

         253. On February 4, 2002, government agents recovered trash thrown out from Jaghlit's

  residence at 9034 Swift Creek Road. One document that was found was a fax, dated August 9,

  2001, from theHLFin Gaza to theHLFin Richardson, Texas, containing notes ofa meeting

  ordering actions on various HLF projects.

                 7.     The Residence of Barzinii at 11919 Safa Court. Herndon. Virginia

         254. I know that the single family dwelling located at 11919 Safa Court, Herndon,

  Virginia is the residence of Barzinji. A Fairfax County Police Department criminal history check

  revealed that in November 2000, Jamal Barzinji was arrested at 11919 Safa Court, Herndon,

  Vtrginia, and charged with Domestic Abuse and Resisting Arrest. Fairfax County Police

  performed tax records checks for that property and found records identifying Barzinji as the

  registered property owner. Moreover, while Jamal M. and Suzanne F Barzinji's U.S. Individual

  Income Tax Returns for the years 1996-2000 reflect the address 555 Grove Street in Herndon,

  the W-2 forms attached to the returns reflect the address of 11919 Safa Court. Finally, First




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           Union records reflect that address for the account of Jamal M. Barzinji, Suz.anne F. Barzinji, and

           Suhaib AJBarzinji on the statement for the period ending January 23, 2002.

                          8.      The Residence of Al-Alwani at 1105 Safa Street Herndon, Virginia

                  255. I know the single family dwelling at 1105 Safa Street, Herndon, Virginia to be the

           residence of Al-Alwani In January 2002, the Fairfax County Police performed tax records checks

           finding that 1105 Safa Street, was owned by Al Alwani. The Virginia DMV confirmed that Al

           Alwani has a valid driver's license and that the address used on his license is 1105 Safa Street. In

           January 2002, Virginia Power information identified Al Alwani, the president of IIIT, as the

           subscriber for power at that address.

                          9.      The Residence of Totonii at 305 Marjorie Lane. Herndon. Virginia

                  256. I know the single family dwelling at 305 Marjorie Lane, Herndon, Virginia to be the

           residence of Ahmad Totonji. In January 2002, Virginia Power information reflected that Ahmad

           M. Totonji, a Director of IIIT, and Maysoon Al-Talib were the subscribers for power at that

           location. Virginia OMV records reflect Ahmad Totonji was issued a Virginia driver's license with

           a listed address of305 Marjorie Lane, Herndon, Virginia.

                  257. In January 2002, law enforcement agents working on the Safa Group investigation

           retrieved from trash discarded from the house at 305 Marjorie Lane a roster of IIIT employees

           with their telephone extensions and e-mail addresses. I know, therefore, that Totonji has recently

           maintained I/IT records in his house.

                                  The Residence of Unus at 12607 Rock Ridge Road, Herndon, Virginia

                  258. I know the single family dwelling at 12607 Rock Ridge Road, Herndon, Virginia to

           be the residence of Iqbal Unus. According to Virginia Secretary of State records, Unus is the


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          registered agent of Education, Training and Research Associates of 12607 Rock Ridge Road,

          Herndon, Virginia. In January 2002, Fairfax County Police perfonned tax record checks for

          12607 Rock Ridge Road and detennined Iqbal and Aysha Unus as the registered property

          owners. In January 2002, Virginia Power identified Iqbal J. and Aysha A. Unus as active
-.

          subscribers for that address, and identified Iqbal Unus' employment as the Director of Human

          Development for Mar-Jae, Inc.

                 259. On February 11, 2002, a trash run was conducted by government agents to recover

          refuse disposed of by the residents of 12607 Rock Ridge Road. Various documents were found

         indicating that Unus maintains records at his house, including June 7, 2001, correspondence for

         the Amana Mutual Funds Trust, of which Unus is a trustee.

                 260. On January 28, 2002, a law enforcement agent conducted an Internet registrant query

         on the domain name "FIQHCOUNCIL.NET." The administrative and billing point of contact for

         this domain name is Iqbal Unus at the International Islamic Forum for Science, Technology, and

         Human Research Development (IIFS'fHRD), 12607 Rock Ridge Rd., Herndon, Virginia 20170.

         FIQH and IIFSTHRD are Safa Group organiutions.

                        11.    The Residence of M. Omar Ashraf at 12541 Browns Feny Road. Herndon. VA

                261. I know the single family dwelling at 12541 Browns Ferry Road, Herndon, Virginia,

         to be the residence ofM Omar Ashraf Virginia Secretary of State records reflect that

         Mohammad Omar Ashraf is president of two corporations at this address. According to Virginia

         DMV records, Mohammad Omar Ashraf was issued a Virginia driver's license with a listed.

         address of 12541 Browns Ferry Road. In January 2002, an IRS special agent observed three

         vehicles at that address, two of which Virginia DMV records reflected to be registered to


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     Mohammad Omar Ashraf and Zahida P. Ashraf at that address; the third was registered to Mar-

     Jae Poultry, Inc., at 555 Grove Street in Herndon. Finally, Virginia Power identified

     Mohammad Ashraf and Zahida Ashraf as active subscribers for power last month at 12541

     Browns Ferry Road, and listed Mohammad Ashraf s employment as the Project Manager for

     Mar-Jae Investments Inc.

             12.    The Residence of Muhammad Ashraf at 12528 Rock Ridge Road Herndon, VA.

            Muhammad Ashraf is the registered agent of Enterprise Investment Group, Inc., a

     company incorporated on September 12, 2001, at 12528 Rock Ridge Road. Further, in January

     2002, Virginia Power identified an active subscriber account for this address in the names of

    Muhammad and Munawar Ashraf, and reflected Muhammad Ashraf s employment as a legal

     writer for Mar-Jae.

                                               CONCLUSION

            262. I have probable cause to believe from the foregoing affidavit that the targets ofthis

     investigation identified in this affidavit have engaged in a long standing, ongoing pattern of

    criminal activity. Further, I have probable cause to believe that evidence of these violations will

    be found in the business premises and residences for which warrants are sought.

            263. Accordingly, based on the information outlined above, there is probable cause to

     believe that the items and records as set forth in Attachment B, attached hereto and incorporated




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     herein, constituting evidence of violations of 18 U.S.C. §§ 371, l 956(a)(2)(A) and (h), 2339A,

     and 2339B, and 26 U.S.C. §§ 7201, 7206, and 7212 are contained within the premises and

     properties known as:

                    1.      555 Grove Street, Suites 110 through 116, Herndon, Virginia;

                    2.      500 Grove Street, 2nc1 Floor, Herndon, Virginia;

                    3.      750-A Miller Dr. SE, Leesburg, Virginia;

                    4.      The Administration Offices of Mar-Jae Poultry at 1020 Aviation Blvd.,
                            Gainesville, Georgia;

                    5.      The residence of Mirza at 11922 Safa Court, Herndon, Virginia;

                    6.      The Residence of Jaghlit at 9034 Swift Creek Road, Fairfax Station, Virginia;

                    7.      The Residence of Barzinji at 11919 Safa Court, Herndon, Virginia;

                    8.      The Residence of Al-Alwani at 1105 Safa Street, Herndon, Virginia;

                    9.      The Residence of Totonji at 305 Marjorie Lane, Herndon, Virginia; and

                    10.     The Residence of Unus at 12607 Rock Ridge Road, Herndon, Virginia;

                    11.     The Residence of M Omar Ashraf at 12541 Browns Feny Road, Herndon, VA;

                    12.     The Residence ofMuhammad Ashraf at 12528 Rocle Ridge Road, Herndon, VA

     all of which properties are more particularly described in Attachment A, which is incorporated

     herein.




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             WHEREFORE, your affiant requests that search warrants be issued pursuant to Rule 41

      of the Federal Rules of Criminal Procedure.

             FURTHER THIS AFFIANT SAYETH NOT.


                                           SIGNATURE ON ORIGINAL
                                           DAVID KANE, Senior Special Agent
                                           United States Customs Service

      Subscribed to and sworn before me this_ day of March 2002.


                                                    SIGNATURE ON ORIGINAL
                                                    THERESA CARROLL BUCHANAN
                                                    UNITED ST ATES MAGISTRATE JUDGE




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                                                     Attachment E

                Glossary of Terms, Individuals, and Organizations Relevant To This Affidavit

       Abusulayman, Abdulhamid - President of IDT and associated with other Safa Group entities,
       Abusulayman shared ideological affinities with PIJ fund raiser Sarni Al-Arian.

       African Muslim Agency- Safa Group entity located on "paper'' at 555 Grove Street, Herndon,
       Virginia, operated by Al-Talib and Mirza.

       Al-Alwani, Taha Jaber Officer or director of IIIT, FIQH, GSISS and other Safa Group entities. Al-
       Alwani shared ideological affinities with PU fund raiser Sarni Al-Arian.

       Al-Arian, Sarni - Al-Arian is a PU fund raiser in Tampa Florida, who founded ICP and WISE, and
       authored the PU manifesto found in the search warrant at his house in 1995.

       Al-Aqsa Educational Fund- Mohammed Jaghlit was the president ofthis charity, which raised
       funds for HAMAS.

       Al-Fawwaz, Khalid -An aide of Osama Bin Laden, Al-Fawwaz is an SOT and is awaiting
       extradition to the United States for his part in the Embassy Bombings.

       Alamoudi Abdulrahman - Director of the American Muslim Council, the American Muslim
       Foundation, and many other Islamic fundamentalist organizations.

       Ali, Ahmed Mohammed- The Secretary General of the Muslim World League (MWL). Ali
       publicly stated that the International Islamic Relief Organization is the "operational arm" of the
       MWL.

       All Dulles Area Muslim Society (ADAMS) - A member of the Safa Group that transferred large
       amounts of money to other members of the Safa Group.

       Alshehri, Fayez Ahmed-September 11, 2001 hijacker who worked for the International Islamic
       Relief Organization in the United States.

       Al-Rajhi, Abdullah Sulaiman - Safa Group member and member of wealthy Al~Rajhi family in
       Saudi Arabia. He is also a director of Aradi, Inc. at 555 Grove Street, Herdon, Virginia

       Al-Rajhi Charity - An alleged charity operated by the Al-Rajhi family in Saudi Arabia.

       Al-Rajhi Commercial and Foreign Exchange-Business operated by members of the Al-Rajhi
       family in Saudi Arabia.

       Al-Rajhi. Sulaiman Abdul Aziz- Founder and head of the Al-Rajhi ponglomerate in Saudi Arabia,
       and the namesake of the SAAR Foundation.




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       Al-Shifa Phannaceutical Industries Company - Company located in Khartoum, Sudan which was
       the subject of a U.S. cruise missile attack on August 20, 1998 for its involvement in the Embassy
       bombings in Tanzania and Kenya.

       Al-Talib Family Limited Partnership - Limited partnership operated by Hisham Al-Talib and
       incorporated at his home residence, 11776 Stratford House Pl., Suite 1403, Reston, Virginia.

       Al-Talib, Hisham - Officer or director of various Safa Group entities, Al-Talib shared ideological
       affinities with PU fund raiser Sarni Al-Arian.

       Alamoudi, Abdurahman - Safa Group member and current director of the Success Foundation, the
       American Muslim Foundation, and the American Muslim Council, among others. Previous director
       of the SAAR Foundation. Was recorded on video during a year 2000 Islamic rally in Lafayette
       Park, Washington, D.C. stating that he supported HAMAS and Hezbollah.

       Amana Limited- Safa Group corporation located in the Isle of Man.

       Amana Mutual Funds Trust - Safa Group mutual fund company.

       Aradi Inc. - "Safa Group" corporation located on "paper" at 555 Grove Street, Herndon, Virginia.
       Operated by Cherif Sedky, Abdullah Sulaiman Al-Rajhi and Hisham Al-Talib.

       Ashraf, M. Omar - Officer and/or director of Mar-Jae Investments, Sterling Charitable Gift Fund,
       and other companies listed in Attachment C.

       Ashraf, Muhammed -Officer and/or director of Courtland Farm Conservancy Lots Homeowners
       Association, Inc., International Islamic Charitable Organization, Sterling Charitable Gift Fund,
       Sterling Management Group, and others entities listed in Attachment C.

       Atef. Mohammed - A high-~g AI-Qaida member and designated terrorist who was killed by
       U.S. forces in the war on terrorism in 2001.

       Barzinji, Jamal - Officer or director of various Safa Group entities. Barzinji shared ideological
       affinities with PU fund raiser Sarni Al-Arian.

       Bin Laden, Osama/Usama - Islamic fundamentalist terrorist and founder of AI-Qaida who has
       orchestrated several terrorist attacks, including the attacks on the World Trade Center and Pentagon.
       Bin Laden is a designated terrorist and the FBI's #I most wanted person.

       Child Development Foundation - "Safa Group" organization located at 555 Grove Street, #114,
       Herndon, Virginia, operated by Abdulhamid Abusulayman, Hisham Al-Talib and Iqbal Unus.


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       Courtland Farm Conservancy Lots Homeowners Association Inc. - "Safa Group" organization
       located at 555 Grove Street, #I 12, Herndon, Virginia, operated by Muhammad Ashraf, Yacub Mirza
       and Hisham Al-Talib.

       El-Khatib, Mohammed Taysir- member of the PIJ Shura Council.

       Elbarasse, Ismail - Directed funds for HAMAS through confessed HAMAS member Mohammed
       Salah.

       Elite Investment and Management Group. Inc. - "Safa Group" corporation located at 555 Grove
       Street, #104, Herndon, Virginia, and operated by Ghazwa Al Younes-Totonji and lrfan Totonji.

       Elite Trading and Contracting, Inc. - "Safa Group" organization located at 555 Grove Street, #104,
       Herndon, Virginia, and operated by Abdulelah Almoayyad, Ghazwa Alyounes-Totonji, and Irfan
       Totonji.

       FIOH Council of North America, Inc. - "Safa Group" corporation located at 750-A Miller Dr., SE,
       Leesburg, Virginia, operated by Taha Al-Alwani.

       Foreign Terrorist Organization (FTQ)-Terrorist organization as designated the U.S. Department of
       State.

       Graduate School oflslamic and Social Sciences (GSISS) - "Safa Group" corporation located at 750-
       A Miller Drive, SE, Leesburg, Virginia, operated by Taha AI-Alwani. Formerly known as the
       Islamic Institute of Advanced Studies (IIAS)/School oflslamic and Social Sciences (SISS).

       Grove Corporate Plaza - "Safa Group" corporation located at 555 Grove Street, #110, Herndon,
       Vtrginia, operated by Omar Ashraf and Yaqub Mia.a..

       Grove Street Corporation - Safa organization previously located at SSS Grove Street.

       HAMAS Terrorist Group - a/k/a Islamic Resistance Movement. HAMAS is a Designated Terrorist
       Organization that is responsible for numerous terrorist attacks that have resulted in the death of
       innocent civilians, including American nationals.

       Hamdi, Tarig Abdulmelik (a/k/a Tarig Hamdi Ismael Azami) - Employed by illT, Hamdi delivered
       a satellite telephone battery to an aide to Bin Laden in May 1998, that enabled Bin Laden to
       communicate with his followers in preparation for the Embassy Bombings in Kenya and Tanzania.

       Hassaballah Ibrahim - Director oflnternational Islamic Charitable Organization (IlCO), along with
       Muhammad Ashraf, Yaqub Mirza and Mohieldin Mohamed. Currency and Monetary Instrument


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       Reports (CMIR.s) registered on Hassaballah show that he has moved large amounts of currency into
       the United States from abroad, including over $3 million on one occasion in the early 1980s.

       Hassan, Beverly - The custodian of records on various Safa Group 990s.

       Heritage Education Trust, Inc. - "Safa Group" corporation located at 750-A Miller Drive, SE,
       Leesburg, Virginia, operated by Mohammed Jaghlit.

       HFC Feed Mill, LLC- Safa Group corporation located at 555 Grove Street, Herndon, Virginia,
       managed by Muhammad Ashraf

       Holy Land Foundation <IIl..F)- A Designated Terrorist Organization. The HLF's primary purpose
       is to fund HAMAS.

       Home Owners of Mena Estates Association- "Safa Group" organization previously located at 555
       Grove Street, Herndon, Virginia, and operated by Jamal Barzinji and Bassam Estwani.

       Hozien, Wafa- Wife of Tariq Hamdi.

      Humana Charitable Trust- Safa Group organization located in the Isle of Man. Large amounts of
      Safa Group money are sent to this entity.

      International Education Trust. Inc. - "Safa Group" corporation located at the residence of
      Mohammad Jaghlit.

      International Institute oflslamic Thought (IlII}-IDT is a core member of the Safa Group.
      Employs Tariq Hamdi. Corresponded directly with Al-Arian's groups in Tampa.

      International Islamic Charitable Organization ffiCO) - "Safa Group" corporation located at 55S
      Grove Street, # 116, Herndon, Vtrginia, operated by Muhammad Ashraf: Ibrahim Hassaballa, Yaqub
      Mirza and Mohieldin Mohamed.

       International Islamic Relief Organization mRO)-A subsidiary of the Muslim World League.

      International Relief Organization (IR.0)- Variation ofIIRO.

      Intifadah - Uprising in Israel and the Palestinian Authority Controlled Areas by the Palestinians.
      The Jihad Intifadah refers to an anned struggle as it relates to the "Holy War" against the infidels,
      which are considered the Jews, Christians (the West), and complacent Arab regimes. The main
      scope of the Intifadah is to drive the Israelis out of Israel and to reclaim the Palestinian homeland.



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       Islamic Committee for Palestine OCP) - a/k/a Islamic Concern Project. ICP was a Palestine Islamic
       Jihad front organization operated and incorporated by Sarni Al-Arian in close relationship with
       World Islamic Studies Enterprise (WISE).

       Islamic Concern Project (ICP) - a/k/a Islamic Committee for Palestine. ICP is a Palestine Islamic
       Jihad front organization incorporated by Sarni Al-Arian in close relationship with World Islamic
       Studies Enterprise (WISE).

       Islamic Jihad of Palestine - another variation of the Palestinian Islamic Jihad.

       Islamic Relief Organization (IRO)- Same entity as International Islamic Relief
       Organization/Success Foundation.

       Islamic Resistance Movement - HAMAS

       Islamic Studies Enterprise (ISE)-An Islamic organization linked to Sarni Al-Arian and the PD ..

       Jabala, Mohamoud - Suspected Egyptian militant who worked for the International Islamic Relief
       Organization (IIRO). Jabala is currently incarcerated in Canada, awaiting trial on terrorism charges.

       Jaghlit, Mohammad Officer or director of various Safa Group entities. Jaghlit shared ideological
       affinities with PD fund raiser Sarni Al-Arian and also with HAMAS.

       Jaghlit Family Trust Number I/Number 2 - Family Trusts used by Safa Group member Mohammad
       Jaghlit.

       Khaleel, Ziyad - A Designated Terrorist. Purchased satellite telephone battery for Osama Bin Laden
       that allegedly facilitated the Al-Qaeda attack on the U.S. embassies in Tanzania and Kenya.

       Khalifa, Mohammed Jamal - Brother-in-law of Osama Bin Laden involved in secessionist militant
       movement in the southern Philippines.

       Makkah Mukarramah Charity Trust, Inc. - "Safa Group" charity which was previously located at
       555 Grove Street, Herndon, Virginia and operated by Abdulelah Almoayyad, Yaqub Mina and
       Ahmad Totonji.

       Mar-Jae Holdings, Inc. - Subsidiary of Safa Trust, Inc., used for transferring large amounts of funds
       between various Safa Group organizations.

       Mar-Jae Poultry. Inc. - Poultry farm and producing plant in Gainesville, Georgia controlled by the
       Safa Group.


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               Mar-Jae Investments, Inc., Safa Group corporation managed by M. Omar Ashraf and Yaqub Mirza.
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               Mar-Jae Farms - "Safa Group" organization operated by Barzinji, Al-Talib, and Mirza.

               Marzook, Mousa Abu {SDT)- Current head ofHAMAS, Marzouk is a Specially Designated
               Terrorist.

               Mena Corporation - Safa Group organization.

-::.           Mena Investments. Inc. - Safa Group corporation located at 555 Grove Street, Herndon, Virginia,
               managed by Al-Talib, Barzinji and Mirza.

               Mirza, M. Yaqub - Officer or director of numerous Safa Group entities, including Afiican Muslim
               Agency, Courtland Farm Conservancy, Grove Corporate Plaza, International Islamic Charitable
               Organization, Makkah Mukarramah Charity Trust, Mar-Jae Investments, Muslim World League,
               Reston Investments, Sana-Bell, SAFA Trust, SAAR Foundation, Sterling Charitable Gift Fund.

               Mirza Revocable Living Trust - Safa Group trust operated by Yaqub Mirza.

               Muslim World League {MWL} - MWL was founded by the founders of Al-Qaida. International
               Islamic Relief Organization is the operational arm of the MWL.

               Nafi, Bashir-Active directing member of the World Islamic Studies Enterprise/ Islamic Committee
               for Palestine until he was deported for visa fraud in mid 1990's. Nafi was sponsored into the U.S.
..;            by Sarni AI-Arian and later worked at IDT .

               Naiar. Mazen - Currently incarcerated in the United States for immigration violations, Najar was
               Connerly involved in the daily operations of WISE and ICP in Florida, along with Al-Arian, Khalil
               Shikald, Bashir Nafi and Ramadan Shallah.

               Naseet: Abdullah Omar - Officer and/or Director of Makkah Murrah Charity Trust and Rabita Trust.

               Nasir. Sayed Abu-Bangladeshi national alleged by India's Deputy Commissioner of Police to have
               targeted U.S. Consulates for bombings.

               Nouri. Khaled- Director of the Success Foundation.

               Odeh, Sheik Abdel Aziz - Spiritual leader of the Palestinian Islamic Jihad-SF, Odeh was a
               cofounder of the PU-SF along with Fathi Shikaki.

               Omeish Mohamed - President oflslamic Relief Organization, Success Foundation, and IIR.O.


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        Orr, Mark - Director of the International Affairs Center, University of South Florida. Orr was the
        addressee on a letter from Ramadan Abdallah Shallah, wherein Shallah identifies HIT as the largest
        contributor to the World Islamic Studies Enterprise.

        Ozaan Capital Management, Inc. - "Safa Group" corporation located at the residence of Mohammad
        Omar Ashraf

        Palestine Islamic Jihad-Shikaki Faction {PU-SF) - A Specially Designated Terrorist Group founded
        by Fathi Shikaki in 1980, with the mission of the elimination and destruction oflsrael. After Shikaki
        was assassinated in 1995, Ramadan Abdallah Shallah succeeded Shikaki as the organization's
        leader.

       Qureshi. Manzoor - Now deceased, Quereshi was the accountant for many of the Safa Group
       organizations.

       Rabita Trust - A designated terrorist organization, Rabita Trust is a Pakistani-based contingent of
       the Muslim World League, which has no branches or offices in the U.S.

       Rahman, Sheik Omar Abdel <a.k.a the "Blind Sheik")-A convicted terrorist who orchestrated the
       World Trade Center bombing in 1993.

       Reston Investments. Inc. - "Safa Group" corporation located at 555 Grove Street, Ste. 114,
       Herndon, Virginia, currently operated by Al-Talib, Barzinji, and Mirza.

       SAAR Foundation - The SAAR Foundation at 555 Grove Street, Herndon, Virginia was dissolved in
       December 2000 and replaced by the Sterling Charitable Gift Fund. Its directors were Mirza, Sedky
       and Jaghlit.

       SAAR Foundation, Canada - The SAAR Foundation Canada is an affiliate of the SAAR
       Foundation.

       SAAR International-A "Safa Group" corporation currently incorporated in Washington, D.C. and
       operated by the company 1212 New York Avenue, Inc., a company itself operated by Lynx Systems
       of 55S Grove Street, Herndon, Virginia.

       Safa Charities - Charities utilized by the Safa Group, including the African Muslim Agency,
       Heritage Education Trust, the IDT, the SAAR Foundation, Safa Trust, Inc., the Sterling Charitable
       Gift Fund, and the York Foundation, among others.

       Safa Group - A complex coalition of overlapping companies in Northern Virginia controlled by
       individuals who have shown support for terrorists and or terrorist fronts. The primary business


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           addresses associated with these individuals are 500 and 555 Grove Street, Herndon, Virginia; and
           750-A Miller Drive, SE, Leesburg, Virginia.

           Safa Trust, Inc. - A "Safa Group" corporation.

           Salah. Mohammed - After he was arrested by Israeli authorities, Salah stated that authorities that he
           received funds from Elbarasse for HAMAS military operations.

           Salah, Samir - Safa Group member. Director of ADAMS, Taibah International Aid Association and
           former director of both the SAAR Foundation and Mar-Jae Investments.

           Sana-Bell Al Kheer, Inc. -A corporation with a mailing address of555 Grove Street, Ste. 114,
           Herndon, Virginia, operated by Hassan Bahafzallah, Yaqub Mirza and Abdullah Bin Saleh Al-
           Obaid. Sana-Bell receives rent from the Muslim World League and International Islamic Relief
           Organization.

           School oflslamic and Social Sciences (SISS}- Safa Group entity now known as the GSISS, located
           at 750-a Miller Dr., Leesburg, Virginia.

           Sedky, Cherif- Officer and/or director of Aradi, Inc., SAAR Foundation, and Yeminvest.

            Shallah, Ramadan Abdullah - Shallah is the current leader of the Palestine Islamic Jihad. He
           .previously was involved in the operations of the Islamic Concern Project and World Islamic Studies
            Enterprise.

           Shikaki, Fatlti - Founded Palestine Islamic Jihad-Shikaki Faction (PU-SF) in 1980. Shikaki led the
           PU-SF until his assassination in 1995.

           Shikaki. Khalil - PU member and brother of slain PU founder, Khalil Shikaki. Khalil also helped
           Ramadan Shallah, Sami Al-Arian, Bashir Nafi and Mazen Al-Najar in the day to day operations of
           the ICP and WISE in Florida. Khalil also received direct money transfers from the SAAR
           Foundation.

           Specially Designated Terrorist (SDTI - Term used in this affidavit to describe those individuals who
           have been designated terrorists by either the U.S. Department of State or by the President of the
           United States.

           Sterling Charitable Gift Fund (d/b/a Sterling Management Comoration}- "Safa Group" corporation
           managed by M. Omar Ashraf, Muhammad Ashraf, Yaqub Mirza and Nabil Zeki.

           Sterling Investment Group - Safa Group corporation directed by Muhammad Ashraf


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                Sterling Management Group, Inc. - Listed operating name of Sterling Charitable Gift Fund.

                Success Foundation - An affiliate of the International Islamic Relief Organization (IIRO/IRO).

                Totonji, Ahmad - Director ofMakkah Mukarramah Charity Trust, Safa Trust and other companies.

                Unus. Igbal - An officer or director of organizations in the "Safa Group".

                World Islamic Studies Entemrise <WISE}-A Palestine Islamic Jihad (PU-SF) front organization
                closely connected to the Islamic Concern Project/Islamic Committee for Palestine, all formed by Al-
                Arian in Tampa.

                York International- Safa Group organization located in the Isle of Man.

                York Foundation - Safa Group organization located at 555 Grove Street, Herndon, Virginia,
                managed by Mirza and Muhammad Ashraf.




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                                              ATTACHMENT D

                                                 Safa Group
                      Officers and Directors & Their Related Businesses and Organizations


....           Name Of Officer                                Associated/Related
                                                              Corporation/Business

               Abdelellah, Aber                               Light Star Travel

               Abusulayman, Abdulhamid                        Child Development Foundation
                                                              IDT
                                                              GSISS
                                                              International Islamic Forum for Science,
                                                              Technology & Human Resources Development,
                                                              Inc. (IIFTIKHAR)

               Ahmad, Mumtaz                                  Assn of Muslim Social Scientists

               Ahmed, Gamal                                   Boshra, Inc.

               Al Almoudi, Abdul Rahman                       Taibah International Aid Association
                                                              Success Foundation
                                                              American Muslim Foundation American Muslim
                                                              Council

               Al Alwani, Taha J.                             IlIT
                                                              FIQH
                                                              GISS
                                                              Heritage Education Trust Inc.
                                                              Heritage Holdings

              Al Ashka.r, Abdelhaleem                         Al-Aqsa Educational Fund

              Al Hassan, Y azen M                             Elite Management Resources, Inc.
:

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'             Al Mahdi, Abdullah M.                           International Relief Organization

              Al Mahdi, Tareq M.                              International Relief Organization

               Al Noshan, Abdullah M.                         Sana-Bell, Inc.

               Al Obaid, Abdullah Bin Saleh                   Muslim World League
                                                              Sana-Bell, Inc.
                                                              Sanabel Al Kheer, Inc.




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:;,;

               Al Rajhi, Abdullah Sulaiman                  Aradi, Inc.

               Al Sulaiman, Ali                             International Relief Organization

               Al Suwaidan, Tareq                           International Relief Organization

               Al Younes-Totonji, Ghazwa A.                 Elite Investment & Management Group Inc.
                                                            Elite Training & Contracting Inc.
                                                            Executive Building Maintenance

               Alkhairo, Wael                               All Dulles Area Muslim Society

               Almoayyad, Abdulelah                         Elite Training & Contracting Inc.
                                                            Executive Building Maintenance
                                                            Makkah Mukarramah Charity Trust

               Alsumait, Adbulrahman                        African Muslim Agency

               Altalib, Hisham                               Aradi Inc.
                                                             African Muslim Agency
                                                             Altalib Family Limited Partnership
                                                             American Institute for Islamic Societal Studies
                                                             Child Development Foundation
                                                             Courtland Fann Conservancy Lots Homeowners
                                                                    Assn., Inc.
                                                             Herndon Grand, Inc.
                                                             IlIT
                                                             Lynx Holdings Inc.
                                                             Lynx Real Estate Inc.
                                                             Mar-Jae Fanns, Inc.
                                                             Mar-Jae Pouluy, Inc.
                                                             Mena Estates Inc., DBA Mena for Development
                                                           [
                                                             Mena Investments Inc.
                                                             Properties Development Corp.
                                                             Reston Investments Inc.
                                                             Safa Trust
                                                             Sterling Poultry Co.
                                                             Virginia American Properties Inc.

               Aqeel, Abdul R.                                Al-Wahyayn Publishing Co.




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               Ashraf, M. Omar                         All Dulles Area Muslim Society
                                                       Arabic Software Computer, Inc.
                                                       Grove Corporate Plaza
                                                       Jucosa USA, Inc.
                                                       Mar-Jae Investments Inc.
                                                       Ozaan Capital Management, Inc.
                                                       Sterling Advisors Inc.
                                                       Sterling Management Group
                                                       Sterling Stock Investments LLC
                                                       Sugarland Road Development Inc.
                                                       Union Capital Corporation

-              Ashraf, Muhammad                        AMC Foundation Inc.
                                                       American Institute for Islamic Societal Studies
                                                       Courtland Farm Conservancy Lots
                                                       Homeowners Association Inc.
                                                       Herndon Grand Inc.
                                                       HFC Feed Mill LLC
                                                       Enterprise Investment Group Inc.
                                                       Global Enterprises LLC
                                                       Global Holdings LLC
                                                       International Islamic Charitable Organization
                                                       International Origin Solutions LLC
                                                       Lynx Real Estate Inc.
                                                       Newcom Investors LLC
                                                       Properties Development Corporation
                                                       Silicon Valley Venture Fund I, LLC
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                                                       Silicon Valley Venture Fund ll, LLC
                                                       Sterling Advisors Inc.
                                                       Sterling Infogain Fund LLC
                                                       Sterling Investment Group LLC
                                                       Sterling Lynux Works LLC
                                                       Sterling Management Group Sterling
                                                       Packet Stream Fund, LLC
                                                       Sterling Ptech Fund, LLC
                                                       United Investment Group
                                                       Virginia American Properties, Inc.
                                                       York Foundation
                                                       500 Grove Street LLC

              Ashraf, Zahida P.                        Oza.an Capital Management Inc.

              Awand, Mazhar A.                         All Dulles Area Muslim Society
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  -             Bahafzallah, Hassan A.A.                   Muslim World League
                                                           Sana-Bell Inc.
                                                           Sanabel Al Kheer Inc.

                Bari, Aziz                                 All Dulles Area Muslim Society

                Barzinji, Jamal                         Al-Wahyayn Publishing Company
                                                        Home Owners of Mena Estates Assn.
                                                        Heritage Holdings
                                                        IIFSTHRD
                                                        Lynx Holdings Inc.
                                                        Mar-Jae Fanns, Inc.
                                                        Mar-Jae Poultry, Inc.
                                                          ena Estates, Inc.
                                                       ~ ena Investments Inc.
                                                        Home Owners of Mena Estates Assn.
                                                        Reston Investments Inc.
                                                        Safa Trust
                                                        Sterling Poultry Company
                                                        American Muslim Council

                Becker, Larry E.                           Mena Estates Assn.

                Bushnaq, Yaser                             Al-Aqsa Educational Fund

                El Ansary, Waleed                          Association of Muslim Social Scientists

                Estwani, Bassam                            Boshra, Inc.
                                                           Home Owners of Mena Estates
                                                           Association
-:,;:
                George, Jawad F.                           A & W Stores Inc.
                                                           American Projects Investments,
                                                           Corporation
                                                           Bone Shami Venture
                                                           Capital Diamond Center
                                                           Equity Investors Associates Ltd.
                                                           Jet Express Inc.
~-                                                         Latib International Inc.

                Hadeed, Michael Jr.                        Attia Grafisk USA Inc.
                                                           International Relief Organization

                Hajjaj, Anwar                              Taibah International Aid Association


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             Hansen, David                             Courtland Farm Homeowners Assn.

             Haq, Faizan                               Association of Muslim Social Scientists
~


             Hassaballa, Ibrahim                       International Islamic Charitable Organization

             Holt, James W.                            Courtland Farm Homeowners Assn.

             Iqbal, Mahamed                            Arabic Software Computer, Inc.

-·
             lrshad, Tariq M.                           R & S International, Inc.

             Isam, Akkad                               FIQH Council of North America

             Jaghlit, Mohammad                         International Education Trust, Inc.
                                                       Heritage Education Trust Inc.
                                                       Heritage Holdings
                                                       SAAR Foundation Inc.
                                                       AI-Aqsa Educational Fund

             Jaka,Rizwan                               All Dulles Area Muslim Society

             Kandil, Osama                             American Products International

             Kasule, Omar H.                            IPSO Training Bureau
-
~            Khan, Bashir Ahmad                        All Dulles Area Muslim Society

             Khan, Mumtaz                              All Dulles Area Muslim Society

             Kline, Bradford S.                        Courtland Farm Homeowners Assn.

             Latib, Abdulrahman                        All Dulles Area Muslim Society
f
'            Lehan, Sultan A.                          R & S International Inc.

             Malkawi, Fathi                            International Education Trust Inc.

             Manraj, Abdul Hafez                       All Dulles Area Muslim Society


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~               Mirza, M. Yaqub                          African Muslim Agency
                                                         Courtland Farms Homeowners Association Inc.
                                                         Horizons Education Association Creativity
                                                         International Productions, LLC
                                                         GSISS
                                                         Grove Corporate Plaza
                                                         Jucosa USA, Inc.
                                                         Lynx Holdings Inc.
                                                         Mar-Jae Investments
                                                         Mar-Jae Farms Inc.
                                                         Mar-Jae Poultry Inc.
                                                         Makkah Mukarramah Charity Trust
                                                           ena Estates Inc. OBA Mena for Development
                                                        ~ ena Investments Inc.
                                                         Mirza Family Limited Partnership
~-
L>
                                                         Muslim World League
                                                         Reston Investments Inc.
                                                         SAAR Foundation Inc.
                                                         Safa Trust Inc.
                                                         Safty LLC
                                                         Sanabel Al Kheer Inc.
                                                         Sana-Bell Inc.
                                                         Sterling Advisors Inc.
                                                         Sterling Management Group
                                                         Sterling Poultry Company
                                                         Sterling Technology Fund LLC
                                                         Tafy Enterprises Inc.
                                                         Woodland Development LLC
                                                         Yorlc Foundation

                Mirza, Tanveer A.                           Mirza Family Limited Partnership
-.;,:
~                                                           Noor International
                                                            Tafy Enterprises

                Mohamed, Alba M.                            Attia Grafisk US~ Inc.

                Mohamed, Mahmoud                            Mar-Jae Farms, Inc.

                Mohamed, Mohieldin A.                       International Islamic Charitable Organization

                Mushtaha, Fawaz                             Dar El-Eiman USA Inc.
                                                            Light Star Travel Agency
                                                            AI-Aqsa Educational Fund




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       Noor, Ahmed                                All Dulles Area Muslim Society

       Omeish, Mohamed S.                         International Relief Organization
                                                  (IRO)/International Islamic Relief
                                                  Organization(IIR.0)/ Success Foundation

       Rashdan, Mahmouda                          International Education Trust Inc.

       Rayyan, Ahmad I.                           All Dulles Area Muslim Society

       Safi, Louay                                Association of Muslim Social Scientists (AMSS)

       Salah, Said                                All Dulles Area Muslim Society

       Salah, Samir I                             Impact Training Center Inc.
                                                  International Technology Marketing
                                                  Piedmont Medical Services
                                                  Taibah International
                                                  SAAR Foundation
                                                  Mar-Jae Investments
                                                  Piedmont Trading
                                                  Piedmont Management
                                                  Piedmont Medical
                                                  Marwa Investments
                                                  All Dulles Area Muslim Society

       Salah, Saniyz S                            Piedmont Medical Services, Inc.

       Scdky, Cherif                              AI-Murjan Corporation
                                                  Aradi Inc.
                                                  SAAR Foundation Inc.
                                                  Courtland Farm Conservancy
                                                  Nimir Petroleum
                                                  Yeminvest

       Silva, Miguel Montes                       Jucosa USA Inc.

       Totonji, lrfan K.                          Beauregard Associates LLC
                                                  Herndon Grand Inc.
                                                  East Stratford Phase A & B Homeowners Ass'n
                                                  Elite Investment & Management Group Inc.
                                                  Elite Management Resources Inc.
                                                  Elite Training & Contracting Inc.
                                                  Executive Building Maintenance




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        Totonji, Ahmad                            IIIT
                                                  IIFTIKHAR
                                                  Makkah Mukarramah Charity Trust

        Unus, Iqbal J.                            All Dulles Area Muslim Society
                                                  Child Development Foundation
                                                  Education, Training & Research Associates
                                                  IIFTIKHAR

        Uziel, Sergio Araya                       Jucosa USA, Inc.

        Yacoob,Sanobar                            R & S International Inc.
                                                  Noor International

        Yacoob, Snober                            Noor International

        Zeki, Nabil A.M.                          Sterling Management Group




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                               Safa Group Businesses & Corporations



             A & W Stores. Inc. - Status: "Terminated (Automatic)"
             555 Grove St., Suite 110, Herndon, VA
                   George, Jawad F. - Registered Agent

             African Muslim Agency - Status: Active
             555 Grove St., Herndon, VA (no suite #)
                    Alsumait, Adbulrahman - President
                    Altalib, Hisham - Treasurer
                    Mirza, M. Yaqub- Vice President

             AI-Agsa Educational Fund - Status: Active
             PO Box 1124, Oxford, Mississippi 38655
                   Mushtaha, Fawaz - former director
                   Bushnaq, Yaser - former director
                   EI-Gajleet(Jaghlit), Mohammad - former President
                   Al-Ashkar, Abdelhaleem - Vice President

             Al-Wahyayn Publishing Company - Status: "Terminated (Automatic)"
             555 Grove St., Suite 200, Herndon, VA
                   Aqeel, Abdul R. - President/freasurer
                   Barzinji, Jamal- Secretary

            All Dulles Area Muslim Society (ADAMS) - Status: Active
            46970 Community Plaza, Suite 218, Sterling, VA
            500 Grove St., Hemdon, VA;
                   Alkhairo, Wael- President/Registered Agent
.:
                   Ashraf, M. Omar - Registered Agent
                   Awand, Mazhar A. - Treasurer_
                   Bari, Aziz - Secretary/Chairman
                   Jaka, Rizwan - Vice President
                   Khan, Bashir Ahmad - Treasurer/CFO
                   Khan, Mumtaz - President
                   Latib, Abdulrahman - Chairman
                   Manraj, Abdul Hafez - CFO
                   Noor, Ahmed - Treasurer
                   Rayyan, Ahmad I - Secretary/Officer
                   Salah, Said - Secretary
                   Onus, Iqbal J. - Vice President




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     Altalib Family Limited Partnership - Status: Active
     11776 Stratford House Pl.,#1403, Reston,VA
            Altalib, His ham Yahya - Registered Agent

     AMC Foundation - Status: Active
     555 Grove St., Suite 116, Herdon, VA
           Ashraf, Muhammad - Registered Agent

     Amana Limited
     Isle of Man

     Amana Mutual Funds
     1300 North State Street, Bellingham, Washington

     American Institute for Societal Studies - Status: Active
     555 Grove St., Suite 116, Herdon, VA
            Ashraf, Muhammad - President/Secretary/freasurer
            Altalib, Hisham - Registered AgentAmerican Products International, Inc. -
      Status: Activel1919 Safa Ct., Herndon, VA; 1162 (Registered Office)
            Kandil, Osama - Registered_Agent Sadoun, Jamal - Director Sadoun,
     Nabil - DirectorAmerican Projects Investments Comoration - Status:
     •Terminated (Automatict555 Grove St., Suite llO, Herndon, VA
            George, Jawad F. - Registered Agent

     Arabic Software Computer, Inc. - Status: Inactive-Dissolved555 Grove St., Suite
     110, Herndon, VA
            Ashraf, Mohammad Omar - President/Chairman                Iqbal, Mahamed -
     Registered Agent       Russel, William R. - Register AgentAssociation of Muslim
     Social Scientists - Status: Activell45 Herndon Pky, #500, Herndon, VA
            Ahmad, Dr. Mumtaz - President El-Ansary, Waleed - Treasurer             Haq,
     Faizan - Secretary Safi, Dr. Louay - Vice-President
            Abusulayman, Abdelhamid - former director
            Aradi, Inc. - Status: Active555 Grove St., Suite llO, Herndn, VA; Al-Rajhi,
     Abdullah Sulaiman - President        Altalib, Hisham - Vice-President/freasurer
            Sedky, Cherif - SecretaryAttia Grafisk USA, Inc. - Status: •Terminated
     (Automatic)"555 Grove St., Herndon, VA
            Mohamed, Ahia M. - President          Hadeed, Michael Jr., P.C. - Registered
     Agent
     Beauregard Associates, LC - Status: Active555 Grove St., Suite 104,Herdon, VA
            Totonji, lrfan K. - Register Agent




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        Graduate School of Islamic & Social Sciences - Status: Active
        (Formerly known as The Islamic Institute of Advanced Studies [IIAS) and the
        School of Islamic and Social Sciences (SISS))
        750-A Miller Dr., SE,Leesburg, VA
               AI-Alwani, Taha J. - Registered Agent
               Abusulayman, Dr. Abdulhamid - Secretary
               Mirza, M. Yacub - Treasurer

       Grove Corporate Plaza - Status: Active
       555 Grove St., Suite 110, Herndon, VA
             Mirza, M. Yaqub - President/freasurer/Registered Agent
             Ashraf, M. Omar - Vice-President/Secretary

       Grove Street Corporation - Inactive
       555 Grove Street, Herndon, Virginia
             Al-Talib, Hisham
             Ashraf, Omar

       Heritage Education Trust, Inc. - Status: Active
       750-A Miller Dr.,SE, Leesburg, VA
             Jaghlit, Mohammad - Secretary/freasurer/Registered Agent
              AI-Alwani, Taha J. - President

       Heritage Holdings - Status: Active
       750-A Miller Dr., SE, Leesburg, VA
              AI-Alwani, Taha J. - Registered Agent

       Herndon Grand, Inc. - Status: •Terminated (Automatic)"
       555 Grove St., Suite 205, Herndon, VA
             Altalib, Hisham - President/freasurer/Registered Agent
             Totonji, Irfan - Vice-President
             Ashraf, Muhammad - Secretary

       HFC Feed Mill, LLC - Status: Active
       555 Grove St., Suite 116, Herndon, VA
             Ashraf, Muhammad - Registered Agent

       Home Owners of Mena Estates Association - Status: "Terminated (Automatic)"
       555 Grove St., Herndon, VA
             Barzinji, Jamal - Secretary
             Estwani, Bassam - Treasurer
             Becker, Larry E. - Registered Agent




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        Horizons Education Association - Status: Active
        555 Grove St., Suite 116, Herndon, VA
              Mirza, M. Yaqub - Registered Agent

        Humana Charitable Trust c/o Amana Ltd.,
        Abacus House, Mona Street, Douglas, Isle of Man
        P.O. Box 1297, Herndon, VA

        IFSO Training Bureau - Status: "Terminated (Automatic)"
        555 Grove St., Herndon, VA
              Kasule, Omar. H. - Registered Agent

        Impact Training Center, Inc. - Status: "Terminated (Voluntary)
        501 Merlins Lane, Herndon, VA
              Salah, Samir I. - Registered Agent

        International Education Trust, Inc. - Status: Active
        9034 Swift Creek Rd., Fairfax Station, VA
               Jaghlit, Mohammad - President/freasurer/Registered Agent
               Malkawi, Fathi - Vice-President/Secretary
               Rashdan, Mahmouda - Vice-President

        International Institution of Islamic Thought, Inc. - Status: Active -t,~""4~   P tl/1,/oJ
        500 Grove St., Herndon, VA
               Abusulayman, Abdulhamid - Chairman/President/Director
               Al Alwani, Taha J. - Chief Financial Officer
               Altalib, Hisham - Vice-President/Registered Agent
               Barzinji, Jamal - Treasurer/Secretary/CFO
               Jaghlit, Mohammad - President/rreasurer/Registered Agent

        International Islamic Charitable Organization (IlCO) - Status: Active
        555 Grove St., Suite 116, Herndon, VA
               Hassaballa, Ibrahim - Vice-President
               Mirza, M. Yacub - Treasurer/Registered Agent
               Mohamed, Mohieldin A. - Vice-President
               Ashraf, Muhammad - Secretary

        International Islamic Forum for Science, Technology and Human Resources
        Development, Inc. dba IIFflKHAR - Status: Active
        1145 Herndon Pky,#500A, Herndon, VA
               Totonji, Dr. Ahmad - President
               Barzinji, Dr. Jamal - Vice-President
               Abusulayman, Dr. Abdulhamid - Chairman
               Unus, Dr. Iqbal J. - Secretary/freasurer/Registered Agent




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             International Relief Organization (a.k.a. International Islamic Relief Organization)
                                       Status: Active
             P.O.Box 8125, Falls Church, VA; 360 S. Washington St., Falls Church, VA; 5501
             Bacldick Rd., #220, Springfield, VA (Registered Agent)
                    Al Suwaidan, Tareq - Secretary/freasurer
                    Al Sulaiman, Ali - President
                    Al Mahdi, Abdullah M. - Vice-President, Chief Financial Officer
                    Al Mahdi, Tareq M. - Secretary
                    Hadeed, Michael - Registered Agent
                    Omeish, Mohamed S. - President/Secretary

             International Technology Marketing, Inc. Status: •Terminated (Automatic)"
             501 Merlins Lane, Herndon, VA
                    Salah, Samir I. - Registered Agent

             International Origin Solutions, LLC Status: Active
             555 Grove St., Suite 116, Herndon, VA
                    Ashraf, Muhammad - Registered Agent

             Jet Express, Inc. - Status: "Terminated (Automatic)"
             555 Grove St., Suite 110, Herndon, VA
                    George, Jawad F. - Registered Agent

             Jucosa USA, Inc. Status: Active
             555 Grove St., Suite 116, Herndon, VA
             (Registered Agent: 555 Grove St., Suite 114, Herndon, VA)
                    Uziel, Sergio Araya - President
                    Silva, Miguel Montes - Vice-President
                    Ashraf, M. Omar - Secretarytrreasurer
,;
                    Mima, Dr. M. Yacub - Chairman/Registered Agent

            Latib International, Inc. - Status: •Terminated (Automatic)"
            555 Grove St., Suite 110, Herndon, VA
                   George, Jawad F. - Registered Agent

            Light Star Travel Agency, Inc.- Status: active
            360 South Washington St., Ste. 102, Falls Church, Virginia 22046
                   Abdelellah, Aber - Vice Presdient
                   Mushtaha, Fawaz - President/Registered Agent

             Lynx Holdings, Inc. - Status: "Terminated (Automatic)"




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       555 Grove St., (no suite #), Herndon, VA
             Barzinji, Jamal - President
             Mirza, M. Y. - Vice-President/Secretary
             Altalib, Hisham - Treasurer/Registered Agent

       Lynx Real Estate, Inc. - Status: "Withdrawn"
       555 Grove St., 1st Floor, Herndon, VA
       (Registered Agent) 555 Grove St., Suite 230, Herndon, VA
              Altalib, Hisham Dr. - President/freasurer/Registered Agent
              Ashraf, Muhammad - Secretary

       Makkah Mukarramah Charity Trust, Inc. - Status: "Terminated (Automatic)"
            Almoayyad, Abdulelah - Vice President
            Mirza, Yaqub - Secretary/I'reasurer
            Totonji, Ahmad - President

       Mar-Jae Investments - Status: Active - r/v..     ½ €S,'4AM. 0_1/1,/•3)
       555 Grove St., Suite 110, Herndon,VA
             Mirza, M. Yacub - President/I'reasurer/Registered Agent
             Ashraf, M. Omar - Vice-President/Secretary

       Mar-Jae Farms, Inc. - Status: "Merged"
       P.O. Box 1017, Gainesville, GA
             AI-Barzinji, Jamal Dr. - Chief Executive Officer
             Al-Talib, Hisham Dr. - Chief Financial Officer
             Mirza, M.Y. Dr. - Director
             Mohamed, Mahmoud - Registered Agent

       Mar-Jae Holdings, Inc. - Active
       555 Grove Street, Herndon, Virginia
             Safa Trust, Inc.

       Mar-Jae Poultry, Inc. - Status: Active        -r/• f.a Csr,~<_l, /,o/tl)
       Aviation Blvd., P.O. Box 1017, Gainesville, GA
              Al-Barzinji, Jamal Dr. - Chief Executive Officer
              Al-Talib, Hisham - Chief Financial Officer
              Mirza, M.Y. Dr. - Secretary
              Carnes, Doug - Registered Agent




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       Mena Corporation - Inactive
       555 Grove Street, Herndon, Virginia
       Mena Estates, Inc., DBA Mena for Development - Status: Active555 Grove St.,
       Suite 212, Herndon, VA
              Ban:inji, Jamal - President Altalib, Hisham -
       Secretary/freasurer/Registered Agent       Mirza, M. Yaqub - Vice-PresidentMena
       Investments, Inc. - Status: Active555 Grove St., (no suite#), Herndon, VA
              Ban:inji, Jamal - President Altalib, Hisham -
       Secretary/freasurer/Registered Agent      Mirza, M. Yaqub - Vice-PresidentMirza
       Family Limited Partnership - Status: Activell922 Safa Ct., Herndon, VA
              Mirza, Tanveer A. - Registered Agent

       Muslim World League- Status: Active360 S. Washington St., #300, Falls Church,
       VA(Registered Office: 555 Grove St., Suite 116), Herndon, VA)
              Al Obaid, Dr. Abdullah Bin Saleh - President    Bahafzallah, Dr. Hassan
       A.A. - Vice-PresidentMirza, Dr. M. Yaqub - Secretary/freasurer/Registere
       AgentNewcom Investors, LLC - Status: anceled555 Grove St., Suite 116, Herndon,
       VA
              Ashraf, Muhammad - Registered AgentNoor International -
       Status:Activel2028 Waterside View Apt #12, Reston, VA
              Yacoob, Snober - Registerd Agent          Mirza, Tanveer A. - Vice
       President/ Seretary/ Yacoob, Sanobar Akhtr- President
       Ozaan Capital Management, Inc. - Status: Activel2541 Browns Ferry Rd.,
       Herndon, VA
              Ashraf, Mohammad 0. - Registered Agent/President Ashraf, Zahida P. -
       ScretaryPiedmont Medical Services, Inc. - Status: Active501 Merlins Lane,
       Herndon, VA
              Salah, Samir L - Registered Agent/President/Secretary Salah, Saniya S. -
       Vice-PresidentProperties Development Com. - Status: •Revoked (Automatic)"555
       Grove St, (no suite #), Hemdon, VA
              Altalib, Dr. Hisham - Presidentffreasurer/Registered Agent Ashraf,
       Muhammad - SecretaryR & S International, Inc. - Status: •Terminated
       (Automatic)"555 Grove St., Suite 140, Herndon, VA
              Yacoob, Sanobar A. - President Irshad, Tariq M. - Secretary/Registered -
       Agent Lehan, Sultan A. - TreasurerReston Investments, Inc. - Status: Active555 - C,Sf 1,11.t'(. rt,
       Grove St., Suite 114, Herndon, VA                             ~                    w/r,,/•J
              Barjinji, Jamal - PresidentMirza, Dr. M. Yaqub - Vice-
       President/Secretary Altalib, Dr. Hisham - Treasurer




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         SAAR Foundation Canada, Inc.

                                -    c~'41W.   vi"'- u/~/o)
  ~l,,1J SAAR Foundation, Inc. - Status: "Terminated (Voluntary)"555 Grove St., Suite
   ~ 110, Herndon, VA
               Mirza, M. Yaqub - President/Chief Executive Officer/Registered Agent
               Jaghlit, Mohammad - Treasurer Sedky, Cherif- Secretary

        SAAR International, Inc.
        1212 New York Avenue, 12th Fl., Washington, DC
                1212 New York Avenue, Inc.
               Safa Trust - Status: Active555 Grove St., Suite 114, Herndon, VA
               Barzinji, Jamal - President Mirza, M. Yaqub - Vice-President/Registered
        Agent Altalib, Hisham - Treasurer         Totonji, Ahmad - SecretarySafty, LLC -
         Status: Activel 1922 Safa Court, Herndon, VA
               Mirza, M. Yacub - Registered AgentSanabel Al Kheer, Inc. - Status:
        Active555 Grove St., Suite 116, Herndon, VA                       - ~~
                Al Obaid, Dr. Abdullah Bin Saleh - President         Bahafzallah, Dr.
        Hassan A.A. - Vice-President        Mirza, Dr. M. Yaqub -
        Secretary/freasurer/Registered AgentSana-Bell, Inc. - Status: "Revoked
        (Automatic)" 555 Grove St., Suite 116, Herndon, VA -.-t'- 'ftM
               Obad, Bin Saleh L. - President                     .::--'
               Bahafzallah, Hassan M. - Vice-President
               Al Noshan, Abdullah M. -Treasurer
               Mirza, M. Yacub - Secretary

        Silicon Valley Venture Fund I, LLC - Status: Active
        555 Grove St., Suite 116, Herndon, VA
               Ashraf, Muhammad - Registered Agent

        Silicon Valley Venture Fund II, LLC - Status: Active
        555 Grove St., Suite 116, Herndon, VA
               Ashraf, Muhammad - Registered Agent

        Sterling Advisors, Inc. - Status: Active
        555 Grove St., Suite 116, Herndon, VA
        (Registered Office 555 Grove St., Suite 114, Herndon, VA}
               Mirza, Dr. M. Yacub - Chairman/President/Chief Executive Officer
               Ashraf, M. Omar - Executive Vice-Pres/President/freasurer/Reg. Agent
               Ashraf, Muhammad - Vice-President/Secretary

--f~    Sterling Charitable Gift Fund - No Record (VASOS}




                                                                                FED-PEC0001360
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              Mina, Yacub - President/CEO/Chairman
              Ashraf, Muhammad - Vice-President/Secretary
              Ashraf, M. Omar - Executive Vice-President/freasurer/Reg. Agent
              Zeki, Nabil A.M. - Vice-President

       Sterling Infogain, Fund, LLC - Status: Active
       555 Grove St., Suite 116, Herndon, VA
              Ashraf, Muhammad - Registered Agent

       Sterling Investment Group, LLC - Status: Active
       555 Grove St., Suite 110, Herndon, VA
              Ashraf, Muhammad - Registered Agent

       Sterling Lynux Works, LLC - Status: Active
       555 Grove St., Suite 116, Herndon, VA
              Ashraf, Muhammad - Registered Agent

       Sterling Management Group, Inc. - Status: Active - f.s1 l,y'\,(, ,/ ""- L( / u/• 3
       555 Grove St., Suite 116, Herndon, VA
              Mirza, Yacub - President/CEO/Chairman
              Ashraf, Muhammad - Vice-President/Secretary
              Ashraf, M. Omar - Executive Vice-President/freasurer/Reg. Agent
              Zeki, Nabil A.M. - Vice-President

       Sterling Packet Stream Fund, LLC - Status: Active
       555 Grove St., Suite 116, Herndon, VA
              Ashraf, Muhammad - Registered Agent

       Sterling Ptech Fund, LLC - Status: Active
       555 Grove St., Suite 114, Herndon, VA
              Ashraf, Muhammad - Registered_Agent

       Sterling Poultry Company - Status: •Terminated (Voluntary)"
       555 Grove St., (no suite #), Herndon, VA
              Barzinji, Jamal- President
              Mirza, M. Yacub - Vice-President/Secretary/Registered Agent
              Altalib, Hisham - Treasurer

       Sterling Stock Invesments, LLC- Status: •canceled"
       555 Grove., Suite 114, Herndon, VA
              Ashraf, M. Omar - Registered Agent




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     Sterling Technology Fund, LLC - Status: Active
     Formerly: Sterling Malaysian Fund, LLC
     555 Grove St., Suite 116, Herndon, VA
            Mirza, M. Yacub - Registered Agent

    Stratford Associates, LC - Status: Active
    555 Grove St., Suite 104, Herndon, VA
           Totonji, Irfan K. / Elite Investment & Mgmt Group - Registered Agent

    Stratford Commercial Associates, L.C - Status: "Canceled"
    555 Grove St., Suite 104, Herndon, VA
           Totonji, Irfan K./Elite Investments & Mgmt Group - Registered Agent

    Stuart Road Associates. LC - Status: "Active"
    555 Grove St., Suite 104, Herndon, VA
           Totonji, Irfan K./Elite Investments & Mgmt Group - Registered Agent

    The Success Foundation, Inc.
    3606 Forest Drive, Alexandria, Virginia 22302; 360 South Washington St., Ste. 300
    Falls Church, Virginia 22046
           Omeish, Mohamed - President
           Alamoudi, Abdulrahman - Secretary
           Nouri, Khaled-Treasurer

    Sugarland Road Development, LLC - Status: Active
    447 Carlisle Dr., Herndon, VA
    (Registered Office: 56970 Community Plaza, Suite 218, Sterling, VA}
           Ashraf, M. Omar - Registered Agent

    Tafy Entemrises. Inc. - Status: Active
    11922 Safa Court, Herndon, VA
          Mirza, Tanveer A. - President/Secretary/Registered Agent
          Mirza, M. Yaqub - Treasurer

    Taibah International Aid Association - Status: Active
    360 S. Washington St., #104, Falls Church, VA
           Al-Almoudi, Abdul Rahman - Director
           Hajjaj, Anwar- Vice-Chairman/Registered Agent
           Salah, Samir - Treasurer

    Union Capital Comoration - Status: Active
    12541 Browns Ferry Rd., Herndon, VA




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                                                Attachment B

                                             Items to be Seized

     a.     Any and all records including financial information, including tax returns and IRS filings,
            and any work papers related thereto; bank, credit or securities account statements,
            applications, deposit tickets, receipts, canceled checks, cashier checks, money orders, wire
            transfer records, debit/credit memos; financial ledgers, journals, investment records, real
            estate records, other records of assets; records of or related to contributions, grants or
            disbursements made or received, and/or allocations; loan records, financial statements,
            audit work papers, audit reports (or correspondence, transmittals or document related to
            any of the foregoing), regarding any or all of the following entities:

     Afiican Muslim Agency              International Institute of           SAAR International
     Arad~ Inc.                           Islamic Thought                    Safa Trust
     FIQH Council                       Mar-Jae Holdings, Inc.               Sterling Charitable Gift
     Grove Corporate, Inc.              Mar-Jae Investments, Inc.              Fund
     Graduate School of Islamic         Mar-Jae Poultry, Inc.                Sterling Management
       Social Sciences (formerly        Mena Corporation                     Group, Inc.
       SISS)                            Reston Investments, Inc.             York Foundation
     Heritage Education Trust           SAAR Foundation                      York International
     Humana Charitable Trust

            and/or any other entity sharing officers, directors, trustees, or employees with the listed
            entities ("the Safa Group"), and/or any other individual or entity designated as a terrorist
            by the President of the United States, the United States Department of Treasury, or the
            Secretary of State.

     b.     Any and all information regarding financial transfers of any kind undertaken by any officer,
            director, trustee, or employee of any member of the Safa Group, and any other individual
            or entity designated as a terrorist by the President of the United States, the United States
            Department of Treasury, or the Secretary of State..

     c.     Any and all information referencing in any way PU, Hamas, Al-Qaida, WISE, ICP, Sarni
            Al-Arian, Basheer Nati, Mazen al-Najar, Ramallah Shallah, Khalil Shikaki, Sheik Odeh,
            Sheik Rahman, Usama Bin Laden, and any other individual or entity designated as a
            terrorist by the President of the United States, the United States Department of Treasury,
            or the Secretary of State.

     d.     Any and all corporate records for any member of the Safa Group, including articles of
            incorporation, corporate/organizational minute books, stock certificates, membership
            rosters, lease agreements and applications.

     e.     Any and all telephone bills and statements for any member of the Safa Group.




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     f.   Any and all travel records - including itineraries and tickets/ticket copies for any officer,
          director, employee, or trustee of any member of the Safa Group.

     g.   Any and all correspondence referencing in any way PU, Hamas, Al-Qaida, WISE, ICP,
          Sarni Al-Arian, Basheer Nafi, Mazen al-Najar, Ramallah Shallah, Khalil Shikaki, Sheik
          Odeh, Sheik Rahman, Usama Bin Laden, and any other individual or entity designated as a
          terrorist by the President of the United States, the United States Department of Treasury,
          or the Secretary of State.

     h.   Any individual income tax returns or other tax returns, and drafts or work papers or
          documentation related thereto, for or related to any officer, director, trustee or employee
          of the Safa Group.

     1.   Any and all financial documents related to the individual tax returns or other tax returns of
          Al-Alwani, M. Omar Ashraf, Muhammad Ashraf, Jaghlit, Barzinji, Totonji, and Mirza, and
          the returns of the Mirza Revocable Family Trust, Mirza Family Partnership, Jaghlit Family
          Trust No. 1, Jaghlit Family Trust No. 2.

     J.   Immigration documents related to WISE, ICP, Sarni Al-Arian, Ramadan Shallah, Basheer
          Nafi, Mazen al-Najar, Khalil Shikaki, PU, HAMAS, Al-Qaida, any director, officer,
          trustee, or employee of any member of the Safa Group, and any individual or entity
          designated as a terrorist by the President of the United States, the United States
          Department of Treasury, or the Secretary of State.

     k.   Pamphlets, leaflets, booklets, video and audio tapes related to IDT, WISE, ICP, Sarni Al-
          Arian, Ramadan Abdullah Shallah, Mazen al-Najar, Khalil Shikaki, Basheer Nafi, PU,
          HAMAS, Al-Qaida, any officer, director, or employee of any member of the Safa Group,
          or any other individual or entity designated as a terrorist by the President of the United
          States, the United States Department of Treasury, or the Secretary of State, and any
          member of the Safa Group.

     I.   Personnel records identifying employees of WISE, ICP, or any member of the Safa Group,
          the dates of their employment, their areas of responsibility, and reasons for termination.

     m.   Diaries, organizers, day planners, appointment books, telephone message pads, address
          books and the like, for any any director, officer, trustee, or employee of any member of
          the Safa Group.

     n.   All identification documents reflecting the use of an alias, fictitious, or nominee name,
          including passports, social security cards, immigration papers (to include but not limited to
          green cards, work permits, visa) drivers license (domestic or foreign), and state
          identification cards (domestic or foreign).




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      o.   Contents of safes, lock boxes, file cabinets and other locked containers within the business
           and/or residence and information or keys regarding safe deposit boxes.

      p.   All computer and network equipment and peripherals, the software to operate them, and
           related instruction manuals to include the items listed below:

     q.    Any and all information and/or data stored in the form of magnetic, digital, or electronic
           coding on computer media or on media capable of being read by a computer or with the
           aid of computer related equipment. This media includes but is not limited to floppy
           diskettes, fixed hard disks, removable hard disk cartridges, tapes, laser disks,
           videocassettes, and any other media, which is capable of storing magnetic coding.

     r.    Any and all electronic devices which are capable of analyzing, creating, displaying,
           converting, or transmitting electronic or magnetic computer impulses or data. These
           devices include but are not limited to computers, computer components, computer
           peripherals, word processing equipment, modems, monitors, printers, plotters, encryption
           circuit boards, optical scanners, external hard drives, and other computer related
           electronic devices.

     s.    Any and all instructions or programs stored in the form of electronic or magnetic media,
           which are capable of being interpreted by a computer, or related components. The items
           to be seized could include but would not be limited to operating systems, application
           software, utility programs, compilers, interpreters, and any other programs or software
           used to communicate with computer programs or software used to communicate with
           computer hardware or peripherals either directly or indirectly via telephone lines, DSL
           lines, cable lines, radio or other means of transmission.

     t.    Any and all written or printed material which provides instructions or examples concerning
           the operation of a computer system, computer software, and/or any related device.




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                                                Attachment A

             1.     555 Grove Street, Office Suite Behind the Door
                    Labeled 110, l 14, and 116, Herndon, Virginia

              555 Grove Street is a three-story brick, contemporary-style building with dark gray-tinted
     windows that extend continuously and horizontally along the length of the structure and each of
     the two floors that can be viewed from the street. Just above each of the windows on each floor
     there is beige trim that also extends continuously and horizontally along the entire length of the
     building. The building is marked by the numbers "555" in white directly above the front lobby
     door. The door leading to the office suite behind the door marked as the door for Suites 110,
     114, and 116 in that building has on it a brass sign listing Mar-Jae Investments, Inc. 110, Reston
     Management, Inc. 114 and Sterling Management Group, Inc. 116.


            2.      500 Grove Street, 2nd Floor, Herndon, Virginia

             500 Grove Street is a three story, beige and dark brown brick colored, contemporary style
     building on the north side of Grove Street approximately I/10th of a mile east of the intersection
     of Grove and Van Buren Streets. It has tinted windows that extend continuously and
     horizontally along the length of the structure and along each of the three floors viewable from the
     street. The building is marked by the numbers "500" on the front of the building. The building
     directory lists HIT (International Institute of Islamic Though) as being located on the second
     floor.


            3.      750-A Miller Dr. SE, Leesburg, Virginia

             The building known as 750-A Miller Drive, SE, Leesburg, Virginia is a two-story red
     brick building with gray bricks across the top and two horizontal lines of gray bricks as an accent,
     on the west side of Miller Drive approximately¼ mile from the intersection of Miller Drive and
     Sycolin Road SE. The building, which houses multiple commercial offices, is located directly
     across Miller Drive from the Leesburg Airport. The main entrance to the building has glass double
     doors with the numerals and letter "750-A" in white above the doors on a large plate of glass.
     Below "750-A" are white letters, which read, "School oflslamic and Social Sciences." In the
     front of 750-A, on the lawn, there is a black sign with the numerals and letter, "750-A" a green
     square portion with white letters stating, "School of Islamic and Social Sciences."


            4.      The Administrative Offices ofMar-Jac Poultry at 1020 Aviation Blvd. Gainesville,
                    Georgia

            Mar Jae-Poultry, with an address of 1020 Aviation Blvd., Gainesville, Georgia, is located
     on the northwest comer of Aviation Boulevard SW and Dorsey Street SW in Gainesville,
     Georgia, just west of the Gainesville Airport and Aviation Boulevard, SW, south of the Georgia




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     Department of Public Safety Drivers License Bureau, and east of railroad tracks. The plant,
     surrounded by a chain link fence, is comprised of numerous white and yellow buildings made of
     prefabricated materials. A brown tan stucco sign depicting a chicken with the letters "M/f'
     encased within a house-like emblem on its chest, and the words "Mar-Jae" written under the
     chicken, is located on the south end on the property facing Dorsey St., SW, just west of a gate
     into the property located on the SE comer of the property west of the intersection of Aviation
     Boulevard SW and Dorsey St. SW. The Administrative Offices of Mar-Jae Poultry are located in
     (I) a one-story building with a sign on it reading "Administrative Offices," located near the gate at
     the Northeast comer of the property. On the left side of the gate is a green and blue sign, with
     white letters, which reads, "All Visitors Must Report To Main Office". The sign on the north side
     of the gate is a red sign with white letters that reads, "Administrative Offices Only No Tractors-
     Trailers Allowed". The sign on the south side of the gate is of faded tan color with white letters
     that reads, "Administrative Offices Only No Tractors/Trailers Allowed."

            5.      The Residence of Mirza at l 192~ Safa Court. Herndon. Virginia

             The residence of Mirza is a beige-colored 1½-story house located at 11922 Safa Court,
     Herndon, Virginia 20170. The house is in the Shaker West Subdivision, on the north side of Safa
     Court approximately 1/10th of a mile from the intersection of Safa Court and Safa Street. The
     house is located next door to 11926. A red and white fire hydrant is next to the mailbox, which
     has the number 11922 and the name "Mirza" on it. The numbers 11922 are affixed to the house
     next to the garage.

            6.      The Residence of Jaghlit at 9034 Swift Creek Road, Fairfax Station, Virginia

             The residence of Jaghlit is located at 9034 Swift Creek Road, Fairfax, Virginia 22039. A
     mailbox located at the very end of Swift Creek Road off of a cul-de-sac, and is identified by the
     number 9034. The site is a heavily wooded area and no house is visible from the cul-de-:-sac.
     The mailbox is positioned at the beginning of a long sand and gravel winding driveway. Two red
     "Posted - No Trespassing" signs are affixed to trees bordering the driveway. The driveway
     becomes blacktop as it nears a house. The house is a large two-story. symmetrical. modem
     design dwelling with large arch roofline over the center entrance. The house has gray siding,
     with black window shutters. Silver-colored stone surrounds the center area. The front door is
     red and surrounded by white wood trim. Brass numbers 9034 are vertically affixed to the white
     wood trim on the left side of the front door. A large inter-county power line is to the left of the
     dwelling. A two-car attached garage is on the right side of the dwelling with a white/cream
     colored garage door.




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             7_     The Residence of Barzinji at 11919 Safa Court Herndon. Virginia

             The residence ofBarzinji is located at 11919 Safa Court, Herndon, Virginia 20170. This
     residence is in the Shaker West Subdivision, on a pipe-stem private driveway off of Safa Court
     approximately l/l 0th of a mile from the intersection of Safa Court and Safa Street. The house is
     a blue two-story wooden custom house with a brown front door with a large oval glass in the
     center. Before this house, there is a green sign on the right side of a private driveway which
     reads "11919, 11921, 11923" identifying the three houses on that private driveway. Houses
     11921 and 11923 are identified by numbers affixed to the houses; house 11919 is the only house
     without a number and is located just past this sign, on the right side.


            8.      The Residence of Al-Alwani at I 105 Safa Street. Herndon. Virginia

             The residence of Alwani, is located at 1105 Safa Street, Herndon, Virginia 20170. This
     residence is a contemporary two-story single family house situated on a semi-secluded lot,
     approximately ½ acre in size. It is the first house on the right side of Safa Street as one enters
     Safa Street northbound from Sugarland Road. The exterior of the house is constructed with tan
     siding and the front doors are gray. The address, 1105, is reflected both on the house (to the
     right of the two car garage) and on the mailbox.


            9.      The Residence ofTotonji at 305 Marjorie Lane, Herndon, Virginia

             The residence ofTotonji is located at 305 Marjorie Lane, Herndon, Virginia 20170,
     approximately I/10 th of a mile to the east of the intersection of Marjorie Lane and Leona Lane.
     This structure is a two-story colonial with beige stucco front and a two-car garage. Numbers
     #305 are affixed above the garage door. The roofis made of three copper eaves. The front
     door is a single door, brown in color with a brown gated storm door. A brown mailbox is
     situated at the bottom of the driveway.


            10.     The Residence ofUnus at 12607 Rock Ridge Road, Herndon. Virginia

            The residence oflqbal Unus is located at 12607 Rock Ridge Road, Herndon, Virginia
     20170. The residence of is a two-story detached single family home with a two-car garage,
     immediately to the north of the intersection of Rock Ridge Road and Hawks Nest Court. The
     home has light-yellow vinyl siding and a light-brown shingled roof The numbers 12607 are
     centered across the front porch of the residence.




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             11.     The Residence of Mohammad Omar Ashraf
                     at 12541 Browns Ferry Road, Herndon, Virginia

              The residence of Mohammad Omar Ashraf is located at 12541 Browns Ferry Road,
      Herndon, Virginia 20170. The residence is the last house on the left, prior to entering the cul-de-
      sac where the road ends. The residence is a two-story colonial-style house with white siding,
      black shutters, a covered porch, and a blacktop driveway from the street leading to a two-car
      attached garage. The number "12541" is on the curb of the residence, on the black mailbox
      located near the curb and on the house, to the right of the front door


             12.     The Residence of Muhammad Ashraf
                     at 12528 Rock Ridge Road, Herndon, Virginia

              The residence of Muhammad Ashraf is located at 12528 Rock Ridge Road, Herndon,
      Virginia 20170, between 12530 and 12526 on the north side of Rock Ridge Road between Cellar
      Creek Way and Dardanelle Road. The residence is a two-story single family residence with an
      attached two-car garage, the seventh home from either Cellar Creek Way or Dandanelle Road on
      Rock Ridge Road. The front of the residence is constructed of red brick on the lower half and
      yellow siding on the upper half The front windows have gray shutters. The front entrance has a
      small stoop with a white post on the left. The number "12528" is stenciled on the white post of
      the stoop. A light post is located left of the driveway along the walkway toward the entrance of
      the residence. A mailbox is located curbside left of the driveway of the residence.




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